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         ADMIT.

Request For Admission No. 6:

         Admit that no document was created prior to the commencement of the Adversary

Proceeding Concerning the existence of the Agreement.

RESPONSE:

         DENY.

Request For Admission No. 7:

         Admit that You did not disclose the terms of the Agreement in connection with the

Bankruptcy Case at any time prior to March 1, 2021, including in connection with any objection

to the Plan or Disclosure Statement.

RESPONSE:

         DENY.

Request For Admission No. 8:

         Admit that You did not disclose the existence of the Agreement in connection with the

Bankruptcy Case at any time prior to March 1, 2021, including in connection with any objection

to the Plan or Disclosure Statement.

RESPONSE:

         DENY.




                                                8
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                                                                                     Appx. 00585
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                                     INTERROGATORIES

Interrogatory No. 1:

         Identify the “testimony” that You believe “discusses the existence of [the Agreement]

that may be uncovered through discovery in this Adversary Proceeding,” including the (a) name

of the witness, (b) the substance of the anticipated testimony, and (c) the basis for Your belief.

See paragraph 97 of the Amended Answer.

RESPONSE:

        Defendant objects to this Interrogatory because discovery is ongoing and because the
Interrogatory seeks privileged information.



Interrogatory No. 2:

         Identify the “email correspondence” that You believe “discusses the existence of [the

Agreement] that may be uncovered through discovery in this Adversary Proceeding,” including

the (a) name(s) of the sender(s) and recipient(s) of such email correspondence, (b) the date of

any such email correspondence, and (c) the substance of any such e-mail correspondence.

RESPONSE:

        Defendant objects to this Interrogatory because discovery is ongoing and because the
Interrogatory seeks privileged information.

Interrogatory No. 3:

         Identify each of Your employees, officers, representatives, and agents who knew of the

terms and existence of the Agreement prior to March 1, 2021, and for each such person, identify

(a) the name of the person, (b) the person’s title or connection to You, (c) the date on which the

person first learned of the terms and existence of the Agreement, and (d) how and from whom

the person first learned of the terms and existence of the Agreement.

RESPONSE:

                                                  9
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                                                                                         Appx. 00586
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        Defendant objects to this Interrogatory to the extent that it seeks privileged information.
Subject to this objection, Defendant states that James Dondero and Frank Waterhouse knew of
the terms and existence of the Agreement prior to March 1, 2021.

Interrogatory No. 4:

         Identify which part or parts of the Notes are “ambiguous,” as alleged in paragraph 102 of

the Amended Answer, and state the basis for Your belief.

RESPONSE:

      Defendant contends that each note as a whole is ambiguous because it refers to additional
agreements without specifying them.

Interrogatory No. 5:

         Identify all witnesses You intend to call at trial for the Adversary Proceeding.

RESPONSE:

       Defendant objects to this Interrogatory because it is premature. Defendant will identify
any witnesses in accordance with any scheduling order entered by the Court.




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                                                                                            Appx. 00587
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 Dated: September 27, 2021          Respectfully submitted,

                                    /s/Deborah Deitsch-Perez
                                    Deborah Deitsch-Perez
                                    State Bar No. 24036072
                                    Michael P. Aigen
                                    State Bar No. 24012196
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                                    ATTORNEYS FOR DEFENDANT HIGHLAND CAPITAL
                                    MANAGEMENT SERVICES, INC.




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                                                                        Appx. 00588
Case 3:21-cv-00881-X Document 178-36 Filed 01/09/24                                   Page 5 of 200 PageID 48251




                                             VERIFICATION

      STATE OF TEXAS
                                       )
      COUNTY OF DALLAS                 )


              On this day, James D. Dondero appeared before me, the undersigned notary public, and

      upon his oath, certified that he had read DEFENDANT HIGHLAND CAPITAL MANAGEMENT

      SERVICES,           INC.'S      OBJECTIONS     AND            RESPONSES                  TO          PLAINTIFF'S

      INTERROGATORIES and that the facts stated therein are within his pers                        1 knowledge and are

      true and correct to the best of his knowledge, information a              lief.



                                                              JAMES ►. DONDERO



            SWORN TO and SUBSCRIBED before me by James D. Dondero on the 27th day of
      September, 2021.




                                                   Notary P          is in and for the State of Texas




                                                                                       TARA LcIBEN
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      CORE/3522697.0002/169345241.2




                                                                                                               Appx. 00589
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                                CERTIFICATE OF SERVICE

        I, the undersigned, hereby certify that, on September 27, 2021, a true and correct copy of
the foregoing document was served via email on counsel for the Debtor.


                                                     /s/ Michael P. Aigen
                                                     Michael P. Aigen




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                                                                                       Appx. 00590
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                             EXHIBIT 29




                                                                    Appx. 00591
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Email: michael.aigen@stinson.com
ATTORNEYS FOR NEXPOINT REAL ESTATE PARTNERS, LLC

                         IN THE UNITED STATE BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

 In re:                             §
                                    §                     Chapter 11
 HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                    §                     Case No. 19-34054-sgj11
                       Debtor.      §
                                    §
 HIGHLAND CAPITAL MANAGEMENT, L.P., §
                       Plaintiff,   §                     Adversary Proceeding No.
                                    §
 vs.                                §                     21-03007-sgj
                                    §
 HCRE PARTNERS, LLC (N/K/A NEXPOINT §
 REAL ESTATE PARTNERS, LLC), JAMES  §
 DONDERO, NANCY DONDERO, AND THE    §
 DUGABOY INVESTMENT TRUST,          §
                                    §
                       Defendants.  §

 DEFENDANT NEXPOINT REAL ESTATE PARTNERS, LLC'S OBJECTIONS AND
RESPONSES TO PLAINTIFF’S REQUESTS FOR ADMISSION, INTERROGATORIES,
                  AND REQUESTS FOR PRODUCTION

TO:       Highland Capital Management, L.P., by and through its attorneys of record, Zachery Z.
          Annable, Hayward PLLC, 10501 N. Central Expy., Ste. 106, Dallas, Texas 75231.

          Defendant HCRE Partners, LLC, n/k/a NexPoint Real Estate Partners, LLC (“Defendant”

or “NREP”), serves its Objections and Responses to Plaintiff Highland Capital Management,




                                                1
CORE/3522697.0002/169345052.1
                                                                                     Appx. 00592
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L.P.’s (“Debtor” or “Highland”) Requests for Admission, Interrogatories, and Requests for

Production (“Requests”), as follows:

                                REQUESTS FOR PRODUCTION

Request for Production No. 1:

         All documents and communications Concerning the existence of the Agreement.

RESPONSE:

        Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
the collection of responsive documents, Defendant will produce all responsive documents, if any,
at a mutually agreeable place and time.

Request for Production No. 2:

         All Documents and Communications Concerning the negotiation of the Agreement.

RESPONSE:

        Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
the collection of responsive documents, Defendant will produce all responsive documents, if any,
at a mutually agreeable place and time.

Request for Production No. 3:

         All Documents and Communications Concerning the terms of the Agreement.

RESPONSE:

        Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
the collection of responsive documents, Defendant will produce all responsive documents, if any,
at a mutually agreeable place and time.

Request for Production No. 4:

         All Communications Concerning the Agreement between You and (a) James Dondero, or

(b) Nancy Dondero, or (c) Frank Waterhouse, or (d) any Class A shareholders of Highland (see

paragraph 99 of the Amended Answer), or (e) Your outside auditor(s) for the period January 1,

2018 to the present.

RESPONSE:

                                               2
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                                                                                    Appx. 00593
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        Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
the collection of responsive documents, Defendant will produce all responsive documents, if any,
at a mutually agreeable place and time.

Request for Production No. 5:

         All Documents and Communications Concerning Your assertion that “Plaintiff’s claims

are barred, in whole or in part, due to waiver,” as alleged in paragraph 98 of the Amended Answer.

RESPONSE:

        Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
the collection of responsive documents, Defendant will produce all responsive documents, if any,
at a mutually agreeable place and time.

Request for Production No. 6:

         All Documents and Communications Concerning Your assertion that “Plaintiff’s claims

are barred, in whole or in part, due to estoppel,” as alleged in paragraph 97 of the Amended

Answer.

RESPONSE:

        Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
the collection of responsive documents, Defendant will produce all responsive documents, if any,
at a mutually agreeable place and time.

Request for Production No. 7:

         All Documents and Communications Concerning Your assertion that “Plaintiff’s claims

are barred in whole or in part by the doctrine of justification and/or repudiation,” as alleged in

paragraph 96 of the Amended Answer.

RESPONSE:

        Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
the collection of responsive documents, Defendant will produce all responsive documents, if any,
at a mutually agreeable place and time.

Request for Production No. 8:




                                                3
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                                                                                       Appx. 00594
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         All Documents and Communications Concerning Your assertion that “Plaintiff’s

fraudulent transfer claims should be barred, in whole or in part, because at all relevant times

Defendant NREP acted in good faith,” as alleged in paragraph 100 of the Amended Answer.

RESPONSE:

        Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
the collection of responsive documents, Defendant will produce all responsive documents, if any,
at a mutually agreeable place and time.

Request for Production No. 9:

         All Documents and Communications Concerning Your assertion that “Plaintiff’s

fraudulent transfer claims should be barred, in whole or in part, because the alleged transfer (i.e.,

the “Alleged Agreement”) was . . . for reasonably equivalent value,” as alleged in paragraph 101

of the Amended Answer.

RESPONSE:

        Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
the collection of responsive documents, Defendant will produce all responsive documents, if any,
at a mutually agreeable place and time.

Request for Production No. 10:

         All Documents and Communications Concerning Your assertion that “Plaintiff’s

fraudulent transfer claims should be barred, in whole or in part, because there was no intent to

hinder, delay, or defraud any creditors of the Debtor by entering into the ‘Alleged Agreement’,”

as alleged in paragraph 102 of the Amended Answer.

RESPONSE:

        Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
the collection of responsive documents, Defendant will produce all responsive documents, if any,
at a mutually agreeable place and time.

Request for Production No. 11:

         Your audited financial statements for the period January 1, 2018 to the present.

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                                                                                         Appx. 00595
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RESPONSE:

        Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
the collection of responsive documents, Defendant will produce all responsive documents, if any,
redacted as needed, at a mutually agreeable place and time.

Request for Production No. 12:

         Your unaudited financial statements for the period January 1, 2018 to the present, to the

extent any portion of that time period is not covered by the audited financial statements.

RESPONSE:

        Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
the collection of responsive documents, Defendant will produce all responsive documents, if any,
redacted as needed, at a mutually agreeable place and time.

Request for Production No. 13:

         For the period January 1, 2018 through the present, all Communications between You and

Your outside auditor(s) concerning the Notes.

RESPONSE:

        Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
the collection of responsive documents, Defendant will produce all responsive documents, if any,
at a mutually agreeable place and time.



Request for Production No. 14:

         All Documents and Communications Concerning any compensation that You paid to

James Dondero for each of Your fiscal years 2016, 2017, 2018, and 2019, and 2020.

RESPONSE:

        Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
the collection of responsive documents, Defendant will produce all responsive documents, if any,
at a mutually agreeable place and time.



Request for Production No. 15:


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                                                                                        Appx. 00596
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         All Documents and Communications Concerning any loan that You ever made to or for

the benefit of James Dondero.

RESPONSE:

        Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
the collection of responsive documents, Defendant will produce all responsive documents, if any,
at a mutually agreeable place and time.



Request for Production No. 16:

         All Documents and Communications Concerning any Loan that You ever made to or for

the benefit of James Dondero that You forgave.

RESPONSE:

        Subject to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding
the collection of responsive documents, Defendant will produce all responsive documents, if any,
at a mutually agreeable place and time.



Request for Production No. 17:

         To the extent not responsive to the prior requests, all Documents and Communications

Concerning each of Your responses to the Interrogatories.

RESPONSE:

        Defendant objects to this Request because it is vague and not specifically tailored. Subject
to any restrictions imposed by the Debtor and/or the Bankruptcy Court impeding the collection of
responsive documents, Defendant will produce all responsive documents, if any, at a mutually
agreeable place and time.

Request for Production No. 18:

         All Documents You intend to introduce at trial in this Adversary Proceeding.

RESPONSE:

        Subject to any scheduling order agreed to by the parties or entered by the Court, Defendant
will produce all responsive documents, if any, at a mutually agreeable place and time.

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                                                                                        Appx. 00597
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                                REQUESTS FOR ADMISSION

Request for Admission No. 1:

         Admit that You never disclosed the terms of the Agreement to Your outside auditor(s).

RESPONSE:

         ADMIT.

Request for Admission No. 2:

         Admit that You never disclosed the existence of the Agreement to Your outside auditor(s).

RESPONSE:

         ADMIT.

Request for Admission No. 3:

         Admit that, prior to the commencement of the Adversary Proceeding, You never disclosed

the terms of the Agreement to Frank Waterhouse.

RESPONSE:

         DENY.

Request for Admission No. 4:

         Admit that, prior to the commencement of the Adversary Proceeding, You never disclosed

the existence of the Agreement to Frank Waterhouse.

RESPONSE:

         DENY.

Request for Admission No. 5:

         Admit that no document was created prior to the commencement of the Adversary

Proceeding that reflects or memorializes the terms of the Agreement.

RESPONSE:

         ADMIT.

                                                 7
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                                                                                      Appx. 00598
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Request for Admission No. 6:

         Admit that no document was created prior to the commencement of the Adversary

Proceeding Concerning the existence of the Agreement.

RESPONSE:

         DENY.

Request for Admission No. 7:

         Admit that You did not disclose the terms of the Agreement in connection with the

Bankruptcy Case at any time prior to March 1, 2021, including in connection with any objection

to the Plan or Disclosure Statement.

RESPONSE:

         DENY.

Request for Admission No. 8:

         Admit that You did not disclose the existence of the Agreement in connection with the

Bankruptcy Case at any time prior to March 1, 2021, including in connection with any objection

to the Plan or Disclosure Statement.

RESPONSE:

         DENY.




                                               8
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                                                                                   Appx. 00599
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                                     INTERROGATORIES

Interrogatory No. 1:

         Identify the “testimony” that You believe “discusses the existence of [the Agreement] that

may be uncovered through discovery in this Adversary Proceeding,” including the (a) name of the

witness, (b) the substance of the anticipated testimony, and (c) the basis for Your belief. See

paragraph 99 of the Amended Answer.

RESPONSE:

        Defendant objects to this Interrogatory because discovery is ongoing and because the
Interrogatory seeks privileged information.



Interrogatory No. 2:

         Identify the “email correspondence” that You believe “discusses the existence of [the

Agreement] that may be uncovered through discovery in this Adversary Proceeding,” including

the (a) name(s) of the sender(s) and recipient(s) of such email correspondence, (b) the date of any

such email correspondence, and (c) the substance of any such e-mail correspondence.

RESPONSE:

        Defendant objects to this Interrogatory because discovery is ongoing and because the
Interrogatory seeks privileged information.



Interrogatory No. 3:

         Identify each of Your employees, officers, representatives, and agents who knew of the

terms and existence of the Agreement prior to March 1, 2021, and for each such person, identify

(a) the name of the person, (b) the person’s title or connection to You, (c) the date on which the

person first learned of the terms and existence of the Agreement, and (d) how and from whom the

person first learned of the terms and existence of the Agreement.

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                                                                                       Appx. 00600
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RESPONSE:

       Defendant objects to this Interrogatory to the extent that it seeks privileged information.
Subject to this objection, Defendant states that James Dondero knew of the terms and existence of
the Agreement prior to March 1, 2021.

Interrogatory No. 4:

         Identify which part or parts of the Notes are “ambiguous,” as alleged in paragraph 104 of

the Amended Answer, and state the basis for Your belief.

RESPONSE:

      Defendant contends that each note as a whole is ambiguous because it refers to additional
agreements without specifying them.

Interrogatory No. 5:

         Identify all witnesses You intend to call at trial for the Adversary Proceeding.

RESPONSE:

       Defendant objects to this Interrogatory because it is premature. Defendant will identify any
witnesses in accordance with any scheduling order entered by the Court.




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                                                                                            Appx. 00601
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    Dated: September 27, 2021          Respectfully submitted,

                                       /s/Michael P. Aigen
                                       Deborah Deitsch-Perez
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                                       Michael P. Aigen
                                       State Bar No. 24012196
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                                       (214) 560-2203 facsimile
                                       Email: deborah.deitschperez@stinson.com
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                                       ATTORNEYS FOR NEXPOINT REAL ESTATE
                                       PARTNERS, LLC




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    CORE/3522697.0002/169345052.1
                                                                        Appx. 00602
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                                              VERIFICATION

      STATE OF TEXAS

      COUNTY OF DALLAS                  )


              On this day, James D. Dondero appeared before me, the undersigned notary public, and

      upon his oath, certified that he had read DEFENDANT NEXPOINT REAL ESTATE

      PARTNERS,         LLC'S         JAMES DONDERO'S       OBJECTIONS AND                     RESPONSES     TO

      PLAINTIFF'S INTERROGATORIES and that the facts stated                          ein are within his personal

      knowledge and are true and correct to the best of his kn          led e.     orm tion and belief.



                                                             JAME D. DON                RO



            SWORN TO and SUBSCRIBED before me by James D. Dondero on the 27th day of
      September, 2021.




                                                       JO-AA
                                                   Notary Publ. in and for the State of Texas



                                                            " nu%
                                                              Y ft/4             TARA LOIBEN
                                                                 761.NotarPublic, State of Texas
                                                                    IF:Somm.ixpires 04-15-2023
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                                                                                                          Appx. 00603
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                                CERTIFICATE OF SERVICE

        I, the undersigned, hereby certify that, on September 27, 2021, a true and correct copy of
the foregoing document was served via email on counsel for the Debtor.


                                                    /s/ Michael P. Aigen
                                                    Michael P. Aigen




                                               13
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                                                                                      Appx. 00604
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                             EXHIBIT 30




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                             FOURTH AMENDED AND RESTATED

                          AGREEMENT OF LIMITED PARTNERSHIP

                                            OF

                          HIGHLAND CAPITAL MANAGEMENT, L.P.




     THE PARTNERSHIP INTERESTS REPRESENTED BY THIS LIMITED PARTNERSHIP
     AGREEMENT HA VE NOT BEEN REGISTERED UNDER THE SECURITIES ACT OP 1933 OR
     UNDER ANY STATE SECURITIES ACTS IN RELIANCE UPON EXEMPTIONS UNDER THOSE
     ACTS. THE SALE OR OTHER DISPOSITION OF THE PARTNERSHIP INTERESTS IS
     PROHIBITED UNLESS THAT SALE OR DISPOSITION IS MADE IN COMPLIANCE WITH ALL
     SUCH APPLICABLE ACTS. ADDITIONAL RESTRICTIONS ON TRANSFER OF THE
     PARTNERSHIP INTERESTS ARE SET FORTH IN THIS AGREEMENT.




                                                                                      D-CNL002970
                                                                                Appx. 00606
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                                       FOURTH AMENDED AND RESTATED
                                     AGREEMENT OF LIMITED PARTNERSHIP
                                                    Of'
                                     HIGHLAND CAPITAL MANAGEMENT, L.P.

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                                  FOURTH AMENDED AND RESTATED
                                AGREEMENT OF LIMITED PARTNERSHIP
                                               OF
                                HIGHLAND CAPITAL MANAGEMENT, L.P.

             THIS FOURTH AMENDED AND RESTATED AGREEMENT OF LIMITED PARTNERSHIP
     is entered into on this 24 1h day of December, 2015, to be effective as of December 24, 2015, by and
     among Strand Advisors, Inc., a Delaware corporation ("Strand"), as General Partner, the Limited Pat1ners
     party hereto, and any Person hereinafter admitted as a Limited Pai1ner.



                                                  ARTICLE 1

                                                  GENERAL

            1.1.     Continuation. Subject to the provisions of this Agreement, the Pa11ners hereby continue
    the Partnership as a limited partnership pursuant to the provisions of the Delaware Act. Except as
    expressly provided herein, the rights and obligations of the Partners and the administration and
    termination of the Partnership shall be governed by the Delaware Act.

             1.2.    Name. The name of the Partnership shall be, and the business of the Partnership shall be
    conducted under the name of Highland Capital Management, L.P. The General Partner, in its sole and
    unfettered discretion, may change the name of the Partnership at any time and from time to time and shall
    provide Limited Partners with written notice of such name change within twenty (20) days after such
    name change.

             1.3.    Purpose. The purpose and business of the Partnership shall be the conduct of any
    business or activity that may lawfully be conducted by a limited partnership organized pursuant to the
    Delaware Act. Any or all of the foregoing activities may be conducted directly by the Partnership or
    indirectly through another partnership, joint venture, or other arrangement.

            1.4.     Term. The Partnership was formed as a limited partnership on July 7, 1997, and shall
    continue until terminated pursuant to this Agreement.

            1.5.    Partnership Offices; Addresses of Partners.

                     (a)      Partnership Offices. The registered office of the Partnership in the State of
    Delaware shall be IO 13 Centre Road, Wilmington, Delaware 19805-1297, and its registered agent for
    service of process on the Partnership at that registered office shall be Corporation Service Company, or
    such other registered office or registered agent as the General Partner may from time to time designate.
    The principal office of the Partnership shall be 300 Crescent Court, Suite 700, Dallas, Texas 75201, or
    sueh other place as the General Partner may from time to time designate. The Pai1nership may maintain
    offices at such other place or places as the General Partner deems advisable.

                    (b)     Addresses of Partners. The address of the General Partner is 3 00 Crescent Court,
    Suite 700, Dallas, Texas 75201. The address of each Limited Partner shall be the address of that Limited
    Partner appearing on the books and records of the Partnership. Each Limited Partner agrees to provide
    the General Partner with prompt written notice of any change in his/her/its address.




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                                                   ARTICLE 2

                                                  DEFINITIONS

             2.1.    Definitions. The following definitions shall apply to the terms used in this Agreement,
     unless otherwise clearly indicated to the contrary in this Agreement:


     Agreement.

                     ·'Adjusted Cllpita/ Account Deficit" means, with respect to any Partner, the deficit
    balance, if an), in the Capital Aceount of that Partner as of the end of the relevant Fiscal Year, or other
    relevant period, giving effect to all adjustments previously made thereto pursuant to                    and
    further adjusted as follows: (i) credit to that Capital Account, any amounts which that Partner is obligated
    or deemed obligated to restore pursuant to any provision of this Agreement or pursuant to Treasury
    Regulations Section l. 704-1 (b )(2)(ii)(c ); (ii) debit to that Capital Account, the items described in
    Treasury Regulations Sections l.704-l(b)(2)(ii)(d)(4), (5) and (6); and (iii) to the extent required under
    the Treasury Regulations, credit to that Capital Account (A) that Partner's share of "minimum gain" and
    (B) that Partner's share of "paitner nonrecourse debt minimum gain." (Each Partner's share of the
    minimum gain and partner nonrecourse debt minimum gain shall be determined under Treasury
    Regulations Sections l .704-2(g) and l .704-2(i)(5), respectively.)

                     ··Affiliate" means any Person that directly or indirectly controls, is controlled by, or is
    under common control with the Person in question. As used in this definition, the term ·'controf' means
    the possession. directly or indirectly, of the power to direct or cause the direction of the management and
    policies of a Person, whether through ownership of voting Securities, by contract or otherwise .

                      ..Agreement" means this Fourth Amended and Restated Agreement of Limited
    Partnership, as it may be amended, supplemented, or restated from time to time.

                    "Business Day" means Monday through Friday of each week, except that a legal holiday
    recognized as such by the government of the United States or the State of Texas shall not be regarded as a
    Business Day.

                      ·'Capital Account" means the eapital account maintained for a Partner pursuant to
    Section 3.7(a).

                    "Capital Contribution" means, with respect to any Partner, the amount of money or
    property contributed to the Pa1tnership with respect to the interest in the Partnership held by that Person.

                   "Certificate of Limited Partnership" means the Ce1tificate of Limited Partnership filed
    with the Secretary of State of Delaware by the General Partner, as that Cettificate may be amended,
    supplemented or restated from time to time.

                     "Class A Limited Partners" means those Partners holding a Class A Limited Partnership
    Interest, as shown on Exhibit A.

                      "Class A Limited Partnership Interest" means a Partnership Interest held by a Partner in
    its capacity as a Class A Limited Partner.''




                                                         2




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                      "Class B Limited Partner" means those Partners holding a Class B Limited Partnership
     Interest, as shown on ==~~·

                       "Class B Limited Partnership Interest" means a Partnership Interest held by a Partner in
     its capacity as a Class B Limited Partner."

                      ''Cfa.t:;s B NA V Ratio Trigger Period" means any period during which the Class B
    Limited Partner's aggregate capital contributions, including the original principal balance of the
    Contribution Note. and reduced by the                amount of distributions to the Class B Limited Partner,
    exceed      percent of the product of the Class B Limited Partner's Percentage Interest multiplied by the
    total book value of the Partnership; provided, however, that the General Partner shall only be required to
    test for a Class B NA V Ratio Trigger Period annually, as of the last day of each calendar year; provided
    further the General Partner must complete the testing within 180 days of the end of each calendar year;
    provided further that if the test results in a Class B NA V Ratio Trigger Period, the General Partner may,
    at its own election, retest at any time to determine the end date of the Class B NAV Ratio Trigger Period.

                     "Class C Limited Partner" means those Partners holding a Class C Limited Partnership
    Interest, as shown on Exhibit A.

                      "Class C Lirnited Partners/tip Interest" means a Partnership Interest held by a Pa11ner in
    its capacity as a Class C Limited Partner."

                    "Class C NA V Ratio Trigger Period" means any period during which an amount equal to
    $93,000,000.00 reduced by the aggregate amount of distributions to the Class C Limited Partner after the
    Effective Date exceeds 75 percent of the product of the Class C Limited Partner's Percentage Interest
    multiplied by the total book value of the Partnership; provided, however, that the General Partner shall
    only be required to test for a Class C NA V Ratio Trigger Period annually, as of the last day of each
    calendar year; provided further the General Partner must complete the testing within 180 days of the end
    of each calendar year; provided further that if the test results in a Class C NA V Ratio Trigger Period, the
    General Partner may, at its own election, retest at any time to determine the end date of the Class C NA V
    Ratio Trigger Period.

                    "Code'' means the Internal Revenue Code of 1986, as amended and in effect from time to
    time.

                  ''Contribution Note" means that certain Secured Promissory Note dated December 21,
    2015 by and among Hunter Mountain Investment Trust, as maker, and the Partnership as Payee.

                    ''Default Loan" has the meaning set forth in Section 3 .1( c)(i).

                    "Defaulting Partner" has the meaning set forth in Section 3.1 (c).

                     "Delaware Act" means the Delaware Revised Unifonn Limited Pai1nership Act, Pai1 IV,
    Title C, Chapter 17 of the Delaware Corporation Law Annotated, as it may be amended, supplemented or
    restated from time to time, and any successor to that Act.

                    "Effective Date" means the date first recited above.

                    ''Fiscal Year'' has the meaning set forth in Section 3.1 l(b).




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                                                                                                           D-CNL002975
                                                                                                     Appx. 00611
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                    "Founding Partner Group" means, all partners holding partnership interests m the
     Partnership immediately before the Effective Date.

                     "General Partner'' means any Person who (i) is referred to as such in the first paragraph
     of this Agreement, or has become a General Partner pursuant to the terms of this Agreement; and (ii) has
     not ceased to be a General Partner pursuant to the terms of this Agreement.

                     "Limited Partner'' means any Person who (i) is referred to as such in the first paragraph
     of this Agreement, or has become a Limited Partner pursuant to the terms of this Agreement, and (ii) has
     not ceased to be a Limited Partner pursuant to the terms of this Agreement.



                    "Losses" means, for each Fiscal Year, the losses and deductions of the Partnership
    determined in accordance with accounting principles consistently applied from year to year employed
    under the Partnership's method of accounting and as reported, separately or in the aggregate, as
    appropriate. on the Partnership's information tax return filed for federal income tax purposes, plus any
    expenditures described in Code Section 705(a)(2)(B).

                      ''Majori(v Interest'' means the owners of more than fifty percent ( 50%) of the Percentage
     Interests of Class A Limited Partners.

                   ''NA V Ratio Trigger Period" means a Class B NA V Ratio Trigger Period or a Class C
    NA V Ratio Trigger Period.

                      "Net Increase in Working Capital Accounts" means the excess of (i) Restricted Cash
    plus Management and Incentive Fees Receivable plus Other Assets plus Deferred Incentive Fees
    Receivable less Accounts Payable less Accrued and Other Liabilities as of the end of the period being
    measured over (ii) Restricted Cash plus Management and Incentive Fees Receivable plus Other Assets
    plus Deferred Incentive Fees Receivable less Accounts Payable less Accrued and Other Liabilities as of
    the beginning of the period being measured; provided, however, that amounts within each of the
    aforementioned categories shall be excluded from the calculation to the extent they are specifically
    identified as being derived from investing or financing activities. Each of the capitalized terms in this
    definition shall have the meaning given them in the books and records of the Partnership and appropriate
    adjustments may be made to the extent the Partnership adds new ledger accounts to its books and records
    that are current assets or current liabilities.

                   ''New Issues" means Securities that are considered to be "new issues," as defined in the
    Conduct Rules of the National Association of Securities Dealers, Inc.

                       "Nonrecourse Deduction" has the meaning set fo1th in Treasury Regulations Section
     I. 704-2(b )(I), as computed under Treasury Regulations Section 1. 704-2( c ).

                        "No11recour.\·e Liability'' has the meaning set forth in Treasury Regulations Section
    l. 704-2(b )(3 ).

                    "Operating Cash Flow" means Total Revenue less Total Operating Expenses plus
    Depreciation & Amortization less Net Increase in Working Capital Accounts year over year. Each of the
    capitalized terms in this definition shall have the meaning given them in the books and records of the
    Partnership.



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                       "Parmer'' means a General Partner or a Limited Partner.

                       "Part11er No11recourse Debt" has the meaning set forth in Treasury Regulations Section
     l .704-2(b)(4).

                     "Partner Nonrecourse Deductions" has the meaning set forth in Treasury Regulations
    Section l .704-2(i)(2).

                    "Partner Nonrecourse Debt 11-finimum Gain'' has the meaning set forth m Treasury
     Regulations Section 1.704-2(i)(5).

                    "'Partners/zip'' means Highland Capital Management, L.P., the Delaware limited
    partnership established pursuant to this Agreement.

                    "Partnership Capitaf' means, as of any relevant date, the net book value of the
    Partnership's assets.

                    ''Part11ersltip Interest" means the interest acquired by a Partner in the Partnership
    including, without limitation, that Partner's right: (a) to an allocable share of the Profits, Losses,
    deductions, and credits of the Partnership; (b) to a distributive share of the assets of the Partnership; (c) if
    a Limited Partner, to vote on those matters described in this Agreement; and (d) if the General Partner, to
    manage and operate the Pa1inership.

                       "Partners/tip Minimum Gain" has the meaning set fo1ih in Treasury Regulations Section
     l. 704-2( d).

                    ·'Percentage Interest" means the percentage set forth opposite each Partner's name on
    Exhibit A as such Exhibit may be amended from time to time in accordance with this Agreement.

                     "Person" means an individual or a corporation, partnership, trust, estate, unincorporated
    organization, association, or other entity.

                       "Priority Distributions" has the meaning set f01ih in Section 3.9(b).

                    "Profits'' means, for each Fiscal Year, the income and gains of the Partnership
    determined in accordance with accounting principles consistently applied from year to year employed
    under the Partnership's method of accounting and as reported, separately or in the aggregate, as
    appropriate, on the Partnership's information tax return filed for federal income tax purposes, plus any
    income described in Code Section 705(a)( 1)(B).

                     "Profits Interest Partner" means any Person who is issued a Partnership Interest that is
    treated as a "profits interest" for federal income tax purposes.

                   "Purchase Notes" means those certain Secured Promissory Notes of even date herewith
    by and among Hunter Mountain Investment Trust, as maker, and The Dugaboy Investment Trust, The
    Mark K. Okada, The Mark and Pamela Okada Family Trust Exempt Trust# 1, and The Mark K. Okada,
    The Mark and Pamela Okada Family Trust - Exempt Trust #2, eaeh as Payees of the respective Secured
    Promissory Notes.




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                                                                                                         Appx. 00613
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                       ·'Record Date'' means the date established by the General Partner for determining the
     identity of Limited Partners entitled to vote or give consent to Partnership action or entitled to
     rights in respect of any other lawful action of Limited Partners.

                   "Second Amended Buy-Sell and Redemption Agreement'' means that certain Second
    Amended and Restated Buy-Sell and Redemption Agreement, dated December 21, 2015, to be effective
    as of December 21, 2015 by and between the Partnership and its Partners, as may be amended,
    supplemented, or restated from time to time.

                       ''Securities·' means the following: (i) securities of any kind (including, without limitation,
    ·'securities" as that term is defined in Section 2(a)( I) of the Securities Act; (ii) commodities of any kind
    (as that term is defined by the U.S. Securities Laws and the rules and regulations promulgated
    thereunder): (iii) any contracts for future or forward delivery of any security, commodity or currency; (iv)
    any contracts based on any securities or group of securities, commodities or currencies; (v) any options on
    any contracts referred to in clauses (iii) or (iv); or (vi) any evidences of indebtedness (including
    participations in or assignments of bank loans or trade credit claims). The items set forth in clauses (i)
    through (vi) herein include, but are not limited to, capital stock, common stock, preferred stock,
    convertible securities, reorganization certificates, subscriptions, warrants, rights, options, puts, calls,
    bonds, mutual fund interests. debentures, notes, certificates of deposit, letters of credit, bankers
    ai..:ceptances, trust receipts and other securities of any corporation or other entity, whether readily
    marketable or not, rights and options, whether granted or written by the Partnership or by others, treasury
    bills, bonds and notes, any securities or obligations issued or guaranteed by the United States or any
    foreign country or any state or possession of the United States or any foreign country or any political
    subdivision or agency or instrumentality of any of the foregoing, and derivatives of any of the foregoing.

                     "Securities Act" means the Securities Act of 1933, as amended, and any successor to
    such statute.

                     "Substitute Limited Partner" has the meaning set forth in Section 4.6(a).

                    "Transfer" or derivations thereof~ of a Partnership Interest means, as a noun, the transfer,
    sale, assignment. exchange, pledge, hypothecation or other disposition of a Partnership Interest, or any
    part thereoC directly or indirectly, and as a verb, voluntarily or involuntarily to transfer, sell, assign,
    exchange, pledge, hypothecate or otherwise dispose oC

                    "Treasury Regulations" means the Department of Treasury Regulations promulgated
    under the Code, as amended and in effect (including corresponding provisions of succeeding regulations).

            2.2.   Other Definitions. All terms used in this Agreement that are not defined in this Article 2
    have the meanings contained elsewhere in this Agreement.

                                                     ARTICLE 3

                                             FINANCIAL MATTERS

            3.1.     Capital Contributions.

                      (a)      Initial Capital Contributions. The initial Capital Contribution of each Partner
    shall be set forth in the books and records of the Partnership.

                     (b)     Additional Capital Contributions.


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                             (i)      The General Partner, in its reasonable discretion and for a bona
     business purpose, may request in writing that the Founding Partner Group make additional Capital
     Contributions in proportion to their Percentage Interests (each, an ''Additional Capitlll Contribution").

                               (ii)     Any failure by a Partner to make an Additional Capital Contribution
     requested under                     on or before the date on which that Additional Capital Contribution was
     due shall result in the Partner being in default.

                      (c)                                              In the event a Partner is in default under
    =====:c..:~~ (a "Defaulting Partner''), the Defaulting Partner, in its sole and unfettered discretion, may
     elect to take either one of the option set forth below.

                               (i)     Default Loans. If the Defaulting Partner so elects, the General Partner
    shall make a loan to the Defaulting Partner in an amount equal to that Defaulting Partner's additional
    capital contribution (a "Default Loan"). A Default Loan shall be deemed advanced on the date actually
    advanced. Default Loans shall earn interest on the outstanding principal amount thereof at a rate equal to
    the Applicable Federal Mid-Term Rate (determined by the Internal Revenue Service for the month in
    which the loan is deemed made) from the date actually advanced until the same is repaid in full. The term
    of any Default Loan shall be six (6) months, unless otherwise extended by the General Pa1iner in its sole
    and unfettered discretion. If the General Partner makes a Default Loan, the Defaulting Partner shall not
    receive any distributions pursuant to                 or             or any proceeds from the Transfer of all
    or any part of its Patinership Interest while the Default Loan remains unpaid. Instead, the Defaulting
    Partner's share of distributions or such other proceeds shall (until all Default Loans and interest thereon
    shall have been repaid in full) first be paid to the General Partner. Such payments shall be applied first to
    the payment of interest on such Default Loans and then to the repayment of the principal amounts thereof,
    but shall be considered, for all other purposes of this Agreement, to have been distributed to the
    Defaulting Partner. The Defaulting Partner shall be liable for the reasonable fees and expenses incurred
    by the General Partner (including, without limitation, reasonable attorneys' fees and disbursements) in
    connection with any enforcement or foreclosure upon any Default Loan and such costs shall, to the extent
    enforceable under applicable law, be added to the principal amount of the applicable Default Loan. In
    addition. at any time during the term of such Default Loan, the Defaulting Partner shall have the right to
    repay, in full, the Default Loan (including interest and any other charges). If the General Partner makes a
    Default Loan. the Defaulting Partner shall be deemed to have pledged to the General Partner and granted
    to the General Pa1iner a continuing first priority security interest in, all of the Defaulting Patiner's
    Pa1inership Interest to secure the payment of the principal of, and interest on, such Default Loan in
    accordance with the provisions hereof, and for such purpose this Agreement shall constitute a security
    agreement. The Defaulting Partner shall promptly execute, acknowledge and deliver such financing
    statements, continuation statements or other documents and take such other actions as the General Partner
    shall request in writing in order to perfect or continue the perfection of such security interest; and, if the
    Defaulting Partner shall fail to do so within seven (7) days after the Defaulting Partner's receipt of a
    notice making demand therefor, the General Partner is hereby appointed the attorney-in-fact of, and is
    hereby authorized on behalf of, the Defaulting Partner, to execute, acknowledge and deliver all such
    documents and take all such other actions as may be required to perfect such security interest. Such
    appointment and authorization are coupled with an interest and shall be irrevocable. The General Patiner
    shall, prior to exercising any right or remedy (whether at law, in equity or pursuant to the terms hereof)
    available to it in connection with such security interest, provide to the Defaulting Partner a notice, in
    reasonable detail, of the right or remedy to be exercised and the intended timing of such exercise which
    shall not be less than five (5) days following the date of such notice.




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                            ( ii)                                      If the Defaulting Partner does not elect
    to obtain a Default Loan pursuant to Section 3.](c)(i), the General Partner shall reduce the Defaulting
    Partner's Percentage Interest in accordance with the following formula:

             The Defaulting Partner's new Percentage Interest shall equal the product of (I) the
             Defaulting Partner's current Percentage Interest multiplied by (2) the quotient of (a) the
             current Capital Account of the Defaulting Partner (with such Capital Account determined
             after taking into account a revaluation of the Capital Accounts immediately prior to such
             determination), divided by (b) the sum of (i) the current Capital Account of the
             Defaulting Partner (with such Capital Account determined after taking into account a
             revaluation of the Capital Accounts immediately prior to such determination), plus (ii)
             the amount of the additional capital contribution that such Defaulting Partner failed to
             make when due.

    To the extent any downward adjustment is made to the Percentage Interest of a Partner pursuant to this
    Section 3. ](c)(ii), any resulting benefit shall accrue to the Partners (other than the Defaulting Partner) in
    proportion to their respective Percentage Interests.

             3.2.    Allocations of Profits and Losses.

                    (a)      Allocations of Profits. Except as provided in===~-''                   and       Profits
    for any Fiscal Year will be allocated to the Partners as follows:

                                (i)      First, to the Partners until cumulative Profits allocated under this Section
    3.2(a)(i) for all prior periods equal the cumulative Losses allocated to the Partners under Section
    3.2(b)(iii) for all prior periods in the inverse order in which such Losses were allocated; and

                               (ii)            to the Partners until cumulative Profits allocated under this Section
    3.2(a)(ii) for all prior periods equal the cumulative Losses allocated to the Partners under Section
    3.2(b)(ii) for all prior periods in the inverse order in which such Losses were allocated; and

                              (iii)   Then, to all Patiners in proportion to their respective Percentage
    Interests.

                    (b)      Allocations of Losses. Except as provided in Sections 3 .4, 3 .5, and 3 .6, Losses
    for any Fiscal Year will be will be allocated as follows:

                                 (i)      First, to the Partners until cumulative Losses allocated under this Section
    3 .2(b )(i) for all prior periods equal the cumulative Profits allocated to the Partners under Section
    3 .2(a)(iii) for all prior periods in the inverse order in which such Profits were allocated; and

                              (ii)           to the Partners in proportion to their respective positive Capital
    Account balances until the aggregate Capital Account balances of the Pa11ners ( excluding any negative
    Capital Account balances) equal zero; provided, however, losses shall first be allocated to reduce amounts
    that were last allocated to the Capital Accounts of the Partners; and

                             (iii)    Then, to all Partners in proportion to their respective Percentage
    Interests.




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                     (c)                                      If any allocation of Losses would cause a
     Limited Partner to have an Adjusted Capital Account Deficit, those Losses instead shall be allocated to
     the General Partner.

              3.3.    Allocations on Transfers. Taxable items of the Partnership attributable to a Partnership
     Interest that has been Transferred (including the simultaneous decrease in the Partnership Interest of
     existing Pai1ners resulting from the admission of a new Partner) shall be allocated in accordance with
     Section 4.3( d).

              3.4.    Special Allocations. If the requisite stated conditions or facts are present, the following
     special allocations shall be made in the following order:

                    (a)       Partnership Minimum Gain Chargcback. Notwithstanding any other provision of
    this           if there is a net decrease in Partnership Minimum Gain during any taxable year or other
    period for which allocations are made, prior to any other allocation under this Agreement, each Partner
    shall be specially allocated items of Partnership income and gain for that period (and, if necessary,
    subsequent periods) in proportion to, and to the extent oL an amount equal to that Partner's share of the
    net decrease in Partnership Minimum Gain during that year determined in accordance with Treasury
    Regulations Section 1.704-2(g)(2). The items to be allocated shall be determined in accordance with
    Treasury Regulations Section 1.704-2(g). This                  is intended to comply with the partnership
    minimum gain chargeback requirements of the Treasury Regulations and shall be subject to all exceptions
    provided therein.

                     (b)     Partner Nonrecourse Debt Minimum Gain Chargeback. Notwithstanding any
    other provision of this              (other than Section 3.4(a)), if there is a net decrease in Partner
    Nonrecourse Debt Minimum Gain with respect to a Partner Nonreeourse Debt during any taxable year or
    other period for which allocations are made, any Partner with a share of such Partner Nonrecourse Debt
    Minimum Gain as of the beginning of the year shall be specially allocated items of Partnership income
    and gain for that period (and, if necessary, subsequent periods in an amount equal to that Partner's share
    or the net decrease in the Pa11ner Nonrecourse Debt Minimum Gain during that year determined in
    accordance with Treasury Regulations Section l.704-2(g)(2). The items to be so allocated shall be
    determined in accordance with Treasury Regulations Section l .704-2(g). This Section 3.4(b) is intended
    to comply with the partner nonrecourse debt minimum gain chargeback requirements of the Treasury
    Regulations, shall be interpreted consistently with the Treasury Regulations and shall be subject to all
    exceptions provided therein.

                     (c)      Qualified Income Offset. If a Partner unexpectedly receives any adjustments,
    allocations or distributions described in Treasury Regulations Sections I. 704-1 (b )(2)(ii)( d)( 4 ), (d)(5) or
    (d)(6), then items of Partnership income and gain shall be specially allocated to each such Partner in an
    amount and manner sufficient to eliminate, to the extent required by the Treasury Regulations, the
    Adjusted Capital Account Deficit of the Partner as quickly as possible; provided, however, an allocation
    pursuant to this Section 3 .4( c) shall be made if and only to the extent that the Partner would have an
    Adjusted Capital Account Deficit after all other allocations provided for in this Article 3 have been
    tentatively made without considering this Section 3.4(c).

                      ( d)    Gross Income Allocation. If a Partner has a deficit Capital Account at the end of
    any Fiscal Year of the Partnership that exceeds the sum of ( i) the amount the Partner is obligated to
    restore, and (ii) the amount the Partner is deemed to be obligated to restore pursuant to the penultimate
    sentences of Treasury Regulations Sections I. 704-2(g)(l) and 1. 704-2(i)(5), then each such Partner shall
    be specially allocated items of income and gain of the Partnership in the amount of the excess as quickly
    as possible; provided, however, an allocation pursuant to this Section 3 .4(d) shall be made if and only to

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     the extent that the Partner would have a deficit Capital Account in excess of that sum after all other
     allocations provided for in this       have been tentatively made without considering               or


                     ( e)                             Nonrecourse Deductions for any taxable year or other
     period for which allocations are made shall he allocated among the Partners in accordance with their
     Percentage interests.

                    (f)                                        Notwithstanding anything to the contrary in
    this Agreement, any Partner Nonreeourse Deductions for any taxable year or other period for which
    allocations are made will be allocated to the Partner who bears the economic risk of loss with respect to
    the Partner Nonrecourse Debt to which the Partner Nonrecourse Deductions are attributable in accordance
    with Treasury Regulations Section l .704-2(i).

                     (g)                                  To the extent an adjustment to the adjusted tax basis
    of any asset of the Partnership under Code Section 734(b) or Code Section 7 43(b) is required, pursuant to
    Treasury Regulations Section l.704-l(b)(2)(iv)(m), to be taken into account in determining Capital
    Accounts, the amount of the adjustment to the Capital Aceounts shall be treated as an item of gain (if the
    adjustment increases the basis of the asset) or loss (if the adjustment decreases the basis of the asset) and
    that gain or loss shall be specially allocated to the Partners in a manner consistent with the manner in
    which their Capital Accounts are required to be adjusted pursuant to that Section of the Treasury
    Regulations.

                     (h)                                    Any allocable items of income, gain, expense,
    deduction or credit required to be made by Section 481 of the Code as the result of the sale, transfer,
    exchange or issuance of a Partnership Interest will be specially allocated to the Partner receiving said
    Partnership Interest whether such items are positive or negative in amount.

             3.5.    Curative Allocations. The ·'Basic Regulatory Allocations" consist of (i) the allocations
    pursuant to                 and (ii) the allocations pursuant to               Notwithstanding any other
    provision of this Agreement, the Basic Regulatory Allocations shall be taken into account in allocating
    items of income, gain, loss and deduction among the Partners so that, to the extent possible, the net
    amount of the allocations of other items and the Basic Regulatory Allocations to each Partner shall be
    equal to the net amount that would have been allocated to each such Partner if the Basic Regulatory
    Allocations had not occurred. For purposes of applying the foregoing sentence, allocations pursuant to
    this Section 3.5 shall be made with respect to allocations pursuant to Section 3.4 (g) and (h) only to the
    extent that it is reasonably determined that those allocations will otherwise be inconsistent with the
    economic agreement among the Partners. To the extent that a special allocation under Section 3.4 is
    determined not to comply with applicable Treasury Regulations, then the Partners intend that the items
    shall be allocated in accordance with the Pa11ners' varying Percentage Interests throughout each tax year
    during which such items are recognized for tax purposes.

             3.6.     Code Section 704(c) Allocations. In accordance with Code Section 704(c) and the
    Treasury Regulations thereunder, income, gain, loss and deduction with respect to property contributed to
    the capital of the Partnership shall, solely for tax purposes, be allocated among the Partners so as to take
    account of any variation at the time of the contribution between the tax basis of the property to the
    Partnership and the fair market value of that property. Except as otherwise provided herein, any elections
    or other decisions relating to those allocations shall be made by the General Partner in any manner that
    reasonably reflects the purpose and intent of this Agreement. Allocations of income, gain, loss and
    deduction pursuant to this Section 3 .6 are solely for purposes of federal, state and local taxes and shall not
    affect, or in any way be taken into account in computing, the Capital Account of any Partner or the share


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    of Profits,          other tax items or distributions of any Partner pursuant to any provision of this
    Agreement.

            3.7.     Capital Accounts.

                     (a)                                       The Partnership shall establish and maintain a
    separate capital account ('Capital Account') for each Pa1iner in accordance with the rules of Treasury
    Regulations Section l.704-l(b)(2)(iv), subject to and in accordance with the provisions set fotih in this


                             (i)     The Capital Account balanee of each Partner shall be credited (increased)
    by (A) the amount of cash contributed by that Partner to the capital of the Partnership, (B) the fair market
    value of propetiy contributed by that Partner to the capital of the Partnership (net of liabilities secured by
    that contributed property that the Partnership assumes or takes subject to under Code Section 752), and
    (C) that Partner's allocable share of Profits and any items in the nature of income or gain which are
    specially allocated pursuant to             and     · and

                             (ii)     The Capital Account balance of each Partner shall be debited (decreased)
    by (A) the amount of cash distributed to that Partner by the Partnership, (B) the fair market value of
    property distributed to that Partner by the Partnership (net of liabilities secured by that distributed
    property that such Partner assumes or takes subject to under Code Section 752), (C) that Partner's
    allocable share of expenditures of the Partnership described in Code Section 705(a)(2)(B), and (D) that
    Partner's allocable share of Losses and any items in the nature of expenses or losses which are specially
    allocated pursuant to Sections 3 .2,   and

    The provisions of this Section 3. 7 and the other provisions of this Agreement relating to the maintenance
    of Capital Accounts have been included in this Agreement to comply with Code Section 704(b) and the
    Treasury Regulations promulgated thereunder and will be interpreted and applied in a manner consistent
    with those provisions. The General Partner may modify the manner in which the Capital Accounts are
    maintained under this Section 3. 7 in order to comply with those provisions, as well as upon the
    occurrence of events that might otherwise cause this Agreement not to comply with those provisions.

                    (b)      Negative Capital Accounts. If any Partner has a deficit balance in its Capital
    Account, that Partner shall have no obligation to restore that negative balance or to make any Capital
    Contribution by reason thereof, and that negative balance shall not be considered an asset of the
    Partnership or of any Partner.

                    (c)              No interest shall be paid by the Patinership on Capital Contributions or
    on balances in Capital Accounts.

                    (d)     No Withdrawal. No Partner shall be entitled to withdraw any part of his/her/its
    Capital Contribution or his/her/its Capital Account or to receive any distribution from the Partnership,
    except as provided in Section 3.9 and Article 5.

                   ( e)     Loans From Partners.        Loans by a Partner to the Partnership shall not be
    considered Capital Contributions.

                   ( f)     Revaluations. The Capital Accounts of the Partners shall not be "booked-up" or
    "'booked-down" to their fair market values under Treasury Regulations Section 1. 704( c )-1 (b )(2)(iv )( f) or
    otherwise.



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             3.8.    Distributive Share for Tax Purpose. All items of income, deduction, gain,                  or
    credit that are recognized for federal income tax purposes will be allocated among the Partners in
    accordance v,ith the allocations or Profits and Losses hereunder as determined by the General Partner in
    its sole and unfettered discretion. Notwithstanding the foregoing, the General Partner may (i) as to each
    New Issue. specially allocate to the Partners who were allocated New Issue Profit from that New Issue
    any short-term capital        realized during the Fiscal Year upon the disposition of such New Issue during
    that Fiscal Year, and (ii) specially allocate items of gain ( or loss) to Partners who withdraw capital during
    any Fiscal Year in a manner designed to ensure that each withdrawing Partner is allocated gain (or loss) in
    an amount equal to the difference between that Partner's Capital Account balance (or portion thereof
    being withdrawn) at the time of the withdrawal and the tax basis for his/her/ its Partnership Interest at that
    time (or propo11ionate amount thereof); provided, however, that the General Partner may, without the
    consent of any other Partner, (a) alter the allocation of any item of taxable income, gain, loss, deduction
    or credit in any specific instance where the General Partner, in its sole and unfettered discretion,
    determines such alteration to be necessary or appropriate to avoid a materially inequitable result
    where the allocation would create an inappropriate tax liability); and/or (b) adopt whatever other method
    of allocating tax items as the General Partner detennines is necessary or appropriate in order to be
    consistent with the spirit and intent of the Treasury Regulations under Code Sections 704(b) and 704( c ).

            3. 9.    Distributions.

                      (a)                  The General Partner may make such pro rata or non-pro rata
    distributions as it may determine in its sole and unfettered discretion, without being limited to current or
    accumulated income or gains, but no such distribution shall be made out of funds required to make
    current payments on Partnership indebtedness; provided, however, that the General Partner may not make
    non-pro rata distributions under this Section 3.9(a) during an NAV Ratio Trigger Period without the
    consent of the Class B Limited Partner (in the case of a Class B NA V Ratio Trigger Period) and/or the
    Class C Limited Partner (in the case of a Class C NA V Ratio Trigger Period); provided, further this
    provision should not be interpreted to limit in any way the General Partner's ability to make non-pro rata
    tax distributions under Section 3.9(c) and Section 3.9(f). The Partnership has entered into one or more
    credit facilities with financial institutions that may limit the amount and timing of distributions to the
    Partners. Thus. the Partners acknowledge that distributions from the Partnership may be limited. Any
    distributions made to the Class B Limited Partner or the Class C Limited Partner pursuant to Section
    3 .9(b) shall reduce distributions otherwise allocable to such Partners under this Section 3 .9(a) until such
    aggregate reductions are equal to the aggregate distributions made to the Class B Partners and the Class C
    Partners under Section 3 .9(b ).

                     (b)     Priority Distributions. Prior to the distribution of any amounts to Pa11ners
    pursuant to Section 3.9(a), and notwithstanding any other provision in this Agreement to the contrary, the
    Par1nership shall make the following distributions ("Priority Distributions") pro-rata among the Class B
    Limited Partner and the Class C Limited Partner in accordance with their relative Percentage Interests:

                           (i)     No later than March 31st of each calendar year, commencing March 31,
    2017, an amount equal to $1,600,000.00;

                            (ii)     No later than March 31st of each year, commencing March 31, 2017, an
    amount equal to three percent (3%) of the Partnership's investment gain for the prior year, as reflected in
    the Partnership's books and records within ledger account number 90100 plus three percent (3%) of the
    gross realized investment gains for the prior year of Highland Select Equity Fund, as reflected in its books
    and records;




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                            (iii)     No later than March 31st of      year, commencing March 31, 2017, an
    amount equal to ten percent ( l 0%) or the Partnership's Operating Cash Flow for tht: prior year; and

                           (iv)    No later than December 24th of each year, commencing December
    2016, an amount equal to the aggregate annual principal and interest payments on the Purchase Notes for
    the then current year.

                      (c)                         The General Partner may, in its sole discretion, declare and
    make cash distributions pursuant hereto to the Partners to allow the federal and state income tax
    attributable to the Partnership's taxable income that is passed through the Partnership to the Partners to be
    paid by such Patiners (a "Tax Distribution"). The General Partner may, in its discretion, make Tax
    Distributions to the Founding Paiiner Group without also making Tax Distributions to other Pa11ners;
    provided. however, that if the General Partner makes Tax Distributions to the Founding Partner Group,
    Tax Distributions must also be made the Class B Limited Partner to the extent the Class B Limited
    Partlwr provides the Partnership with documentation showing it is subject to an entity-level federal
    income tax obligation. Notwithstanding anything else in this Agreement, the General Partner may declare
    and pay Tax Distributions even if such Tax Distributions cause the Partnership to be unable to make
    Priority Distributions under ==~~~CJ.·

                     ( d)                                                      Any amounts paid pursuant to
    ===~c..'..J...:O:..,. or 1J.Qu shall not be deemed to be distributions for purposes of this Agreement.
                     (e)      Withheld Amounts. Notwithstanding any other provision of this Section 3.9 to
    the contrary, each Partner hereby authorizes the Partnership to withhold and to pay over, or otherwise
    pay, any withholding or other taxes payable by the Partnership with respect to that Partner as a result of
    that Partner's participation in the Partnership. If and to the extent that the Partnership shall be required to
    withhold or pay any such taxes, that Partner shall be deemed for all purposes of this Agreement to have
    received a payment from the Partnership as of the time that withholding or tax is paid, which payment
    shall be deemed to be a distribution with respect to that Partner's Partnership Interest to the extent that the
    Partner (or any successor to that Partner's Pminership Interest) is then entitled to receive a distribution.
    To the extent that the aggregate of such payments to a Partner for any period exceeds the distributions to
    which that Partner is entitled for that period, the amount of such excess shall be considered a loan from
    the Partnership to that Partner. Such loan shall bear interest (which interest shall be treated as an item of
    income to the Partnership) at the "Applicable Federal Rate" (as defined in the Code), as determined
    hereunder from time to time, until discharged by that Partner by repayment, which may be made in the
    sole and unfettered discretion of the General Patiner out of distributions to which that Partner would
    otherwist: be subsequently entitled. Any withholdings authorized by this Section 3.9(d) shall be made at
    the maximum applicable statutory rate under the applicable tax law unless the General Partner shall have
    received an opinion of counsel or other evidence satisfactory to the General Partner to the effect that a
    lower rate is applicable, or that no withholding is applicable.

                    (f)      Special Tax Distributions. The Partnership shall, upon request of such Founding
    Partner, make distributions to the Founding Pm1ners (or loans, at the election of the General Partner) in an
    amount necessary for each of them to pay their respective federal income tax obligations incurred through
    the effective date of the Third Amended and Restated Agreement of Limited Partnership of Highland
    Capital Management, L.P., the predecessor to this Agreement.

                     (g)     Tolling of Prioritv Distributions. In the event of a "Honis Trigger Event,'' as
    defined in the Second Amended Buy-Sell and Redemption Agreement, the Partnership shall not make any
    distributions, including priority distributions under Section 3.9(b), to the Class B Limited Partner or the
    Class C Limited Partner until such time as a replacement trust administrator, manager and general partner,

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    as applicable, acceptable to the Partnership in its sole discretion, as indicated by an affirmative vote of
    consent by a Majority Interest, shall be appointed to the Class B Limited Partner/Class C Limited Partner
    and any of its direct or indirect owners that have governing documents directly affected by a Honis
            Event.

            3.10.    Compensation and Reimbursement of General Partner.

                    (a)     Compensation. The General Partner and any Affiliate of the General Partner
    shall        no compensation from the Partnership for services rendered pursuant to this Agreement or
    any other agreements unless approved by a Majority Interest; provided, however, that no compensation
    above five million dollars per year may be approved, even by a Majority Interest, during a NA V Ratio
            Period.

                     (b)                                     In addition to amounts paid under other Sections
    of this Agreement, the General Partner and its Affiliates shall be reimbursed for all expenses,
    disbursements, and advances incurred or made, and all fees, deposits, and other sums paid in connection
    with the organization and operation of the Pa1tnership, the qualification of the Partnership to do business,
    and all related matters.

            3.11.    Books, Records, Accounting, and Reports.

                     (a)     Records and Accounting. The General Partner shall keep or cause to be kept
    appropriate books and records with respect to the Partnership's business, which shall at all times be kept
    at the principal office of the Partnership or such other office as the General Partner may designate for
    such purpose. The books of the Partnership shall be maintained for financial repo1ting purposes on the
    accrual basis or on a cash basis, as the General Partner shall determine in its sole and unfettered
    discretion. in accordance with generally accepted accounting principles and applicable law. Upon
    reasonable request, the Class B Limited Partner or the Class C Limited Partner may inspect the books and
    records of the Partnership.

                    (b)    Fiscal Year. The fiscal year of the Partnership shall be the calendar year unless
    otherwise determined by the General Partner in its sole and unfettered discretion.

                     ( c)    Other Information. The General Paitner may release information concerning the
    operations of the Partnership to any financial institution or other Person that has loaned or may loan funds
    to the Partnership or the General Partner or any of its Affiliates, and may release such information to any
    other Person for reasons reasonably related to the business and operations of the Partnership or as
    required by law or regulation of any regulatory body.

                    ( d)     Distribution Reporting to Class B Limited Partner and Class C Limited Partner.
    Upon request, the Partnership shall provide the Class B Limited Partner and/or the Class C Limited
    Pa1tner information on any non-pro rata distributions made under Section 3.9 to Partners other than the
    Partner requesting the information.

            3.12.   Tax Matters.

                     (a)      Tax Returns. The General Partner shall arrange for the preparation and timely
    filing of all returns of Partnership income, gain, loss, deduction, credit and other items necessary for
    federal. state and local income tax purposes. The General Partner shall deliver to each Pa11ner as copy of
    his/her/its IRS Form K-1 as soon as practicable after the end of the Fiscal Y car, but in no event later than
    October I. The classification, realization, and recognition of income, gain, loss, deduction, credit and


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     other items shall be on the cash or accrual method of aeeounting for federal income tax purposes, as the
     General Partner shall determine in its sole and unfettered discretion. The General Partner in its sole and
     unfettered discretion may pay state and local income taxes attributable to operations of the Partnership
     and treat such taxes as an expense of the Partnership.

                      (b)                      Except as otherwise provided herein, the General Partner shall, in
     its sole and unfettered discretion, determine whether to make any available tax election.

                      (c)                             Subject to the provisions hereof, the General Partner is
     designated the Tax Matters Partner (as defined in Code Section 6231 ), and is authorized and required to
     represent the Partnership, at the Partnership's expense, in connection with all examinations of the
     Partnership's affairs by tax authorities, including resulting administrative and judicial proceedings, and to
     expend Partnership fonds fix professional services and costs associated therewith. Each Partner agrees to
     cooperate \\ith the General Partner in connection with such proceedings.

                     (d)                                No election shall be made by the Partnership or any
    Partner for the Partnership to be excluded from the application of any of the provisions of Subchapter K,
    Chapter l of Subtitle A of the Code or from any similar provisions of any state tax laws.

                                                    ARTICLE 4

                                RIGHTS AND OBLIGATIONS OF PARTNERS

             4.1.    Rights and Obligations of the General Partner. In addition to the rights and
    obligations set forth elsewhere in this Agreement, the General Partner shall have the following rights and
    obligations:

                     (a)      Management. The General Partner shall conduct, direct, and exercise full control
    of over all activities of the Partnership. Except as otherwise expressly provided in this Agreement, all
    management powers over the business and affairs of the Partnership shall be exclusively vested in the
    General Partner, and Limited Partners shall have no right of control over the business and affairs of the
    Partnership. In addition to the powers now or hereafter granted to a general partner of a limited
    partnership under applicable law or that are granted to the General Partner under any provision of this
    Agreement, the General Partner shall have full power and authority to do all things deemed necessary or
    desirable by it to conduct the business of the Partnership, including, without limitation: (i) the
    determination of the activities in which the Partnership will participate; (ii) the performance of any and all
    acts necessary or appropriate to the operation of any business of the Partnership (including, without
    limitation. purchasing and selling any asset, any debt instruments, any equity interests, any commercial
    paper, any note receivables and any other obligations); (iii) the procuring and maintaining of such
    insurance as may be available in such amounts and covering such risks as are deemed appropriate by the
    General Partner; (iv) the acquisition, disposition, sale, mortgage, pledge, encumbrance, hyphothecation,
    of exchange of any or all of the assets of the Partnership; (v) the execution and delivery on behalf of, and
    in the name of the Partnership, deeds, deeds of trust, notes, leases, subleases, mortgages, bills of sale and
    any and all other contracts or instruments necessary or incidental to the conduct of the Partnership's
    business; (vi) the making of any expenditures, the borrowing of money, the guaranteeing of indebtedness
    and other liabilities, the issuance of evidences of indebtedness, and the incurrenee of any obligations it
    deems necessary or advisable for the conduct of the activities of the Partnership, including, without
    limitation, the payment of compensation and reimbursement to the General Partner and its Affiliates
    pursuant to Section 3. l O; (vii) the use of the assets of the Partnership (including, without limitation, cash
    on hand) for any Partnership purpose on any terms it sees fit, including, without limitation, the financing
    of operations of the Partnership, the lending of funds to other Persons, and the repayment of obligations

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     of the Partnership: (viii) the negotiation, execution. and perf<mnance       any contracts that it considers
     desirable, useful, or necessary to the conduct of the business or operations of the Partnership or the
     implementation of the General Partner's powers under this Agreement; (ix) the distribution of Paiinership
     cash or other            (x) the selection, hiring and dismissal of employees, attorneys, accountants,
     consultants, contractors, agents and representatives and the determination of their compensation and other
     teens of employment or hiring; (xi) the formation of any futiher limited or general partnerships, joint
     ventures, or other relationships that it deems desirable and the contribution to such partnerships, ventures,
     or relationships of assets and properties of the Partnership; and (xii) the control of any matters affecting
     the rights and obligations of the Partnership, including, without limitation, the conduct of any litigation,
     the incurring of legal expenses, and the settlement of claims and suits.

                      (b)                                          The General Partner caused the Cetiificate of
     Limited Partnership of the Partnership to be filed with the Secretary of State of Delaware as required by
     the Delaware Act and shall eause to be filed sueh other certificates or documents (including, without
     limitation, copies, amendments, or restatements of this Agreement) as may be determined by the General
     Partner to be reasonable and necessary or appropriate for the formation, qualification, or registration and
     operation of a limited partnership (or a partnership in whieh Limited Partners have limited liability) in the
     State of Delaware and in any other state where the Partnership may elect to do business.

                     (c)      Reliance by Third Parties.        Notwithstanding any other provision of this
    Agreement to the contrary, no lender or purchaser or other Person, including any purchaser of property
     from the Pa1inership or any other Person dealing with the Partnership, shall be required to verity any
    representation by the General Partner as to its authority to encumber, sell, or otherwise use any assess or
    properties of the Partnership, and any sueh lender, purchaser, or other Person shall be entitled to rely
    exclusively on such representations and shall be entitled to deal with the General Partner as if it were the
    sole party in interest therein, both legally and beneficially. Each Limited Partner hereby waives any and
    all defenses or other remedies that may be available against any sueh lender, purchaser, or other Person to
    contest. negate, or disaffirm any action of the General Partner in connection with any such sale or
    financing. In no event shall any Person dealing with the General Partner or the General Partner's
    representative with respect to any business or property of the Partnership be obligated to asce1iain that the
    terms of this Agreement have been complied with, and each sueh Person shall be entitled to rely on the
    assumptions that the Partnership has been duly formed and is validly in existence. In no event shall any
    such Person be obligated to inquire into the necessity or expedience of any act or action of the General
    Partner or the General Partner's representative, and every contract, agreement, deed, mortgage, security
    agreement, promissory note, or other instrument or document executed by the General Partner or the
    General Partner's representative with respect to any business or property of the Patinership shall be
    conclusive evidence in favor of any and every Person relying thereon or claiming thereunder that (i), at
    the time of the execution and delivery thereof, this Agreement was in full force and effect; (ii) sueh
    instrument or document was duly executed in accordance with the terms and provisions of this Agreement
    and is binding upon the Partnership; and (iii) the General Partner or the General Partner's representative
    was duly authorized and empowered to execute and deliver any and every such instrument or document
    for and on behalf of the Paiinership.

                     (d)     Paiinership Funds. The funds of the Pat1nership shall be deposited in such
    account or accounts as are designated by the General Partner. The General Patiner may, in its sole and
    unfettered discretion, deposit funds of the Partnership in a central disbursing account maintained by or in
    the name of the General Partner, the Partnership, or any other Person into whieh funds of the General
    Partner, the Partnership, on other Persons are also deposited; provided, however, at all times books of
    account are maintained that show the amount of funds of the Partnership on deposit in such account and
    interest accrued with respect to such funds as credited to the Partnership. The General Partner may use
    the funds of the Partnership as compensating balances for its benefit; provided, however, such funds do

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     not directly or indirectly secure, and are not otherwise at risk on account ot: any indebtedness or other
     obligation of the General Partner or any director, officer, employee, agent, representative, or Affiliate
     thereof: Nothing in this Section 4. J(cl) shall be deemed to prohibit or limit in any manner the right of the
     Partnership to lend funds to the General Partner or any Affiliate thereof pursuant to                     All
     withdrawals from or charges against such accounts shall be made by the General Partner or by its
     representatives. Funds of the Partnership may be invested as determined by the General Partner in
     accordance with the terms and provisions of this Agreement.

                     (e)

                               (i)      The General Partner or any Affiliate of the General Partner may lend to
     the Partnership funds needed by the Partnership for such periods of time as the General Partner may
     determine: provided, however, the General Partner or its Affiliate may not charge the Partnership interest
     at a rate greater than the rate (including points or other financing charges or fees) that would be charged
     the Partnership (without reference to the General Partner's financial abilities or guaranties) by unrelated
     lenders on comparable loans. The Partnership shall reimburse the General Partner or its Affiliate, as the
     case may be, for any costs incurred by the General Partner or that Affiliate in connection with the
     borrowing of funds obtained by the General Partner or that Affiliate and loaned to the Partnership. The
     Partnership may loan funds to the General Partner and any member of the Founding Partner Group at the
     General Partner's sole and exclusive discretion.

                             (ii)    The General Partner or any of its Affiliates may enter into an agreement
    with the Partnership to render services, including management services, for the Partnership. Any service
    rendered for the Partnership by the General Partner or any Affiliate thereof shall be on terms that are fair
    and reasonable to the Partnership.

                             (iii)   The Partnership may Transfer any assets to JOmt ventures or other
    partnerships in which it is or thereby becomes a participant upon terms and subject to such conditions
    consistent with applicable law as the General Partner deems appropriate; provided, however, that the
    Partnership may not transfer any asset to the General Partner or one of its Affiliates during any NA V
    Ratio Trigger Period for consideration less than such asset's fair market value.

                     (f)      Outside Activities' Conflicts of Interest. The General Partner or any Affiliate
    thereof and any director, officer, employee, agent, or representative of the General Partner or any Affiliate
    thereof shall be entitled to and may have business interests and engage in business activities in addition to
    those relating to the Patinership, including, without limitation, business interests and activities in direct
    competition with the Partnership. Neither the Partnership nor any of the Partners shall have any rights by
    virtue of this Agreement or the patinership relationship created hereby in any business ventures of the
    General Partner, any Affiliate thereof, or any director, officer, employee, agent, or representative of either
    the General Patiner or any Affiliate thereof.

                     (g)     Resolution of Conflicts of Interest. Unless otherwise expressly provided in this
    Agreement or any other agreement contemplated herein, whenever a conflict of interest exists or arises
    between the General Partner or any of its Affiliates, on the one hand, and the Partnership or any Limited
    Partner, on the other hand, any action taken by the General Paiiner, in the absence of bad faith by the
    General Partner, shall not constitute a breach of this Agreement or any other agreement contemplated
    herein or a breach of any standard of care or duty imposed herein or therein or under the Delaware Act or
    any other applicable law, rule, or regulation.

                    (h)     Indemnification. The Pa1inership shall indemnify and hold harmless the General
    Partner and any director, officer, employee, agent, or representative of the General Partner (collectively,


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    the "GP Party"),            all liabilities,     and damages incurred by any of them by reason of any act
    performed or omitted to be performed in the name of or on behalf of the Partnership, or in connection
    with the Partnership's business, including, without limitation, attorneys'       and any amounts expended
    in the settlement of any claims or liabilities,          or damages, to the fullest extent permitted by the
    Delaware Act; provided, however, the Partnership shall have no obligation to indemnify and hold
    harmless a GP Party for any action or inaction that constitutes gross negligence or willful or wanton
    misconduct The Partnership, in the sole and unfettered discretion of the General Partner, may indemnify
    and hold harmless any Limited Partner, employee, agent, or representative of the Partnership, any Person
    who is or was serving at the request of the Partnership acting through the General Partner as a director,
    oflicer, partner. trustee, employee, agent, or representative of another corporation, partnership, joint
    venture, trust, or other enterprise, and any other Person to the extent determined by the General Partner in
    its sole and unfettered discretion, but in no event shall such indemnification exceed the indemnification
    permitted by the Delaware Act. Notwithstanding anything to the contrary in this Section 4.1 (h) or
    elsewhere in this Agreement, no amendment to the Delaware Act after the date of this Agreement shall
    reduce or limit in any manner the indemnification provided for or permitted by this                  unless
    such reduction or limitation is mandated by such amendment for limited partnerships formed prior to the
    enactment of such amendment. In no event shall Limited Partners be subject to personal liability by
    reason of the indemnification provisions of this Agreement.

                    ( i)     Liability of General Partner.

                             (i)      Neither the General Paiiner nor its directors, officers, employees, agents,
    or representatives shall be liable to the Partnership or any Limited Partner for errors in judgment or for
    any acts or omissions that do not constitute gross negligence or willful or wanton misconduct.

                              (ii)   The General Partner may exercise any of the powers granted to it by this
    Agreement and perform any of the duties imposed upon it hereunder either directly or by or through its
    directors, officers, employees, agents, or representatives, and the General Partner shall not be responsible
    for any misconduct or negligence on the part of any agent or representative appointed by the General
    Partner.

                    U)       Reliance by General Partner.

                             (i)     The General Partner may rely and shall be protected in acting or
    refraining from acting upon any resolution, certificate, statement, instrument, opinion, report, notice,
    request, consent, order, bond, debenture, or other paper or document believed by it to be genuine and to
    have been signed or presented by the proper party or parties.

                             (ii)    The General Partner may consult with legal counsel, accountants,
    appraisers, management consultants, investment bankers, and other consultants and advisers selected by
    it, and any opinion of any such Person as to matters which the General Partner believes to be within such
    Person's professional or expe11 competence shall be full and complete authorization and protection in
    respect of any action taken or suffered or omitted by the General Partner hereunder in good faith and in
    accordance with such opinion.

                     (k)     The General Partner may, from time to time, designate one or more Persons to be
    officers of the Partnership. No officer need be a Partner. Any officers so designated shall have such
    authority and perform such duties as the General Patiner may, from time to time, delegate to them. The
    General Partner may assign titles to particular officers, including, without limitation, president, vice
    president, secretary, assistant secretary, treasurer and assistant treasurer. Each officer shall hold office
    until such Person's successor shall be duly designated and shall qualify or until such Person's death or


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    until such Person shall          or shall have been removed in the manner hereinafter provided. Any
    number of offiees may be held by the same Person. The salaries or other compensation, if any, of the
    officers and agents of the Partnership shall be fixed from time to time by the General Pattner. Any officer
    may be removed as sueh, either with or without cause, by the General Pmtner whenever in the General
    Partner's judgment the best interests of the Partnership will be served thereby. Any vacancy occurring in
    any office of the Partnership may be filled by the General Partner.

             4.2.    Rights and Obligations of Limited Partners. In addition to the rights and obligations
    of Limited Partners set forth elsewhere in this Agreement, Limited Partners shall have the following
    rights and obligations:

                  (a)                                 Limited Partners shall have no liability under this
    Agreement except as provided herein or under the Delaware Aet.

                     (b)                               No Limited Partner shall take part in the control
    (within the meaning of the Delaware Act) of the Partnership's business, transact any business in the
    Partnership's name, or have the power to sign documents for or otherwise bind the Partnership other than
    as specifically set forth in this Agreement.

                    (e)       Return of Capital. No Limited Partner shall be entitled to the withdrawal or
    return of its Capital Contribution except to the extent, if any, that distributions made pursuant to this
    Agreement or upon termination of the Partnership may be considered as sueh by law and then only to the
    extent provided for in this Agreement.

                  (d)    Seeond Amended Buv-Sell and Redemption Agreement. Each Limited Partner
    shall eomply with the terms and conditions of the Second Amended Buy-Sell and Redemption
    Agreement.

                     ( e)    Default on Priority Distributions. If the Paiinership fails to timely pay Priority
    Distributions pursuant to Section 3 .9(b ), and the Partnership does not subsequently make such Priority
    Distribution within ninety days of its due date. the Class B Limited Partner or the Class C Limited Partner
    may require the Partnership to liquidate publicly traded securities held by the Partnership or Highland
    Select Equity Master Fund, L.P., a Delaware limited partnership controlled by the Partnership; provided,
    however, that the General Partner may in its sole discretion elect instead to liquidate other non-publicly
    traded securities owned by the Pa1tnership in order to satisfy the Partnership's obligations under Section
    3.9(b) and this Section 4.2(e). In either case, Affiliates of the General Partner shall have the right of first
    offer to purchase any securities liquidated under this Section 4.2(e).

            4.3.     Transfer of Partnership Interests.

                      (a)     Transfer. No Partnership Interest shall be Transferred, in whole or in part, except
    in accordance with the terms and conditions set forth in this Section 4.3 and the Second Amended Buy-
    Sell and Redemption Agreement. Any Transfer or purported Transfer of any Partnership Interest not
    made in accordance with this                and the Second Amended Buy-Sell and Redemption Agreement
    shall be null and void. An alleged transferee shall have no right to require any information or account of
    the Pa1tnership's transactions or to inspect the Partnership's books. The Partnership shall be entitled to
    treat the alleged transferor of a Partnership Interest as the absolute owner thereof in all respects, and shall
    incur no liability to any alleged transferee for distributions to the Partner owning that Partnership Interest
    of record or for allocations of Profits, Losses, deductions or credits or for transmittal of reports and
    notices required to be given to holders of Partnership Interests.



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                     (b)                                      The General Partner may Transfer all, but not
    than alL of its Partnership Interest to any Person only with the approval of a Majority Interest; provided,
    however, that the General Partner may not Transfor its Partnership Interest during any NA V Ratio Trigger
     Period except to the extent such Transfers are for estate planning purposes or resulting from the death of
    the individual owner of the General Partner. Any Tran sfer by the General Partner of its Partnership
     Interest under this                 to an Af111iate of the General Partner or any other Person shall not
    constitute a withdrawal of the General Partner under                                 or any other provision
    of this Agreement. If any such Transfer is deemed to constitute a withdrawal under such provisions or
    otherwise and results in the dissolution of the Partnership under this Agreement or the laws of any
    jurisdiction to which the Partnership of this Agreement is subject, the Partners hereby unanimously
    consent to the reconstitution and continuation of the Partnership immediately following such dissolution,
    pursuant to~~~~~·

                    (c)                                      The Partnership Interest of a Limited Partner may
    not be Transferred without the consent of the General Partner (which consent may be withheld in the sole
    and unfettered discretion of the General Partner), and in accordance with the Second Amended Buy-Sell
    and Redemption Agreement.

                     ( d)     Distributions and Allocations in Respect of Transferred Partnership Interests. If
    any Partnership Interest is Transferred during any Fiscal Year in compliance with the provisions of
    A1iicle 4 and the Second Amended Buy-Sell and Redemption Agreement, Profits, Losses, and all other
    items attributable to the transferred interest for that period shall be divided and allocated between the
    transferor and the transferee by taking into aecount their varying interests during the period in aecordance
    with Code Section 706( d), using any conventions permitted by law and selected by the General Partner;
    provided that no allocations shall be made under this Section 4.3(d) that would affect any special
    allocations made under Section 3 .4. All distributions declared on or before the date of that Transfer shall
    be made to the transferor. Solely for purposes of making such allocations and distributions, the
    Partnership shall recognize that Transfer not later than the end of the calendar month during whieh it is
    given notice of that Transfer; provided, however, if the Partnership does not receive a notice stating the
    date that Partnership Interest was Transferred and such other information as the General Pa1iner may
    reasonably require within thirty (30) days after the end of the Fiscal Year during which the Transfer
    occurs, then all of such items shall be allocated, and all distributions shall be made, to the person who,
    according to the books and reeords or the Partnership, on the last day of the Fiscal Year during which the
    Transfer occurs, was the owner of the Partnership Interest. Neither the Partnership nor any Partner shall
    incur any liability for making alloeations and distributions in accordance with the provisions of this
    Section 4.3(d), whether or not any Partner or the Partnership has knowledge of any Transfer of ownership
    of any Pa1inership Interest.

                     ( e)    Forfeiture of Partnership Interests Pursuant to the Contribution Note. In the
    event any Class B Limited Partnership Interests are forfeited in favor of the Partnership as a result of any
    default on the Contribution Note, the Capital Aceounts and Pereentage Interests associated with such
    Class B Limited Partnership Interests shall be allocated pro rata among the Class A Partners. The Priority
    Distributions in Section 3. 9(b) made after the date of such forfeiture shall eaeh be redueed by an amount
    equal to the ratio of the Percentage Interest assoeiated with the Class B Limited Partnership Interest
    transferred pursuant to this Section 4.3(e) over the aggregate Percentage Interests of all Class B Limited
    Partnership Interests and Class C Limited Partnership Interests, calculated immediately prior to any
    forfeiture of such Class B Limited Partnership Interest.

                    (f)     Transfers of Partnership Interests Pursuant to the Purchase Notes.
    Notwithstanding any other provision in this Agreement, the Partnership shall respect, and the General
    Patiner hereby provides automatic consent for, any transfers (in whole or transfers of partial interests) of

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    the        C Limited Partnership Interests, or a portion thereof: if such transfer occurs as a result of a
    default on the Purchase Notes. Upon the transfer of any Class C Limited Partnership Interest to any
    member of the Founding Partner Group (or their assigns), such Class C Limited Partnership Interest shall
    automatically convert to a Class A Partnership Interest The Priority Distributions in                shall
    each be reduced by an amount equal to the ratio of the Percentage Interest associated with the transferred
    Class C Limited Partnership Interest over the               Percentage Interests of all Class B Limited
    Partnership Interests and Class C Limited Partnership Interests, calculated immediately prior to any
    transfer of such Class C Limited Partnership Interest.

            4.4.     Issuances of Partnership Interests to New and Existing Partners.

                     (a)                                                                   The General Partner
    may admit one or more additional Persons as Limited Pa11ners ("Additional Limited Partners") to the
    Partnership at such times and upon such terms as it deems appropriate in its sole and unfettered
    discretion; provided, however, that the General Partner may only admit additional Persons as Limited
    Pa11ners in relation to the issuance of equity incentives to key employees of the Partnership; provided,
    further that the General Partner may not issue such equity incentives to the extent they entitle the holders,
    in the aggregate, to a Percentage Interest in excess of twenty percent without the consent of the Class B
    Limited Partner and the Class C Limited Partner. All Class A Limited Partners, the Class B Limited
    Partner and the Class C Limited Par1ner shall be diluted proportionately by the issuance of such limited
    partnership interests. No Person may be admitted to the Partnership as a Limited Partner until he/she/it
    executes an Addendum to this Agreement in the form attached as Exhibit B (which may be modified by
    the General Partner in its sole and unfettered discretion) and an addendum to the Second Amended Buy-
    Sell and Redemption Agreement.

                    (b)     Issuance of an Additional Partnership Interest to an Existing Partner. The
    General Partner may issue an additional Partnership Interest to any existing Partner at such times and
    upon such terms as it deems appropriate in its sole and unfettered discretion. Upon the issuance of an
    additional Pa11nership Interest to an existing Partner, the Percentage Interests of the members of the
    Founding Pm1ner Group shall be diluted proportionately. Any additional Partnership Interest shall be
    subject to all the terms and conditions of this Agreement and the Second Amended Buy-Sell and
    Redemption Agreement.

            4.5.     Withdrawal of General Partner

                     (a)      Option. In the event of the withdrawal of the General Partner from the
    Partnership, the departing General Partner (the "Departing Partner") shall, at the option of its successor
    (if any) exercisable prior to the effective date of the departure of that Departing Partner, promptly receive
    from its successor in exchange for its Partnership Interest as the General Pminer, an amount in cash equal
    to its Capital Account balance, determined as of the effective date of its departure.

                     (b)     Conversion. If the successor to a Departing Partner does not exercise the option
    described in Section 4.5(a), the Partnership Interest of the Departing Pa11ner as the General Partner of the
    Partnership shall be converted into a Pa11nership Interest as a Limited Partner.

            4.6.     Admission of Substitute Limited Partners and Successor General Partner.

                     (a)     Admission of Substitute Limited Partners. A transferee (which may be the heir
    or legatee of a Limited Pa11ner) or assignee of a Limited Partner's Partnership Interest shall be entitled to
    receive only the distributive share of the Partnership's Profits, Losses, deductions, and credits attributable
    to that Pa11nership Interest. To become a substitute Limited Partner (a "Substitute Limited Partner"),


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    that             or          shall ( 1) obtain the consent of the General Pa11ner (which consent may be
    withheld in the sole and unfettered discretion of the General Partner), (ii) comply with all the
    requirements of this Agreement and the Second Amended Buy-Sell and Redemption Agreement with
    respect to the Transfer of the Partnership Interest at issue, and (iii) execute an Addendum to this
    Agreement in the form attached as                (which may be modified by the General Partner in its sole
    and unfettered discretion) and an addendum to the Second Amended Buy-Sell and Redemption
    Agreement. Upon admission of a Substitute Limited Partner, that Limited Partner shall be subject to all
    of the restrictions applicable to, shall assume all of the obligations of, and shall attain the status of a
    Limited Partner under and pursuant to this Agreement with respect to the Partnership Interest held by that
    Limited Partner.

                     (b)                                                  A successor General Partner selected
    pursuant to              or the transferee of or successor to all of the Pai1nership Interest of the General
    Partner pursuant to                 shall be admitted to the Partnership as the General Partner, effective as
    of the date of the withdrawal or removal of the predecessor General Partner or the date of Transfer of that
    predecessor's Partnership Interest.

                    ( c)    Action by General Partner. In connection with the admission of any substitute
    Limited Pa11ner or successor General Partner or any additional Limited Partner, the General Pat1ner shall
    have the authority to take all such actions as it deems necessary or advisable in connection therewith,
    including the amendment of              and the execution and filing with appropriate authorities of any
    necessary documentation.

                                                    ARTICLE 5

                                      DISSOLUTION AND WINDING UP

            5.1.     Dissolution. The Partnership shall be dissolved upon:

                     (a)       The withdrawal, bankruptcy, or dissolution of the General Partner, or any other
    event that results in its ceasing to be the General Partner (other than by reason of a Transfer pursuant to
    Section 4.3(b)):

                    (b)      An election to dissolve the Pa11nership by the General Partner that is approved by
    the affirmative vote of a Majority Interest; provided, however, the General Partner may dissolve the
    Partnership without the approval of the Limited Partners in order to comply with Section 14 of the Second
    Amended Buy-Sell and Redemption Agreement; or

                    (c)      Any other event that, under the Delaware Act, would cause its dissolution.

    For purposes of th is Section 5. 1, the bankruptcy of the General Partner shall be deemed to have occurred
    when the General Partner: (i) makes a general assignment for the benefit of creditors; (ii) files a voluntary
    bankruptcy petition; (iii) becomes the subject of an order for relief or is declared insolvent in any federal
    or state bankruptcy or insolvency proceeding: (iv) files a petition or answer seeking a reorganization,
    arrangement composition, readjustment. liquidation, dissolution, or similar relief under any law; (v) files
    an answer or other pleading admitting or failing to contest the material allegations of a petition filed
    against the General Partner in a proceeding of the type described in clauses (i) through (iv) of this
    paragraph; (vi) seeks, consents to, or acquiesces in the appointment of a trustee, receiver, or liquidator of
    the General Partner or of all or any substantial part of the General Partner's properties; or (vii) one
    hundred twenty ( 120) days expire after the date of the commencement of a proceeding against the General
    Partner seeking reorganization, arrangement, composition, readjustment, liquidation, dissolution, or


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     similar relief under any law if the proceeding has not been previously dismissed, or ninety (90) days
     expire after the date of the appointment, without the General Paiincr's consent or acquiescence, of a
     trustee, receiver. or liquidator of the General Partner or of all or any substantial part of the General
     Partner's properties if the appointment has not previously been vacated or stayed. or ninety (90) days
     expire after the date of expiration of a stay, if the appointment has not previously been vacated.

              5.2.      Continuation of the Partnership. Upon the occurrence of an event described in      ==C!c!
             the Partnership shall be deemed to be dissolved and reconstituted if a Majority Interest elect to
     continue the Patinership within ninety (90) days of that event. If no election to continue the Pa1inership is
     made within ninety (90) days of that event, the Partnership shall conduct only activities necessary to wind
     up its affairs. If an election to continue the Partnership is made upon the occurrence of an event described
     111                 then:

                     (a)       Within that ninety (90)-day period a successor General Partner shall be selected
     by a Majority Interest;

                     (b)    The Partnership shall be deemed to be reconstituted and shall continue until the
    end of the term for which it is formed unless earlier dissolved in accordance with this A1iiclc 5;

                     (c)       The interest of the former General Partner shall be converted to an interest as a
     Limited Pa11ner: and

                    (d)     All necessary steps shall be taken to amend or restate this Agreement and the
    Certificate of Limited Pa1incrship, and the successor General Partner may for this purpose amend this
    Agreement and the Certificate of Limited Partnership, as appropriate, without the consent of any Partner.

             5.3.     Liquidation. Upon dissolution of the Partnership, unless the Partnership is continued
     under               the General Partner or, in the event the General Partner has been dissolved, becomes
     bankrupt (as defined in                  or withdraws from the Partnership, a liquidator or liquidating
    committee selected by a Majority Interest, shall be the Liquidator. The Liquidator (if other than the
    General Partner) shall be entitled to receive such compensation for its services as may be approved by a
     Majority Interest. The Liquidator shall agree not to resign at any time without fifteen ( 15) days' prior
     written notice and (if other than the General Partner) may be removed at any time, with or without cause,
     by notice of removal approved by a Majority Interest. Upon dissolution, removal, or resignation of the
     Liquidator, a successor and substitute Liquidator (who shall have and succeed to all rights, powers, and
    duties of the original Liquidator) shall within thirty (30) days thereafter be selected by a Majority Interest.
    The right to appoint a successor or substitute Liquidator in the manner provided herein shall be recurring
    and continuing for so long as the functions and services of the Liquidator arc authorized to continue under
    the provisions hereof, and every reference herein to the Liquidator shall be deemed to refer also to any
    such successor or substitute Liquidator appointed in the manner provided herein. Except as expressly
    provided in this              the Liquidator appointed in the manner provided herein shall have and may
    exercise. without further authorization or consent of any of the parties hereto, all of the powers conferred
    upon the General Patiner under the terms of this Agreement (but subject to all of the applicable
    limitations, contractual and otherwise, upon the exercise of such powers) to the extent necessary or
    desirable in the good faith judgment of the Liquidator to carry out the duties and functions of the
    Liquidator hereunder for and during such period of time as shall be reasonably required in the good faith
    judgment of the Liquidator to complete the winding up and liquidation of the Partnership as provided
    herein. The Liquidator shall liquidate the assets of the Partnership and apply and distribute the proceeds
    of such liquidation in the following order of priority, unless otherwise required by mandatory provisions
    of applicable law:



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                      (a)    To the payment of the            of the terminating transactions including, without
     limitation, brokerage commission, legal fees, accounting      and closing costs;

                      (b)    To the payment of creditors of the Partnership, including Partners, in order of
     priority provided by law;

                        (c)     To the Partners and assignees to the extent oC and in proportion to, the positive
     balances in their respective Capital Accounts as provided in Treasury Regulations Section 1.704-
     1(b)(2)(ii)(b )(2); provided, however, the Liquidator may place in escrow a reserve of cash or other assets
     of the Partnership for contingent liabilities in an amount determined by the Liquidator to be appropriate
     for such purposes; and

                     (d)     To the Partners in propo1iion to their respective Percentage Interests.

              5.4.    Distribution in Kind. Notwithstanding the provisions of                    that require the
    liquidation of the assets of the Partnership, but subject to the order of priorities set forth therein, if on
    dissolution of the Partnership the Liquidator determines that an immediate sale of part or all of the
    Partnership's assets would be impractical or would cause undue loss to the Partners and assignees, the
    Liquidator may defer for a reasonable time the liquidation of any assets except those necessary to satisfy
    liabilities of the Partnership (other than those to Partners) and/or may distribute to the Partners and
    assignees, in lieu of cash, as tenants in common and in accordance with the provisions of===-"'-'-"'-'
    undivided interests in such Partnership assets as the Liquidator deems not suitable for liquidation. Any
    such distributions in kind shall be subject to such conditions relating to the disposition and management
    of such properties as the Liquidator deems reasonable and equitable and to any joint operating agreements
    or other agreements governing the operation of such prope1iies at such time. The Liquidator shall
    determine the fair market value of any property distributed in kind using such reasonable method of
    valuation as it may adopt.

             5.5.    Cancellation of Certificate of Limited Partnership. Upon the completion of the
    distribution of Partnership property as provided in                     and       the Partnership shall be
    terminated, and the Liquidator (or the General Partner and Limited Partners if necessary) shall cause the
    cancellation of the Certificate of Limited Partnership in the State of Delaware and of all qualifications and
    registrations of the Partnership as a foreign limited partnership in jurisdictions other than the State of
    Delaware and shall take such other actions as may be necessary to terminate the Partnership.

            5.6.    Return of Capital. The General Pa1iner shall not be personally liable for the return of
    the Capital Contributions of Limited Partners, or any portion thereof, it being expressly understood that
    any such return shall be made solely from Partnership assets.

            5.7.    Waiver of Partition.       Each Partner hereby waives any rights to partition of the
    Partnership property.

                                                   ARTICLE 6

                                           GENERAL PROVISIONS

            6.1.     Amendments to Agreement. The General Partner may amend this Agreement without
    the consent of any Partner if the General Partner reasonably determines that such amendment is necessary
    and appropriate; provided, however, any action taken by the General Partner shall be subject to its
    fiduciary duties to the Limited Patiners under the Delaware Act; provided further that any amendments



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     that adversely afl't:ct the    B Limited Partner or the Class C Limited Pai1ner may only be made with
     the consent of such Partner adversely affected.

              6.2.    Addresses and Notices. Any notice, demand, request, or report required or permitted to
     be given or made to a Partner under this Agreement shall be in writing and shall be deemed given or made
     ,\hen delivered in person or when sent by United States registered or ce11ified mail to the Partner at
     his/her/its address as shown on the records of the Pai1nership, regardless of any claim of any Person who
     may have an interest in any Partnership Interest by reason of an assignment or otherwise.

            6.3.    Titles and Captions. All article and section titles and captions in the Agreement are for
    convenience only, shall not be deemed part of this Agreement, and in no way shall define, limit, extend,
    or describe the scope or intent of any provisions hereoC Except as specifically provided otherwise,
    references to "A11icles," "Sections" and "Exhibits" are to "Articles," "Sections" and "Exhibits" of this
    Agreement. All Exhibits hereto are incorporated herein by reference.

            6.4.   Pronouns and Plurals. Whenever the context may require, any pronoun used in this
    Agreement shall include the corresponding masculine, feminine, or neuter forms, and the singular form of
    nouns, pronouns. and verbs shall include the plural and vice versa.

            6.5.      Further Action. The parties shall execute all documents, provide all information, and
    take or refrain from taking all actions as may be necessary or appropriate to achieve the purposes of this
    Agreement.

             6.6.    Binding Effect. This Agreement shall be binding upon and inure to the benefit of the
    pat1ies hereto and their heirs. executors, administrators, successors, legal representatives, and permitted
    assigns.

             6.7.    Integration. This Agreement constitutes the entire agreement among the parties hereto
    pertaining to the subject matter hereof and supersedes all prior agreements and understandings pertaining
    thereto.

            6.8.    Creditors. None of the prov1s1ons of this Agreement shall be for the benefit of or
    enforceable by any creditors of the Partnership.

            6.9.    Waiver. No failure by any party to insist upon the strict performance of any covenant,
    duty, agreement, or condition of this Agreement or to exercise any right or remedy consequent upon a
    breach thereof shall constitute waiver of any such breach or any other covenant, duty, agreement, or
    condition.

            6.10. Counterparts. This agreement may be executed in counterparts, all of which together
    shall constitute one agreement binding on all the parties hereto, notwithstanding that all such parties are
    not signatories to the original or the same counterpart.

             6.11. Applicable Law. This Agreement shall be construed in accordance with and governed
    by the laws of the State of Delaware, without regard to the principles of conflicts of law.

             6.12. Invalidity of Provisions. If any provision of this Agreement is declared or found to be
    illegal, unenforceable, or void, in whole or in part, then the parties shall be relieved of all obligations
    arising under that provision, but only to the extent that it is illegal, unenforceable, or void, it being the
    intent and agreement of the parties that this Agreement shall be deemed amended by modifying that
    provision to the extent necessary to make it legal and enforceable while preserving its intent or, if that is


                                                         25




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                                                                                                      Appx. 00633
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     not possible, by substituting therefor another provision that is legal and enforceable and achieves the same
     objectives.

               6.13. General Partner Discretion. Whenever the General Partner may use its sole discretion,
     the (ieneral Partner may consider any items it deems relevant, including its mvn interest and that of its
     affiliates.

              6.14. Mandatory Arbitration. In the event there is an unresolved legal dispute between the
     parties and/or any of their respective officers, directors, partners, employees, agents, affiliates or other
     representatives that involves legal rights or remedies arising from this Agreement, the parties agree to
     submit their dispute to binding arbitration under the authority of the Federal Arbitration Act; provided,
    ~~~~, that the Partnership or such applicable affiliate thereof may pursue a temporary restraining order
     and /or preliminary injunctive relief in connection with any confidentiality covenants or agreements
     binding on the other party, with related expedited discovery for the parties, in a court of law, and
     thereafter, require arbitration of all issues of final relief. The arbitration will be conducted by the
     American Arbitration Association, or another mutually agreeable arbitration service. A panel of three
    arbitrators will preside over the arbitration and will together deliberate, decide and issue the final award.
    The arbitrators shall be duly licensed to practice law in the state of Texas. The discovery process shall be
     limited to the following: Each side shall be permitted no more than (i) two party depositions of six hours
    each, each deposition to be taken pursuant to the Texas Rules of Civil Procedure; (ii) one non-paiiy
    deposition of six hours; (iii) twenty-five interrogatories; (iv) twenty-five requests for admissions; (v) ten
     request for production (in response, the producing pa11y shall not be obligated to produce in excess of
     5,000 total pages of documents, including electronic documents); and (vi) one request for disclosure
    pursuant to the Texas Rules of Civil Procedure. Any discovery not specifically provided for in this
    paragraph, whether to patiies or non-parties, shall not be permitted. The arbitrators shall be required to
    state in a written opinion all facts and conclusions of law relied upon to support any decision rendered.
    The arbitrators will not have the authority to render a decision that contains an outcome based on error of
    state or federal law or to fashion a cause of action or remedy not otherwise provided for under applicable
    state or federal law. Any dispute over whether the arbitrators have failed to comply with the foregoing
    ,,ill be resolved by summary judgment in a comi of law. In all other respects, the arbitration process will
     be conducted in accordance with the American Arbitration Association's dispute resolution rules or other
    mutually agreeable arbitration services rules. All proceedings shall be conducted in Dallas, Texas or
    another mutually agreeable site. Each party shall bear its own attorneys fees, costs and expenses,
    including any costs of experts, witnesses and /or travel, subject to a final arbitration award on who should
    bear costs and fees. The duty to arbitrate described above shall survive the termination of this
    Agreement. Except as otherwise provided above, the parties hereby waive trial in a court of law or by
    jury. All other rights, remedies, statutes of limitation and defenses applicable to claims asserted in a court
    of law will apply in the arbitration.




                                                         26




                                                                                                            D-CNL002998
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Case 3:21-cv-00881-X Document 178-36 Filed 01/09/24                    Page 51 of 200 PageID 48297
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                IN WITNESS WHEREOF. the           hereto have entered into this            date and
        year first written above.

                                                    GENERAL PART:'IER:




                                                    THE DUGABOY INVESTMENT TRUST




                                                     THE MARK AND PAMELA OK,\DA FAMILY
                                                     TRUST - EXEMPT TRt;ST #1


                                                        By:
                                                        -:-Jame: Lawrence Tonomura
                                                        Its:     Trustee


                                                        THE MARK AND PAMELA OKADA FA.MILY
                                                        TRUST - EXEMPT TRUST #2


                                                        By:
                                                        Name: Lawrence Tonomura
                                                        Its:  Trustee




         Signature Page to Fourth Amended @d Res1a1ed
         Agreement qt' Li111i,ed Parfllership




                                                                                                 D-CNL003000
                                                                                           Appx. 00636
Case 3:21-cv-00881-X Document 178-36 Filed 01/09/24                         Page 53 of 200 PageID 48299
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               IN WITNESS             the       hereto have entered into this        as of the date and
      year first written above.

                                                      GENERAL PARTNER:

                                                      STRAND ADVISORS, INC.,
                                                      a Delaware corporation

                                                      By:
                                                               James D. Dondero,
                                                               President


                                                      LIMITED PARTNERS:

                                                      THE DUGABOY INVESTMENT TRUST


                                                      By:
                                                      Name: Nancy M. Dondero
                                                      Its:  Trustee

                                                      THE MARK AND PAMELA OKADA FAMILY
                                                      TRUST - EXEMPT TRUST #1




                                                      THE MARK AND PAMELA OKADA FAMILY
                                                      TRUST EXEMPT TRUST #2


                                                      By:
                                                      Na
                                                      Its:


                                                      MARK K. OKADA



                                                      Mark K. Okada




      Signature Page to Fourth Amended and Restated
      Agreement of Limited Partnership




                                                                                                    D-CNL003001
                                                                                              Appx. 00637
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                                                                        . INVESTMl(NT TRUST
                                                                         .C Administrator


                                                       By




       Signawre Page ro Fourth Amended and !?estated
       Agreeme/11 of l.i111ited Partnership




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                                                                                            Appx. 00638
Case 3:21-cv-00881-X Document 178-36 Filed 01/09/24                 Page 55 of 200 PageID 48301
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                                             EXHIBIT A


                                                                       Percentage Interest
     CLASS A PARTNERS                                                By Class   Effective %

       GENERAL PARTNER:

          Strand Advisors                                              0.5573%       0.2508%

       LIMITED PARTNERS:

          The Dugaboy Investment Trust                                74.4426%       0.1866%

          Mark K. Okada                                               19.4268%       0.0487%

          The Mark and Pamela Okada Family Trust- Exempt Trust #1      3.9013%       0.0098%

          The Mark and Pamela Okada Family Trust Exempt Trust #2       1.6720%       0.0042%

     Total Class A Percentage Interest                               100.0000%        0.500%

     CLASS B LIMITED PARTNERS

          Hunter Mountain Investment Trust                           100.0000%      55.0000%

     CLASS C LIMITED PARTNERS

          Hunter Mountain Investment Trust                           100.0000%       44.500%

     PROFIT AND LOSS AMONG CLASSES

          Class A Partners                                             0.5000%

          Class B Partners                                            55.0000%

          Class C Partners                                            44.5000%




                                                                                           D-CNL003003
                                                                                     Appx. 00639
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                                                     EXHIBIT B

                                   ADDENDUM
                                    TO THE
          FOURTH AMENDED AND RESTATED AGREEMENT OF LIMITED PARTNERSHIP
                                       OF
                       HIGHLAND CAPITAL MANAGEMENT, L.P.

            THIS ADDENDUM (this ·'Addendum") to that certain Fourth Amended and Restated
    Agreement of Limited Partnership of Highland Capital Management, L.P., dated December 24, 2015, to
    be effective as of December 24, 2015, as amended from time to time (the "Agreement"), is made and
    entered into as of the       day of            20_, by and between Strand Advisors, Inc., as the sole
    General Partner (the "General Partner") of Highland Capital Management, L.P. (the "Partnership") and
    - - - - - - ("             ") (except as otherwise provided herein, all capitalized terms used herein shall
    have the meanings set forth in the Agreement).

                                                     RECITALS:

             WHEREAS, the General Partner, in its sole and unfettered discretion, and without the consent of
     any Limited Pa1iner, has the authority under (i) Section 4.4 of the Agreement to admit Additional Limited
     Partners, (ii) Section 4.6 of the Agreement to admit Substitute Limited Partners and (iii) Section 6. J of the
     Agreement to amend the Agreement;

          WHEREAS, the General Partner desires to admit                    as a Class_ Limited Partner holding
     a_% Percentage Interest in the Partnership as of the date hereof;

            WHEREAS, - - - -desires to become a Class                Limited Pminer and be bound by the terms
     and conditions of the Agreement; and

              WHEREAS, the General Partner desires to amend the Agreement to add ______ as a
     party thereto.

                                                   AGREEMENT:

            RESOLVED, as a condition to receiving a Partnership Interest in the Partnership, _ _ _ _ __
     acknowledges and agrees that he/she/it (i) has received and read a copy of the Agreement, (ii) shall be
     bound by the terms and conditions of the Agreement; and (iii) shall promptly execute an addendum to the
     Second Amended Buy-Sell and Redemption Agreement; and be it

           FURTHER RESOLVED, the General Partner hereby amends the Agreement to add
                   as a Limited Partner, and the General Partner shall attach this Addendum to the
     Agreement and make it a part thereof; and be it

             FURTHER RESOLVED, this Addendum may be executed in any number of counterparts, all of
     which together shall constitute one Addendum binding on all the parties hereto, notwithstanding that all
     such parties are not signatories to the original or the same counterpart.




                                                                                                             D-CNL003004
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            IN WITNESS WHEREOF, the undersigned have executed this Addendum as of the day and year
     above written.

                                                     GENERAL PARTNER:

                                                      STRAND ADVISORS, INC.

                                                     By:
                                                             Name: _ _ _ _ _ _ _ _ _ _ __
                                                             Title:


                                                     NEW LIMITED PARTNER:



     AGREED AND ACCEPTED:

     In consideration of the terms of this Addendum and the Agreement, in consideration of the Partnership's
     allowing the above signed Person to become a Limited Pa1tner of the Partnership, and for other good and
     valuable consideration receipt of which is hereby acknowledged, the undersigned shall be bound by the
     terms and conditions of the Agreement as though a party thereto.



     ___________]




                                                                                                       D-CNL003005
                                                                                                 Appx. 00641
Case 3:21-cv-00881-X Document 178-36 Filed 01/09/24   Page 58 of 200 PageID 48304




                             EXHIBIT 31




                                                                    Appx. 00642
Case 3:21-cv-00881-X Document 178-36 Filed 01/09/24                 Page 59 of 200 PageID 48305
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                                                                           Docket #0083 Date Filed: 9/1/2021




     Deborah Deitsch-Perez – State Bar ID 24036072
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     STINSON LLP
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     -AND-

     Clay M. Taylor – State Bar ID 24033261
     Bryan C. Assink – State Bar ID 24089009
     BONDS ELLIS EPPICH SCHAFER JONES LLP
     420 Throckmorton Street, Suite 1000
     Fort Worth, Texas 76102
     (817) 405-6900 – Telephone
     (817) 405-6902 – Facsimile

     ATTORNEYS FOR DEFENDANT JAMES DONDERO

                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

     In re:                             §                            Case No. 19-34054-SGJ-11
                                        §
     HIGHLAND CAPITAL MANAGEMENT, L.P., §                            Chapter 11
                                        §
          Debtor.                       §
                                        §
     HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                        §
          Plaintiff.                    §
                                        §
     v.                                 §
                                        §                            Adversary No.: 21-03003
     JAMES DONDERO, NANCY DONDERO,      §
     AND THE DUGABOY INVESTMENT TRUST §
                                        §
          Defendants.                   §

             DEFENDANT JAMES DONDERO’S ANSWER TO AMENDED COMPLAINT

              Defendant James Dondero ("James Dondero"), defendant in the above-styled and

     numbered adversary proceeding (the “Adversary Proceeding”) filed by Highland Capital

     Management, L.P. (the “Plaintiff”), hereby files this Answer (the “Answer”) responding to the



     DEFENDANT JAMES DONDERO'S ANSWER TO AMENDED COMPLAINT
     CORE/3522697.0002/168973556                                 ¨1¤}HV5)!          PAGE 1
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                                                                                        Appx. 00643
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     Amended Complaint for (I) Breach of Contract and (II) Turnover of Property (III) Fraudulent

     Transfer, and (IV) Breach of Fiduciary Duty [Adv. Dkt. 73] (the “Amended Complaint”). Where

     an allegation in the Amended Complaint is not expressly admitted in this Amended Answer, it is

     denied.

               In filing this Answer, Defendant James Dondero does not waive any rights to compel

     arbitration, as set forth in Defendants’ Motion to Compel Arbitration [Adv. Dkt. 80], filed on

     September 1, 2021.1

                                            PRELIMINARY STATEMENT

               1.      The first sentence of paragraph 1 of the Amended Complaint sets forth the

     Plaintiff’s objective in bringing the Amended Complaint and does not require a response. To the

     extent it contains factual allegations, they are denied. The second sentence contains a legal

     conclusion that does not require a response. To the extent it contains factual allegations, they are

     denied.

               2.      Defendant James Dondero admits that he amended his answer and served sworn

     responses to interrogatories and that these documents speak for themselves. To the extent paragraph

     2 alleges other facts, Defendant James Dondero lacks knowledge or information sufficient to form

     a belief about the truth of the allegations in paragraph 2 of the Amended Complaint and therefore

     denies the same.

               3.      Defendant James Dondero denies the allegations in paragraph 3 of the Amended

     Complaint.


     1
       Williams v. Cigna Financial Advisors, Inc., 56 F.3d 656 (5th Cir. 1995) (Defendant did not substantially invoke the
     judicial process and waive its right to arbitration despite removal of action to federal court, filing motion to dismiss,
     filing motion to stay proceedings, answering plaintiff’s complaint, asserting counterclaim, and exchanging
     discovery); Keytrade USA, Inc. v. AIN Temouchent M/V, 404 F.3d 891 (5th Cir. 2005) (Arbitration not waived when
     defendant filed a 100-plus page motion for summary judgment and a concurrent motion to arbitrate); Gulf Guaranty
     Life Ins. Co. v. Conn. Gen. Life Ins. Co., 304 F.3d 476 (5th Cir. 2002) (no waiver of arbitration right when the party
     seeking arbitration did no more than defend itself against the claims made against it).

     DEFENDANT JAMES DONDERO'S ANSWER TO AMENDED COMPLAINT                                                           PAGE 2
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                                                                                                                        D-CNL002046
                                                                                                                  Appx. 00644
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               4.      Paragraph 4 of the Amended Complaint contains a summary of the relief the Plaintiff

     seeks and does not require a response. To the extent it contains factual allegations, they are denied.

               5.      Paragraph 5 of the Amended Complaint contains a summary of the relief the Plaintiff

     seeks and does not require a response. To the extent it contains factual allegations, they are

     denied.

                                       JURISDICTION AND VENUE

               6.      Defendant James Dondero admits that this Adversary Proceeding relates to the

     Plaintiff’s bankruptcy case but denies any implication that this fact confers Constitutional

     authority on the Bankruptcy Court to adjudicate this dispute. Any allegations in paragraph 6 not

     expressly admitted are denied.

               7.      Defendant James Dondero admits that the Court has statutory (but not

     Constitutional) jurisdiction to hear this Adversary Proceeding. Any allegations in paragraph 7

     not expressly admitted are denied.

               8.      Defendant James Dondero denies that a breach of contract claim is core. Defendant

     James Dondero denies that a § 542(b) turnover proceeding is the appropriate mechanism to

     collect a contested debt. Defendant James Dondero admits that a § 542(b) turnover proceeding is

     statutorily core but denies that it is Constitutionally core under Stern v. Marshall. Defendant

     James Dondero does not consent to the Bankruptcy Court entering final orders or judgment in

     this Adversary Proceeding. Any allegations in paragraph 8 not expressly admitted are denied.

               9.      Subject to the Defendants' Motion to Compel Arbitration, Defendant James

     Dondero admits paragraph 9 of the Amended Complaint.




     DEFENDANT JAMES DONDERO'S ANSWER TO AMENDED COMPLAINT                                         PAGE 3
     CORE/3522697.0002/168973556




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Case 3:21-cv-00881-X Document 178-36 Filed 01/09/24                      Page 62 of 200 PageID 48308
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                                               THE PARTIES

              10.      Defendant James Dondero admits the allegations in paragraph 10 of the Amended

     Complaint.

              11.      Defendant James Dondero admits the first and second sentences of the allegations

     in paragraph 11 of the Amended Complaint. The third sentence of paragraph 11 asserts a legal

     conclusion to which no response is required. To the extent a response is required or appropriate,

     Defendant James Dondero admits that he was the President of the Debtor’s General Partner, Strand

     Advisors, Inc. and the Debtor’s CEO until his resignation on January 9, 2020. Defendant James

     Dondero denies any remaining allegations contained in paragraph 11.

              12.      Defendant James Dondero admits the allegations in paragraph 12 of the Amended

     Complaint.

              13.      Defendant James Dondero admits that Nancy Dondero is his sister and admits that

     she is a trustee of Dugaboy. Any allegations in paragraph 13 not expressly admitted are denied.

                                           CASE BACKGROUND

              14.      Defendant James Dondero admits the allegations in paragraph 14 of the Amended

     Complaint.

              15.      Defendant James Dondero admits the allegations in paragraph 15 of the Amended

     Complaint.

              16.      Defendant James Dondero admits the allegations in paragraph 16 of the Amended

     Complaint.

              17.      Defendant James Dondero admits the allegations in paragraph 17 of the Amended

     Complaint.




     DEFENDANT JAMES DONDERO'S ANSWER TO AMENDED COMPLAINT                                     PAGE 4
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                                                                                                   D-CNL002048
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              18.      Defendant James Dondero admits the allegations in paragraph 18 of the Amended

     Complaint.


                                         STATEMENT OF FACTS


              19.      Defendant James Dondero admits that he has executed promissory notes under

     which the Debtor is the payee. Any allegations in paragraph 19 not expressly admitted are denied.

              20.      Defendant James Dondero admits that he executed a note as alleged in the first

     sentence of paragraph 20 of the Amended Complaint. Defendant James Dondero admits that the

     attached document appears to be a copy of the referenced note.

              21.      Defendant James Dondero admits that he executed a note as alleged in the first

     sentence of paragraph 21 of the Amended Complaint. Defendant James Dondero admits that the

     attached document appears to be a copy of the referenced note.

              22.      Defendant James Dondero admits that he executed a note as alleged in the first

     sentence of paragraph 22 of the Amended Complaint. Defendant James Dondero admits that the

     attached document appears to be a copy of the referenced note.

              23.      Defendant James Dondero admits that Section 2 of each note attached to the

     Amended Complaint contains the provision quoted in paragraph 23 of the Amended Complaint.

              24.      Defendant James Dondero denies the allegations in paragraph 24 of the Amended

     Complaint. It appears that the provisions of each Note differ. Accordingly, the allegations made

     in this paragraph are denied.

              25.      Defendant James Dondero denies the allegations in paragraph 25 of the Amended

     Complaint. It appears that the provisions of each Note differ. Accordingly, the allegations made

     in this paragraph are denied.



     DEFENDANT JAMES DONDERO'S ANSWER TO AMENDED COMPLAINT                                     PAGE 5
     CORE/3522697.0002/168973556




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               26.     In response to paragraph 26 of the Amended Complaint, Defendant James

     Dondero admits that Exhibit 4 to the Amended Complaint (the “Demand Letter”) is a true and

     correct copy of what it purports to be and that the document speaks for itself. To the extent

     paragraph 26 of the Amended Complaint asserts a legal conclusion, no response is required, and

     it is denied. To the extent not expressly admitted, paragraph 26 of the Amended Complaint is

     denied.

               27.     To the extent paragraph 27 of the Amended Complaint asserts a legal conclusion,

     no response is necessary, and it is denied. Defendant James Dondero otherwise admits paragraph

     27 of the Complaint.

               28.     Defendant James Dondero lacks knowledge or information sufficient to form a

     belief about the truth of the allegations in paragraph 28 of the Amended Complaint and therefore

     denies same.

               29.     Defendant James Dondero lacks knowledge or information sufficient to form a

     belief about the truth of the allegations in paragraph 29 of the Amended Complaint and therefore

     denies same.

               30.     Defendant James Dondero lacks knowledge or information sufficient to form a

     belief about the truth of the allegations in paragraph 30 of the Amended Complaint and therefore

     denies same.

               31.     Defendant James Dondero lacks knowledge or information sufficient to form a

     belief about the truth of the allegations in paragraph 31 of the Amended Complaint and therefore

     denies same.

               32.     Defendant James Dondero denies the allegations in paragraph 32 of the Amended

     Complaint.



     DEFENDANT JAMES DONDERO'S ANSWER TO AMENDED COMPLAINT                                     PAGE 6
     CORE/3522697.0002/168973556




                                                                                                   D-CNL002050
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               33.     Defendant James Dondero admits that the Debtor filed the Original Complaint in

     this action on January 22, 2021 as alleged in the first sentence of paragraph 33 of the Amended

     Complaint. Defendant James Dondero denies he is liable for the relief requested in the Original

     Complaint. To the extent not expressly admitted, paragraph 33 of the Amended Complaint is

     denied.

               34.     Defendant James Dondero admits the allegations in paragraph 34 of the Amended

     Complaint.

               35.     Defendant James Dondero admits the allegations in paragraph 35 of the Amended

     Complaint.

               36.     In response to the allegations in paragraph 36 of the Amended Complaint,

     Defendant James Dondero admits that the Alleged Agreement was orally entered into in January

     or February 2019 or thereabouts. To the extent not expressly admitted, paragraph 36 of the

     Amended Complaint is denied.

               37.     Defendant James Dondero admits the allegations in paragraph 37 of the Amended

     Complaint.

               38.     Paragraph 38 of the Amended Complaint asserts a legal conclusion to which no

     response is required. To the extent a response is required or appropriate, Defendant James

     Dondero admits that he was the President of the Debtor’s General Partner, Stand Advisors, Inc.

     and the Debtor’s CEO until his resignation on January 9, 2020. To the extent not expressly

     admitted, paragraph 38 of the Amended Complaint is denied.

               39.     In response to paragraph 39 of the Amended Complaint, Defendant James

     Dondero informed the Debtor's CFO that the loans were potentially forgivable and testified that

     he doesn't remember if he told the Debtor's CFO about the Alleged Agreement. Subject to the



     DEFENDANT JAMES DONDERO'S ANSWER TO AMENDED COMPLAINT                                    PAGE 7
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                                                                                                  D-CNL002051
                                                                                            Appx. 00649
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     foregoing, Defendant James Dondero otherwise admits the allegations in paragraph 39 of the

     Amended Complaint.

               40.     In response to paragraph 40 of the Amended Complaint, Defendant James

     Dondero admits that he discussed the Alleged Agreement with Nancy Dondero and that no one

     else participated in the discussions surrounding the execution or authorization of the Alleged

     Agreement. To the extent not expressly admitted, paragraph 40 of the Amended Complaint is

     denied.

               41.     Defendant James Dondero lacks knowledge or information sufficient to form a

     belief about the truth of the allegations in paragraph 41 of the Amended Complaint and therefore

     denies same.

               42.     Defendant James Dondero denies the allegations in paragraph 42 of the Amended

     Complaint.

               43.     Defendant James Dondero admits the allegations in paragraph 43 of the Amended

     Complaint.

               44.     Paragraph 44 of the Amended Complaint states a legal conclusion that does not

     require a response and is therefore denied.

               45.     Paragraph 45 of the Amended Complaint states a legal conclusion that does not

     require a response and is therefore denied.

                                       FIRST CLAIM FOR RELIEF
                                         (Against James Dondero)
                                           (Breach of Contract)

               46.     Paragraph 46 of the Amended Complaint is a sentence of incorporation that does

     not require a response. All prior responses are incorporated herein by reference.




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                                                                                                   D-CNL002052
                                                                                             Appx. 00650
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              47.      Paragraph 47 of the Amended Complaint states a legal conclusion that does not

     require a response and is therefore denied.

              48.      Paragraph 48 of the Amended Complaint states a legal conclusion that does not

     require a response and is therefore denied.

              49.      Paragraph 49 of the Amended Complaint states a legal conclusion that does not

     require a response and is therefore denied.

              50.      Paragraph 50 of the Amended Complaint states a legal conclusion that does not

     require a response and is therefore denied.

                                       SECOND CLAIM FOR RELIEF
                                          (Against James Dondero)
                                   (Turnover Pursuant to 11 U.S.C. § 542(b))

              51.      Paragraph 51 of the Complaint is a sentence of incorporation that does not require

     a response. All prior responses are incorporated herein by reference.

              52.      Paragraph 52 of the Amended Complaint states a legal conclusion that does not

     require a response and is therefore denied.

              53.      Paragraph 53 of the Amended Complaint states a legal conclusion that does not

     require a response and is therefore denied.

              54.      Paragraph 54 of the Amended Complaint states a legal conclusion that does not

     require a response and is therefore denied.

              55.      Paragraph 55 of the Amended Complaint states a legal conclusion that does not

     require a response and is therefore denied. Defendant James Dondero admits that the Plaintiff

     transmitted the Demand Letter, and that document speaks for itself. To the extent paragraph 55

     alleges other facts, Defendant James Dondero lacks knowledge or information sufficient to form




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                                                                                                      D-CNL002053
                                                                                                Appx. 00651
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     a belief about the truth of the allegations in paragraph 55 of the Amended Complaint and

     therefore denies the same.

              56.      Paragraph 56 of the Amended Complaint states a legal conclusion that does not

     require a response and is therefore denied.

              57.      Paragraph 57 of the Amended Complaint states a legal conclusion that does not

     require a response and is therefore denied.

                                  THIRD CLAIM FOR RELIEF
                                    (Against James Dondero)
       (Avoidance and Recovery of Actual Fraudulent Transfer Under 11 U.S.C. § 548(a)(1)(A)
                                            and 550)

              58.      Paragraph 58 of the Complaint is a sentence of incorporation that does not require

     a response. All prior responses are incorporated herein by reference.

              59.      Paragraph 59 of the Amended Complaint states a legal conclusion that does not

     require a response and is therefore denied.

              60.      Paragraph 60 of the Amended Complaint states a legal conclusion that does not

     require a response and is therefore denied.

              61.      Paragraph 61 of the Amended Complaint states a legal conclusion that does not

     require a response and therefore it is denied.

              62.      Paragraph 62 of the Amended Complaint states a legal conclusion that does not

     require a response and therefore it is denied.

              63.      Paragraph 63 of the Amended Complaint states a legal conclusion that does not

     require a response and therefore it is denied.




     DEFENDANT JAMES DONDERO'S ANSWER TO AMENDED COMPLAINT                                      PAGE 10
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                                                                                               Appx. 00652
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                                FOURTH CLAIM FOR RELIEF
                                   (Against James Dondero)
       (Avoidance and Recovery of Actual Fraudulent Transfer Under 11 U.S.C. § 544(b) and
                          550, and Tex. Bus. & C. Code § 24.005(a)(1))

              64.      Paragraph 64 of the Complaint is a sentence of incorporation that does not require

     a response. All prior responses are incorporated herein by reference.

              65.      Paragraph 65 of the Amended Complaint states a legal conclusion that does not

     require a response and is therefore denied.

              66.      Paragraph 66 of the Amended Complaint states a legal conclusion that does not

     require a response and is therefore denied.

              67.      Paragraph 67 of the Amended Complaint states a legal conclusion that does not

     require a response and is therefore denied.

              68.      Paragraph 68 of the Amended Complaint states a legal conclusion that does not

     require a response and is therefore denied.

                                     FIFTH CLAIM FOR RELIEF
                                            (Against Dugaboy)
                 (For Declaratory Relief: --11 U.S.C. § 105(a) and Fed. R. Bankr. P 7001)

              69.      This claim is only asserted against Defendant The Dugaboy Investment Trust.

     Therefore, Defendant James Dondero is not required to respond to this claim.

              70.      This claim is only asserted against Defendant The Dugaboy Investment Trust.

     Therefore, Defendant James Dondero is not required to respond to this claim.

              71.      This claim is only asserted against Defendant The Dugaboy Investment Trust.

     Therefore, Defendant James Dondero is not required to respond to this claim.

              72.      This claim is only asserted against Defendant The Dugaboy Investment Trust.

     Therefore, Defendant James Dondero is not required to respond to this claim.




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                                        SIXTH CLAIM FOR RELIEF
                                              (Against Dugaboy)
                                          (Breach of Fiduciary Duty)

              73.      This claim is only asserted against Defendant The Dugaboy Investment Trust.

     Therefore, Defendant James Dondero is not required to respond to this claim.

              74.      This claim is only asserted against Defendant The Dugaboy Investment Trust.

     Therefore, Defendant James Dondero is not required to respond to this claim.

              75.      This claim is only asserted against Defendant The Dugaboy Investment Trust.

     Therefore, Defendant James Dondero is not required to respond to this claim.

              76.      This claim is only asserted against Defendant The Dugaboy Investment Trust.

     Therefore, Defendant James Dondero is not required to respond to this claim.

                                      SEVENTH CLAIM FOR RELIEF
                                 (Against James Dondero and Nancy Dondero)
                               (Aiding and Abetting a Breach of Fiduciary Duty)

              77.      Defendant James Dondero is moving to dismiss this claim. Therefore, he is not

     required to respond to this claim at this time.

              78.      Defendant James Dondero is moving to dismiss this claim. Therefore, he is not

     required to respond to this claim at this time.

              79.      Defendant James Dondero is moving to dismiss this claim. Therefore, he is not

     required to respond to this claim at this time.

              80.      Defendant James Dondero is moving to dismiss this claim. Therefore, he is not

     required to respond to this claim at this time.

              81.      Defendant James Dondero is moving to dismiss this claim. Therefore, he is not

     required to respond to this claim at this time.




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                                                                                            Appx. 00654
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              Defendant James Dondero denies that the Plaintiff is entitled to the relief requested in the

     prayer, including as to parts (i), (ii), (iii), (iv), (v), (vi), and (vii).

                                           AFFIRMATIVE DEFENSES

              82.      Plaintiff’s claims are barred in whole or in part because prior to the demands for

     payment Plaintiff agreed that it would not collect the Notes upon fulfillment of conditions

     subsequent. Specifically, sometime between December of the year in which each note was made

     and February of the following year, Defendant Nancy Dondero, as representative for a majority

     of the Class A shareholders of Plaintiff agreed that Plaintiff would forgive the Notes if certain

     portfolio companies were sold for greater than cost or on a basis outside of Defendant James

     Dondero’s control. The purpose of this agreement was to provide compensation to Defendant

     James Dondero, who was otherwise underpaid compared to reasonable compensation levels in

     the industry, through the use of forgivable loans, a practice that was standard at HCMLP and in

     the industry. This agreement setting forth the conditions subsequent to demands for payment on

     the Notes was an oral agreement; however, Defendant James Dondero believes there may be

     testimony or email correspondence that discusses the existence of this agreement that may be

     uncovered through discovery in this Adversary Proceeding.

              83.      Defendant James Dondero further asserts that Plaintiff’s claims are barred, in

     whole or in part, due to waiver.

              84.      Defendant James Dondero further asserts that Plaintiff’s claims are barred, in

     whole or in part, due to estoppel.

              85.      Defendant James Dondero further asserts that Note is ambiguous.

              86.      Defendant James Dondero further asserts that Plaintiff’s claims may be barred, in

     whole or in part, due to failure of consideration.



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              87.      Defendant James Dondero further asserts that Plaintiff’s fraudulent transfer

     claims should be barred, in whole or in part, because at all relevant times Defendant James

     Dondero acted in good faith.

              88.      Defendant James Dondero further asserts that Plaintiff’s fraudulent transfer

     claims should be barred, in whole or in part, because the alleged fraudulent transfer (i.e., the

     “Alleged Agreement”) was taken in good faith and for reasonably equivalent value.

              89.      Defendant James Dondero further asserts that Plaintiff’s fraudulent transfer

     claims should be barred, in whole or in part, because there was no intent to hinder, delay, or

     defraud any creditors of the Debtor by entering into the “Alleged Agreement.”

              90.      Defendant James Dondero further asserts that Plaintiff’s fraudulent transfer

     claims should be barred, in whole or in part, because the Debtor was solvent at the time the

     “Alleged Agreement” was made.

              91.      Defendant James Dondero further asserts that Plaintiff's claims must be resolved

     in arbitration.

                                               JURY DEMAND

              92.      Except to the extent compelled to arbitration, Defendant James Dondero demands

     a trial by jury of all issues so triable pursuant to Rule 38 of the Federal Rules of Civil Procedure

     and Rule 9015 of the Federal Rules of Bankruptcy Procedure.

              93.      Defendant James Dondero does not consent to the Bankruptcy Court conducting

     a jury trial and therefore demands a jury trial in the District Court.

                                                   PRAYER

              WHEREFORE, PREMISES CONSIDERED, Defendant James Dondero respectfully

     requests that, following a trial on the merits, the Court enter a judgment that the Plaintiff take



     DEFENDANT JAMES DONDERO'S ANSWER TO AMENDED COMPLAINT                                       PAGE 14
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                                                                                                Appx. 00656
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     nothing on the Amended Complaint and provide Defendant James Dondero such other relief to

     which he is entitled.

     Dated: September 1, 2021                           Respectfully submitted,
                                                        /s/ Deborah Deitsch-Perez
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                                                        ATTORNEYS FOR DEFENDANT
                                                        JAMES DONDERO



                                     CERTIFICATE OF SERVICE

             The undersigned hereby certifies that, on September 1, 2021, a true and correct copy of
     this document was served via the Court’s CM/ECF system on counsel for the Plaintiff.

                                                        /s/ Deborah Deitsch-Perez
                                                        Deborah Deitsch-Perez



     DEFENDANT JAMES DONDERO'S ANSWER TO AMENDED COMPLAINT                                 PAGE 15
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                             EXHIBIT 32




                                                                    Appx. 00658
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                                                                                            Docket #0079 Date Filed: 8/27/2021




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     Counsel for Highland Capital Management, L.P.

                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

         In re:                                                        §
                                                                       §   Chapter 11
         HIGHLAND CAPITAL MANAGEMENT, L.P., 1                          §
                                                                       §   Case No. 19-34054-sgj11
                                                                       §
                                          Debtor.
                                                                       §
         HIGHLAND CAPITAL MANAGEMENT, L.P.,                            §
                                                                       §
                                          Plaintiff,                   §   Adversary Proceeding No.
                                                                       §
         vs.                                                           §   21-3003
                                                                       §
         JAMES DONDERO, NANCY DONDERO, AND                             §
         THE DUGABOY INVESTMENT TRUST,                                 §
                                                                       §
                                          Defendants.




     1
      The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
     for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.


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Case 3:21-cv-00881-X Document 178-36 Filed 01/09/24                        Page 76 of 200 PageID 48322
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                   AMENDED COMPLAINT FOR (I) BREACH OF CONTRACT,
           (II) TURNOVER OF PROPERTY, (III) FRAUDULENT TRANSFER, AND (IV)
                             BREACH OF FIDUCIARY DUTY

                      Plaintiff, Highland Capital Management, L.P., the above-captioned debtor and

     debtor-in-possession (the “Debtor”) in the above-captioned chapter 11 case (the “Bankruptcy

     Case”), and the plaintiff (the “Plaintiff”) in the above-captioned adversary proceeding (the

     “Adversary Proceeding”), by its undersigned counsel, as and for its amended complaint (the

     “Complaint”) against defendants James Dondero (“Mr. Dondero”), Nancy Dondero, and The

     Dugaboy Investment Trust (“Dugaboy,” and together with Mr. Dondero and Nancy Dondero,

     “Defendants”), alleges upon knowledge of its own actions and upon information and belief as to

     other matters as follows:

                                         PRELIMINARY STATEMENT

                      1.         The Debtor brings this action against Defendants in connection with Mr.

     Dondero’s defaults under three promissory notes executed by Mr. Dondero in favor of the Debtor

     in the aggregate original principal amount of $8,825,000, and payable upon the Debtor’s demand.

     Despite due demand, Mr. Dondero has failed to pay amounts due and owing under the notes and

     the accrued but unpaid interest thereon.

                      2.         After amending his answer and his sworn responses to interrogatories, Mr.

     Dondero now contends that the Debtor orally agreed to relieve him of his obligations under the

     notes upon fulfillment of “conditions subsequent” (the “Alleged Agreement”). Mr. Dondero

     further contends that he entered into the Alleged Agreement with his sister, Nancy Dondero, as

     trustee of Dugaboy, acting on behalf of the Debtor. At the time Mr. Dondero entered into the

     Alleged Agreement, he controlled the Debtor and was the lifetime beneficiary of Dugaboy.




                                                         2
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                      3.         Based on its books and records, discovery to date, and other facts, the

     Debtor believes that the Alleged Agreement is a fiction created after the commencement of this

     Adversary Proceeding for the purpose of avoiding or at least delaying paying the obligations due

     under the notes.

                      4.         Nevertheless, the Debtor amends its Complaint for the purpose of adding

     certain claims and naming additional parties who would be liable to the Debtor if the Alleged

     Agreement were determined to exist and be enforceable. Specifically, in addition to pursuing

     claims against Mr. Dondero for breach of his obligations under the notes and for turnover, the

     Debtor adds alternative claims (a) against Mr. Dondero for actual fraudulent transfer and aiding

     and abetting Dugaboy in its breach of fiduciary duty, (b) against Dugaboy for declaratory relief

     and for breach of fiduciary duty, and (c) against Nancy Dondero for aiding and abetting Dugaboy

     in the breach of his fiduciary duties.

                      5.         As remedies, the Debtor seeks (a) damages from Mr. Dondero in an amount

     equal to (i) the aggregate outstanding principal due under the Notes (as defined below), plus (ii)

     all accrued and unpaid interest thereon until the date of payment, plus (iii) an amount equal to the

     Debtor’s costs of collection (including all court costs and reasonable attorneys’ fees and expenses,

     as provided for in the notes), for Mr. Dondero’s breach of his obligations under the Notes, (b)

     turnover by Mr. Dondero to the Debtor of the foregoing amounts; (c) avoidance of the Alleged

     Agreement and the transfers thereunder and recovery of the funds transferred from the Plaintiff to,

     or for the benefit of, Mr. Dondero pursuant to the Notes; (d) declaratory relief, and (e) damages

     arising from the Defendants’ breach of fiduciary duties or aiding and abetting thereof.




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                                          JURISDICTION AND VENUE

                      6.         This adversary proceeding arises in and relates to the Debtor’s case pending

     before the United States Bankruptcy Court for the Northern District of Texas, Dallas Division (the

     “Court”) under chapter 11 of the Bankruptcy Code.

                      7.         The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

     and 1334.

                      8.         This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b),

     and, pursuant to Rule 7008 of the Bankruptcy Rules, the Debtor consents to the entry of a final

     order by the Court in the event that it is later determined that the Court, absent consent of the

     parties cannot enter final orders or judgments consistent with Article III of the United States

     Constitution.

                      9.         Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

                                                   THE PARTIES

                      10.        The Debtor is a limited liability partnership formed under the laws of

     Delaware with a business address at 300 Crescent Court, Suite 700, Dallas, Texas 75201.

                      11.        Upon information and belief, Mr. Dondero is an individual residing in

     Dallas, Texas. He is the co-founder of the Debtor and was the Debtor’s President and Chief

     Executive Officer until his resignation on January 9, 2020. At all relevant times, Mr. Dondero

     controlled the Debtor.

                      12.        Upon information and belief, Dugaboy is (a) a limited partner of the Debtor,

     and (b) one of Mr. Dondero’s family investment trusts for which is he a lifetime beneficiary.

                      13.        Upon information and belief, Nancy Dondero is Mr. Dondero’s sister, and

     the trustee of Dugaboy.



                                                          4
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                                                 CASE BACKGROUND

                         14.     On October 16, 2019, the Debtor filed a voluntary petition for relief under

     chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the District of

     Delaware (the “Delaware Court”), Case No. 19-12239 (CSS) (the “Highland Bankruptcy Case”).

                         15.     On October 29, 2019, the U.S. Trustee in the Delaware Court appointed an

     Official Committee of Unsecured Creditors (the “Committee”) with the following members: (a)

     Redeemer Committee of Highland Crusader Fund (“Redeemer”), (b) Meta-e Discovery, (c) UBS

     Securities LLC and UBS AG London Branch, and (d) Acis Capital Management, L.P. and Acis

     Capital Management GP LLC (collectively, “Acis”).

                         16.     On June 25, 2021, the U.S. Trustee in this Court filed that certain Notice of

     Amended Unsecured Creditors’ Committee [Docket No. 2485] notifying the Court that Acis and

     Redeemer had resigned from the Committee.

                         17.     On December 4, 2019, the Delaware Court entered an order transferring

     venue of the Highland Bankruptcy Case to this Court [Docket No. 186]. 2

                         18.     The Debtor has continued in the possession of its property and has

     continued to operate and manage its business as a debtor-in-possession pursuant to sections

     1107(a) and 1108 of the Bankruptcy Code. No trustee or examiner has been appointed in this

     chapter 11 case.

                                                STATEMENT OF FACTS

     A.         The Dondero Notes

                         19.     Mr. Dondero, in his personal capacity, is the maker under a series of

     promissory notes in favor of the Debtor.



     2
         All docket numbers refer to the main docket for the Highland Bankruptcy Case maintained by this Court.

                                                               5
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Case 3:21-cv-00881-X Document 178-36 Filed 01/09/24                         Page 80 of 200 PageID 48326
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                      20.        Specifically, on February 2, 2018, Mr. Dondero executed a promissory note

     in favor of the Debtor, as payee, in the original principal amount of $3,825,000 (“Dondero’s First

     Note”). A true and correct copy of Dondero’s First Note is attached hereto as Exhibit 1.

                      21.        On August 1, 2018, Mr. Dondero executed a promissory note in favor of the

     Debtor, as payee, in the original principal amount of $2,500,000 (“Dondero’s Second Note”). A

     true and correct copy of Dondero’s Second Note is attached hereto as Exhibit 2.

                      22.        On August 13, 2018, Mr. Dondero executed a promissory note in favor of

     the Debtor, as payee, in the original principal amount of $2,500,000 (“Dondero’s Third Note” and

     collectively, with Dondero’s First Note and Dondero’s Second Note, the “Notes”). A true and

     correct copy of Dondero’s Third Note is attached hereto as Exhibit 3.

                      23.        Section 2 of each Note provides: “Payment of Principal and Interest. The

     accrued interest and principal of this Note shall be due and payable on demand of the Payee.”

                      24.        Section 4 of each Note provides:

                      Acceleration Upon Default. Failure to pay this Note or any installment
                      hereunder as it becomes due shall, at the election of the holder hereof,
                      without notice, demand, presentment, notice of intent to accelerate, notice
                      of acceleration, or any other notice of any kind which are hereby waived,
                      mature the principal of this Note and all interest then accrued, if any, and
                      the same shall at once become due and payable and subject to those
                      remedies of the holder hereof. No failure or delay on the part of the Payee
                      in exercising any right, power, or privilege hereunder shall operate as a
                      waiver hereof.

                      25.        Section 6 of each Note provides:

                      Attorneys’ Fees. If this Note is not paid at maturity (whether by
                      acceleration or otherwise) and is placed in the hands of an attorney for
                      collection, or if it is collected through a bankruptcy court or any other court
                      after maturity, the Maker shall pay, in addition to all other amounts owing
                      hereunder, all actual expenses of collection, all court costs and reasonable
                      attorneys’ fees and expenses incurred by the holder hereof.




                                                          6
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     B.      Mr. Dondero Defaults Under Each Note

                      26.        By letter dated December 3, 2020, the Debtor made demand on Mr.

     Dondero for payment under the Notes by December 11, 2020 (the “Demand Letter”). A true and

     correct copy of the Demand Letter is attached hereto as Exhibit 4. The Demand Letter provided:

                      By this letter, Payee is demanding payment of the accrued interest and
                      principal due and payable on the Notes in the aggregate amount of
                      $9,004,013.07, which represents all accrued interest and principal through
                      and including December 11, 2020.

                      Payment is due on December 11, 2020, and failure to make payment in
                      full on such date will constitute an event of default under the Notes.

     Demand Letter (emphasis in the original).

                      27.        Despite the Debtor’s demand, Mr. Dondero did not pay all or any portion

     of the amounts demanded by the Debtor on December 11, 2020, or at any time thereafter.

                      28.        As of December 11, 2020, there was an outstanding principal amount of

     $3,687,269.71 on Dondero’s First Note and accrued but unpaid interest in the amount of

     $21,003.70, resulting in a total outstanding amount as of that date of $3,708,273.41.

                      29.        As of December 11, 2020, there was an outstanding principal balance of

     $2,619,929.42 on Dondero’s Second Note and accrued but unpaid interest in the amount of

     $27,950.70, resulting in a total outstanding amount as of that date of $2,647,880.12.

                      30.        As of December 11, 2020, there was an outstanding principal balance of

     $2,622,425.61 on Dondero’s Third Note and accrued but unpaid interest in the amount of

     $25,433.94, resulting in a total outstanding amount as of that date of $2,647,859.55.

                      31.        Thus, as of December 11, 2020, the total outstanding principal and accrued

     but unpaid interest due under the Notes was $9,004,013.07.

                      32.        Pursuant to Section 4 of each Note, each Note is in default, and is currently

     due and payable.

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Case 3:21-cv-00881-X Document 178-36 Filed 01/09/24                         Page 82 of 200 PageID 48328
      Case 21-03003-sgj Doc 79 Filed 08/27/21                 Entered 08/27/21 17:24:19     Page 8 of 18




     C.      The Debtor Files the Original Complaint

                      33.        On January 22, 2021, the Debtor filed the Complaint for (I) Breach of

     Contract and (II) Turnover of Property of the Debtor’s Estate [Docket No. 1] (the “Original

     Complaint”). In the Original Complaint, the Debtor brought claims for (i) breach of contract for

     Mr. Dondero’s breach of his obligations under the Notes and (ii) turnover by Mr. Dondero for

     the outstanding amounts under the Notes, plus all accrued and unpaid interest until the date of

     payment plus the Debtor’s costs of collection and reasonable attorney’s fees.

     D.      Mr. Dondero’s Affirmative Defenses

                      34.        On March 16, 2021, Mr. Dondero filed his Original Answer [Docket No. 6]

     (the “Original Answer”). In his Original Answer, Mr. Dondero asserted four affirmative defenses:

     (i) the Debtor’s claims should be barred because it was previously agreed by the Debtor that the

     Debtor would not collect on the Notes, (ii) waiver, (iii) estoppel, and (iv) failure of consideration.

     See id. ¶¶ 40-43.

                      35.        On April 6, 2021, Mr. Dondero filed his Amended Answer [Docket No. 16]

     (the “Amended Answer”), asserting three additional affirmative defenses: (i) the Debtor previously

     agreed that it would not collect on the Notes “upon fulfillment of conditions subsequent” (i.e., the

     Alleged Agreement) id. ¶ 40, (ii) The Debtor’s claims are barred, in whole or in part, due to setoff,

     id. ¶ 41, and (iii) the Notes are “ambiguous,” id. ¶ 45.

                      36.        According to Mr. Dondero, the Alleged Agreement was orally entered into

     in January or February 2019, and was not memorialized in any documentation.

                      37.        According to Mr. Dondero, he entered into the Alleged Agreement with his

     sister, Nancy Dondero, acting in her capacity as the Trustee of Dugaboy, which purportedly held

     the majority of the Debtor’s Class A limited partnership interests.



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                                                                                                 Appx. 00666
Case 3:21-cv-00881-X Document 178-36 Filed 01/09/24                         Page 83 of 200 PageID 48329
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                      38.        Mr. Dondero controlled the Debtor at the time he entered into the Alleged

     Agreement.

                      39.        Mr. Dondero did not inform the Debtor’s CFO or outside auditor’s about

     the Alleged Agreement.

                      40.        According to Mr. Dondero, he discussed the Alleged Agreement with

     Nancy Dondero, but (a) no one else participated in the discussions surrounding the execution or

     authorization of the Alleged Agreement, and (b) the Alleged Agreement was not subject to any

     negotiation.

                      41.        Upon information and belief, the Debtor’s books and records do not reflect

     the Alleged Agreement.

     E.      Dugaboy Lacked Authority to Act on Behalf of the Debtor

                      42.        Under section 4.2 of the Fourth Amended and Restated Agreement of

     Limited Partnership of Highland Capital Management, L.P. (the “Limited Partnership

     Agreement”), and attached hereto as Exhibit 5, Dugaboy was not authorized to enter into the

     Alleged Agreement on behalf of the Partnership, or otherwise bind the Partnership (as

     “Partnership” is defined in the Limited Partnership Agreement).

                      43.        Section 4.2(b) of the Limited Partnership Agreement states:

                      Management of Business. No Limited Partner shall take part in the control (within
                      the meaning of the Delaware Act) of the Partnership’s business, transact any
                      business in the Partnership’s name, or have the power to sign documents for or
                      otherwise bind the Partnership other than as specifically set forth in this Agreement.

     Exhibit 5, § 4.2(b).

                      44.        No provision in the Limited Partnership Agreement authorizes any of the

     Partnership’s limited partners to bind the Partnership.




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Case 3:21-cv-00881-X Document 178-36 Filed 01/09/24                         Page 84 of 200 PageID 48330
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                      45.        Nancy Dondero also lacked authority to enter into the Alleged Agreement

     or to otherwise bind the Debtor.

                                           FIRST CLAIM FOR RELIEF
                                              (Against Mr. Dondero)
                                               (Breach of Contract)

                      46.        The Debtor repeats and re-alleges the allegations in each of the foregoing

     paragraphs as though fully set forth herein.

                      47.        Each Note is a binding and enforceable contract.

                      48.        Mr. Dondero breached each Note by failing to pay all amounts due to the

     Debtor upon the Debtor’s demand.

                      49.        Pursuant to each Note, the Debtor is entitled to damages from Mr. Dondero

     in an amount equal to (i) the aggregate outstanding principal due under each Note, plus (ii) all

     accrued and unpaid interest thereon until the date of payment, plus (iii) an amount equal to the

     Debtor’s costs of collection (including all court costs and reasonable attorneys’ fees and expenses),

     for Mr. Dondero’s breach of his obligations under each of the Notes.

                      50.        As a direct and proximate cause of Mr. Dondero’s breach of each Note, the

     Debtor has suffered damages in the total amount of at least $9,004,013.07, as of December 11,

     2020, plus an amount equal to all accrued but unpaid interest from that date plus the Debtor’s cost

     of collection.

                                         SECOND CLAIM FOR RELIEF
                                             (Against Mr. Dondero)
                                     (Turnover Pursuant to 11 U.S.C. § 542(b))

                      51.        The Debtor repeats and re-alleges the allegations in each of the foregoing

     paragraphs as though fully set forth herein.

                      52.        Mr. Dondero owes the Debtor an amount equal to (i) the aggregate

     outstanding principal due under each Note, plus (ii) all accrued and unpaid interest thereon until

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     the date of payment, plus (iii) an amount equal to the Debtor’s costs of collection (including all

     court costs and reasonable attorneys’ fees and expenses), for Mr. Dondero’s breach of his

     obligations under each of the Notes.

                      53.        Each Note is property of the Debtor’s estate and the amounts due under each

     Note is matured and payable upon demand.

                      54.        Mr. Dondero has not paid the amounts dues under each Note to the Debtor.

                      55.        The Debtor has made demand for the turnover of the amounts due under

     each Note.

                      56.        As of the date of filing of this Complaint, Mr. Dondero has not turned over

     to the Debtor all or any of the amounts due under each of the Notes.

                      57.        The Debtor is entitled to the turnover of all amounts due under each of the

     Notes.

                                 THIRD CLAIM FOR RELIEF
                                     (Against Mr. Dondero)
      (Avoidance and Recovery of Actual Fraudulent Transfer Under 11 U.S.C. §§ 548(a)(1)(A)
                                           and 550)

                      58.        The Debtor repeats and re-alleges the allegations in each of the foregoing

     paragraphs as though fully set forth herein.

                      59.        The Debtor made the transfers in the aggregate amount of $8,825,000 in

     exchange for the Alleged Agreement within two years of the Petition Date.

                      60.        Mr. Dondero entered into the Alleged Agreement with actual intent to

     hinder, delay, or defraud a present or future creditor, demonstrated by, inter alia:

                      (a) The transfers were made to, or for the benefit of, Mr. Dondero, an insider of the

                            Debtor.




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                      (b) Mr. Dondero entered into the Alleged Agreement with his sister, Nancy

                            Dondero.

                      (c) Mr. Dondero did not inform the Debtor’s CFO or outside auditors about the

                            Alleged Agreement.

                      (d) The Debtor’s books and record do not reflect the Alleged Agreement.

                      (e) The Alleged Agreement was not subject to negotiation.

                      (f) The value of the consideration received by the Debtor for the transfers was not

                            reasonably equivalent in value.

                      61.        The pattern of conduct, series of transactions, and general chronology of

     events under inquiry in connection with the debt Mr. Dondero incurred under the Notes

     demonstrates a scheme of fraud.

                      62.        Pursuant to 11 U.S.C. § 550, the Debtor is entitled to recover for the benefit

     of the Debtor’s estates the transfers made in exchange for the Alleged Agreement from Mr.

     Dondero.

                      63.        Accordingly, the Debtor is entitled to a judgement: (i) avoiding Alleged

     Agreement and the transfers thereunder, and (ii) recovering from Mr. Dondero the amount of

     $8,825,000.

                                FOURTH CLAIM FOR RELIEF
                                     (Against Mr. Dondero)
       (Avoidance and Recovery of Actual Fraudulent Transfer Under 11 U.S.C. §§ 544(b) and
                          550, and Tex. Bus. & C. Code § 24.005(a)(1))

                      64.        The Debtor repeats and re-alleges the allegations in each of the foregoing

     paragraphs as though fully set forth herein.




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                      65.        The Debtor made the transfers in the aggregate amount of $8,825,000 in

     exchange for the Alleged Agreement after, or within a reasonable time before, creditors’ claims

     arose.

                      66.        Mr. Dondero entered into the Alleged Agreement with actual intent to

     hinder, delay, or defraud a present or future creditor of the Debtor, demonstrated by, inter alia:

                      (g) The transfers were made to, or for the benefit of, Mr. Dondero, an insider of the

                            Debtor.

                      (h) Mr. Dondero entered into the Alleged Agreement with his sister, Nancy

                            Dondero.

                      (i) Mr. Dondero did not inform the Debtor’s CFO or outside auditor’s about the

                            Alleged Agreement.

                      (j) Upon information and belief, the Debtor’s books and record do not reflect the

                            Alleged Agreement.

                      (k) The Alleged Agreement was not subject to negotiation.

                      (l) The value of the consideration received by the Debtor for the transfers was not

                            reasonably equivalent in value.

                      67.        Pursuant to 11 U.S.C. § 550, the Debtor is entitled to recover for the benefit

     of the Debtor’s estates the transfers made in exchange for the Alleged Agreement from Mr.

     Dondero.

                      68.        Accordingly, the Debtor is entitled to a judgement: (i) avoiding the Alleged

     Agreement and the transfers thereunder, and (ii) recovering from Mr. Dondero the amount of

     $8,825,000.




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                                     FIFTH CLAIM FOR RELIEF
                                            (Against Dugaboy)
                (For Declaratory Relief: -- 11 U.S.C. § 105(a) and Fed. R. Bankr. P. 7001)

                      69.        The Debtor repeats and re-alleges the allegations in each of the foregoing

     paragraphs as though fully set forth herein.

                      70.        A bona fide, actual, present dispute exists between the Debtor and Dugaboy

     concerning whether Dugaboy was authorized to entered into the Alleged Agreement on the

     Debtor’s behalf.

                      71.        A judgment declaring the parties’ respective rights and obligations will

     resolve their dispute..

                      72.        Pursuant to Bankruptcy Rule 7001, the Debtor specifically seeks

     declarations that:

                      •     (a) limited partners, including but not limited to Dugaboy, have no right or

                            authority to take part in the control (within the meaning of the Delaware Act)

                            of the Partnership’s business, transact any business in the Partnership’s name,

                            or have the power to sign documents for or otherwise bind the Partnership other

                            than as specifically provided in the Limited Partnership Agreement,

                      •     (b) Dugaboy was not authorized under the Limited Partnership Agreement to

                            enter into the Alleged Agreement on behalf of the Partnership,

                      •     (c) Dugaboy otherwise had no right or authority to enter into the Alleged

                            Agreement on behalf of the Partnership, and

                      •     (d) the Alleged Agreement is null and void.




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                                           SIXTH CLAIM FOR RELIEF
                                                 (Against Dugaboy)
                                             (Breach of Fiduciary Duty)

                      73.        The Debtor repeats and re-alleges the allegations in each of the foregoing

     paragraphs as though fully set forth herein.

                      74.        If Dugaboy, as a limited partner, had the authority to enter into the Alleged

     Agreement on behalf of the Debtor, then Dugaboy would owe the Debtor a fiduciary duty.

                      75.        If Dugaboy had the authority to enter into the Alleged Agreement on behalf

     of the Debtor, then Dugaboy breached its fiduciary duty of care to the Debtor by entering into and

     authorizing the purported Alleged Agreement on behalf of the Debtor.

                      76.        Accordingly, the Debtor is entitled to recover from Dugaboy (a) actual

     damages that the Debtor suffered as a result of its breach of fiduciary duty, and (b) for punitive

     and exemplary damages.

                                        SEVENTH CLAIM FOR RELIEF
                                   (Against James Dondero and Nancy Dondero)
                                 (Aiding and Abetting a Breach of Fiduciary Duty)

                      77.        The Debtor repeats and re-alleges the allegations in each of the foregoing

     paragraphs as though fully set forth herein.

                      78.        James Dondero and Nancy Dondero (together, the “Donderos”) were aware

     that Dugaboy would have fiduciary duties to the Debtor if it acted to bind the Debtor.

                      79.        The Donderos aided and abetted Dugaboy’s breach of its fiduciary duties to

     the Debtor by knowingly participating in the authorization of the purported Alleged Agreement.

                      80.        The Donderos aided and abetted Dugaboy’s breach of its fiduciary duty to

     the Debtor by knowingly participating in the authorization of the purported Alleged Agreement.




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                      81.        Accordingly, the Donderos are jointly and severally liable (a) for the actual

     damages that the Debtor suffered as a result of aiding and abetting Dondero’s breaches of fiduciary

     duties, and (b) for punitive and exemplary damages.

             WHEREFORE, the Debtor prays for judgment as follows:

                      (i)        On its First Claim for Relief, damages in an amount to be determined at trial

                      but includes (a) the aggregate outstanding principal due under each Note, plus (b)

                      all accrued and unpaid interest thereon until the date of payment, plus (c) an amount

                      equal to the Debtor’s costs of collection (including all court costs and reasonable

                      attorneys’ fees and expenses);

                      (ii)       On its Second Claim for Relief, ordering turnover by Mr. Dondero to the

                      Debtor of an amount equal to (a) the aggregate outstanding principal due under

                      each Note, plus (b) all accrued and unpaid interest thereon until the date of payment,

                      plus (c) an amount equal to the Debtor’s costs of collection (including all court

                      costs and reasonable attorneys’ fees and expenses);

                      (iii)      On its Third Claim for Relief, avoidance of the Alleged Agreement and the

                      transfers thereunder and recovering from Mr. Dondero the amount of $8,825,000

                      pursuant to section 548 of the Bankruptcy Code;

                      (iv)       On its Fourth Claim for Relief, avoidance of the Alleged Agreement and the

                      transfers thereunder and recovering from Mr. Dondero the amount of $8,825,000

                      pursuant to section Tex. Bus. & C. Code § 24.005(a)(1);

                      (v)        On its Fifth Claim for Relief, a declaration that: (a) limited partners,

                      including but not limited to Dugaboy, have no right or authority to take part in the

                      control (within the meaning of the Delaware Act) of the Partnership’s business,



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                      transact any business in the Partnership’s name, or have the power to sign

                      documents for or otherwise bind the Partnership other than as specifically provided

                      in the Limited Partnership Agreement, (b) Dugaboy was not authorized under the

                      Limited Partnership Agreement to enter into the Alleged Agreement on behalf of

                      the Partnership, (c) Dugaboy otherwise had no right or authority to enter into the

                      Alleged Agreement on behalf of the Partnership, and (d) the Alleged Agreement is

                      null and void;

                      (vi)       On its Sixth Claim for Relief, actual damages from Dugaboy, in an amount

                      to be determined at trial, that Debtor suffered as a result of Dugaboy’s breach of

                      fiduciary duty, and for punitive and exemplary damages;

                      (vii)      On its Seventh Claim for Relief, actual damages from the Donderos, jointly

                      and severally, in an amount to be determined at trial, that Debtor suffered as a result

                      of aiding and abetting Dugaboy’s breaches of fiduciary duty, and for punitive and

                      exemplary damages; and

                      Such other and further relief as this Court deems just and proper.




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      Dated: As of July 13, 2021        PACHULSKI STANG ZIEHL & JONES LLP
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Case 3:21-cv-00881-X Document 178-36 Filed 01/09/24          Page 93 of 200 PageID 48339
     Case 21-03003-sgj Doc 79-1 Filed 08/27/21   Entered 08/27/21 17:24:19   Page 1 of 3




                                    EXHIBIT 1




                                                                                     D-CNL001993
                                                                               Appx. 00677
Case 3:21-cv-00881-X Document 178-36 Filed 01/09/24      Page 94 of 200 PageID 48340
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Case 3:21-cv-00881-X Document 178-36 Filed 01/09/24          Page 96 of 200 PageID 48342
     Case 21-03003-sgj Doc 79-2 Filed 08/27/21   Entered 08/27/21 17:24:19   Page 1 of 3




                                    EXHIBIT 2




                                                                                     D-CNL001996
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Case 3:21-cv-00881-X Document 178-36 Filed 01/09/24      Page 97 of 200 PageID 48343
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                                    EXHIBIT 3




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Case 3:21-cv-00881-X Document 178-36 Filed 01/09/24       Page 100 of 200 PageID 48346
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Case 3:21-cv-00881-X Document 178-36 Filed 01/09/24          Page 102 of 200 PageID 48348
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                                     EXHIBIT 4




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Case 3:21-cv-00881-X Document 178-36 Filed 01/09/24                         Page 103 of 200 PageID 48349
       Case 21-03003-sgj Doc 79-4 Filed 08/27/21                Entered 08/27/21 17:24:19    Page 2 of 4

                                       HIGHLAND CAPITAL MANAGEMENT, L.P.

      December 3, 2020



      James Dondero
      c/o Highland Capital Management, L.P.
      300 Crescent Court, Suite 700
      Dallas, Texas 75201

              Re: Demand on Promissory Notes:

      Dear Mr. Dondero,

      You entered into the following promissory notes (collectively, the “Notes”) in favor of Highland
      Capital Management, L.P. (“Payee”):

     Date Issued      Original Principal    Outstanding Principal      Accrued But          Total Amount
                           Amount            Amount (12/11/20)        Unpaid Interest   Outstanding (12/11/20)
                                                                        (12/11/20)
        2/2/18            $3,825,000            $3,687,269.71           $21,003.70          $3,708,273.41
        8/1/18            $2,500,000            $2,619,929.42           $27,950.70          $2,647,880.12
       8/13/18            $2,500,000            $2,622,425.61           $25,433.94          $2,647,859.55
       TOTALS            $16,725,000            $8,929,624.74           $74,388.33          $9,004,013.07

      As set forth in Section 2 of each of the Notes, accrued interest and principal is due and payable
      upon the demand of Payee. By this letter, Payee is demanding payment of the accrued interest
      and principal due and payable on the Notes in the aggregate amount of $9,004,013.07, which
      represents all accrued and unpaid interest and principal through and including December 11,
      2020.

      Payment is due on December 11, 2020, and failure to make payment in full on such date
      will constitute an event of default under the Notes.

      Payments on the Notes must be made in immediately available funds. Payee’s wire information
      is attached hereto as Appendix A.

      Nothing contained herein constitutes a waiver of any rights or remedies of Payee under the Notes
      or otherwise and all such rights and remedies, whether at law, equity, contract, or otherwise, are
      expressly reserved. Interest, including default interest if applicable, on the Notes will continue to
      accrue until the Notes are paid in full. Any such interest will remain your obligation.

      Sincerely,

      /s/ James P. Seery, Jr.

      James P. Seery, Jr.
      Highland Capital Management, L.P.
      Chief Executive Officer/Chief Restructuring Officer



      DOCS_NY:41660.1 36027/002




                                                                                                      D-CNL002003
                                                                                                Appx. 00687
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     cc:     Fred Caruso
             James Romey
             Jeffrey Pomerantz
             Ira Kharasch
             Gregory Demo
             D. Michael Lynn




     DOCS_NY:41660.1 36027/002                2



                                                                                      D-CNL002004
                                                                                Appx. 00688
Case 3:21-cv-00881-X Document 178-36 Filed 01/09/24            Page 105 of 200 PageID 48351
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                                          Appendix A


                        ABA #:          322070381
                        Bank Name:      East West Bank
                        Account Name:   Highland Capital Management, LP
                        Account #:      5500014686




                                                                                      D-CNL002005
                                                                                Appx. 00689
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                                     EXHIBIT 5




                                                                                      D-CNL002006
                                                                                Appx. 00690
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                             FOURTH AMENDED AND RESTATED

                          AGREEMENT OF LIMITED PARTNERSHIP

                                            OF

                          HIGHLAND CAPITAL MANAGEMENT, L.P.




     THE PARTNERSHIP INTERESTS REPRESENTED BY THIS LIMITED PARTNERSHIP
     AGREEMENT HA VE NOT BEEN REGISTERED UNDER THE SECURITIES ACT OP 1933 OR
     UNDER ANY STATE SECURITIES ACTS IN RELIANCE UPON EXEMPTIONS UNDER THOSE
     ACTS. THE SALE OR OTHER DISPOSITION OF THE PARTNERSHIP INTERESTS IS
     PROHIBITED UNLESS THAT SALE OR DISPOSITION IS MADE IN COMPLIANCE WITH ALL
     SUCH APPLICABLE ACTS. ADDITIONAL RESTRICTIONS ON TRANSFER OF THE
     PARTNERSHIP INTERESTS ARE SET FORTH IN THIS AGREEMENT.




                                                                                      D-CNL002007
                                                                                Appx. 00691
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                                       FOURTH AMENDED AND RESTATED
                                     AGREEMENT OF LIMITED PARTNERSHIP
                                                    Of'
                                     HIGHLAND CAPITAL MANAGEMENT, L.P.

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                                  FOURTH AMENDED AND RESTATED
                                AGREEMENT OF LIMITED PARTNERSHIP
                                               OF
                                HIGHLAND CAPITAL MANAGEMENT, L.P.

             THIS FOURTH AMENDED AND RESTATED AGREEMENT OF LIMITED PARTNERSHIP
     is entered into on this 24 1h day of December, 2015, to be effective as of December 24, 2015, by and
     among Strand Advisors, Inc., a Delaware corporation ("Strand"), as General Partner, the Limited Pat1ners
     party hereto, and any Person hereinafter admitted as a Limited Pai1ner.



                                                   ARTICLE 1

                                                   GENERAL

             1.1.     Continuation. Subject to the provisions of this Agreement, the Pa11ners hereby continue
     the Partnership as a limited partnership pursuant to the provisions of the Delaware Act. Except as
     expressly provided herein, the rights and obligations of the Partners and the administration and
     termination of the Partnership shall be governed by the Delaware Act.

              1.2.    Name. The name of the Partnership shall be, and the business of the Partnership shall be
     conducted under the name of Highland Capital Management, L.P. The General Partner, in its sole and
     unfettered discretion, may change the name of the Partnership at any time and from time to time and shall
     provide Limited Partners with written notice of such name change within twenty (20) days after such
     name change.

              1.3.    Purpose. The purpose and business of the Partnership shall be the conduct of any
     business or activity that may lawfully be conducted by a limited partnership organized pursuant to the
     Delaware Act. Any or all of the foregoing activities may be conducted directly by the Partnership or
     indirectly through another partnership, joint venture, or other arrangement.

             1.4.     Term. The Partnership was formed as a limited partnership on July 7, 1997, and shall
     continue until terminated pursuant to this Agreement.

             1.5.    Partnership Offices; Addresses of Partners.

                      (a)      Partnership Offices. The registered office of the Partnership in the State of
     Delaware shall be IO 13 Centre Road, Wilmington, Delaware 19805-1297, and its registered agent for
     service of process on the Partnership at that registered office shall be Corporation Service Company, or
     such other registered office or registered agent as the General Partner may from time to time designate.
     The principal office of the Partnership shall be 300 Crescent Court, Suite 700, Dallas, Texas 75201, or
     sueh other place as the General Partner may from time to time designate. The Pai1nership may maintain
     offices at such other place or places as the General Partner deems advisable.

                     (b)     Addresses of Partners. The address of the General Partner is 3 00 Crescent Court,
     Suite 700, Dallas, Texas 75201. The address of each Limited Partner shall be the address of that Limited
     Partner appearing on the books and records of the Partnership. Each Limited Partner agrees to provide
     the General Partner with prompt written notice of any change in his/her/its address.




                                                                                                          D-CNL002010
                                                                                                    Appx. 00694
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                                                    ARTICLE 2

                                                   DEFINITIONS

             2.1.    Definitions. The following definitions shall apply to the terms used in this Agreement,
     unless otherwise clearly indicated to the contrary in this Agreement:


     Agreement.

                      ·'Adjusted Cllpita/ Account Deficit" means, with respect to any Partner, the deficit
     balance, if an), in the Capital Aceount of that Partner as of the end of the relevant Fiscal Year, or other
     relevant period, giving effect to all adjustments previously made thereto pursuant to                    and
     further adjusted as follows: (i) credit to that Capital Account, any amounts which that Partner is obligated
     or deemed obligated to restore pursuant to any provision of this Agreement or pursuant to Treasury
     Regulations Section l. 704-1 (b )(2)(ii)(c ); (ii) debit to that Capital Account, the items described in
     Treasury Regulations Sections l.704-l(b)(2)(ii)(d)(4), (5) and (6); and (iii) to the extent required under
     the Treasury Regulations, credit to that Capital Account (A) that Partner's share of "minimum gain" and
     (B) that Partner's share of "paitner nonrecourse debt minimum gain." (Each Partner's share of the
     minimum gain and partner nonrecourse debt minimum gain shall be determined under Treasury
     Regulations Sections l .704-2(g) and l .704-2(i)(5), respectively.)

                      ··Affiliate" means any Person that directly or indirectly controls, is controlled by, or is
     under common control with the Person in question. As used in this definition, the term ·'controf' means
     the possession. directly or indirectly, of the power to direct or cause the direction of the management and
     policies of a Person, whether through ownership of voting Securities, by contract or otherwise .

                       ..Agreement" means this Fourth Amended and Restated Agreement of Limited
     Partnership, as it may be amended, supplemented, or restated from time to time.

                     "Business Day" means Monday through Friday of each week, except that a legal holiday
     recognized as such by the government of the United States or the State of Texas shall not be regarded as a
     Business Day.

                       ·'Capital Account" means the eapital account maintained for a Partner pursuant to
     Section 3.7(a).

                     "Capital Contribution" means, with respect to any Partner, the amount of money or
     property contributed to the Pa1tnership with respect to the interest in the Partnership held by that Person.

                    "Certificate of Limited Partnership" means the Ce1tificate of Limited Partnership filed
     with the Secretary of State of Delaware by the General Partner, as that Cettificate may be amended,
     supplemented or restated from time to time.

                      "Class A Limited Partners" means those Partners holding a Class A Limited Partnership
     Interest, as shown on Exhibit A.

                       "Class A Limited Partnership Interest" means a Partnership Interest held by a Partner in
     its capacity as a Class A Limited Partner.''




                                                          2




                                                                                                            D-CNL002011
                                                                                                      Appx. 00695
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                      "Class B Limited Partner" means those Partners holding a Class B Limited Partnership
     Interest, as shown on ==~~·

                       "Class B Limited Partnership Interest" means a Partnership Interest held by a Partner in
     its capacity as a Class B Limited Partner."

                       ''Cfa.t:;s B NA V Ratio Trigger Period" means any period during which the Class B
     Limited Partner's aggregate capital contributions, including the original principal balance of the
     Contribution Note. and reduced by the                amount of distributions to the Class B Limited Partner,
     exceed      percent of the product of the Class B Limited Partner's Percentage Interest multiplied by the
     total book value of the Partnership; provided, however, that the General Partner shall only be required to
     test for a Class B NA V Ratio Trigger Period annually, as of the last day of each calendar year; provided
     further the General Partner must complete the testing within 180 days of the end of each calendar year;
     provided further that if the test results in a Class B NA V Ratio Trigger Period, the General Partner may,
     at its own election, retest at any time to determine the end date of the Class B NAV Ratio Trigger Period.

                      "Class C Limited Partner" means those Partners holding a Class C Limited Partnership
     Interest, as shown on Exhibit A.

                       "Class C Lirnited Partners/tip Interest" means a Partnership Interest held by a Pa11ner in
     its capacity as a Class C Limited Partner."

                     "Class C NA V Ratio Trigger Period" means any period during which an amount equal to
     $93,000,000.00 reduced by the aggregate amount of distributions to the Class C Limited Partner after the
     Effective Date exceeds 75 percent of the product of the Class C Limited Partner's Percentage Interest
     multiplied by the total book value of the Partnership; provided, however, that the General Partner shall
     only be required to test for a Class C NA V Ratio Trigger Period annually, as of the last day of each
     calendar year; provided further the General Partner must complete the testing within 180 days of the end
     of each calendar year; provided further that if the test results in a Class C NA V Ratio Trigger Period, the
     General Partner may, at its own election, retest at any time to determine the end date of the Class C NA V
     Ratio Trigger Period.

                     "Code'' means the Internal Revenue Code of 1986, as amended and in effect from time to
     time.

                   ''Contribution Note" means that certain Secured Promissory Note dated December 21,
     2015 by and among Hunter Mountain Investment Trust, as maker, and the Partnership as Payee.

                     ''Default Loan" has the meaning set forth in Section 3 .1( c)(i).

                     "Defaulting Partner" has the meaning set forth in Section 3.1 (c).

                      "Delaware Act" means the Delaware Revised Unifonn Limited Pai1nership Act, Pai1 IV,
     Title C, Chapter 17 of the Delaware Corporation Law Annotated, as it may be amended, supplemented or
     restated from time to time, and any successor to that Act.

                     "Effective Date" means the date first recited above.

                     ''Fiscal Year'' has the meaning set forth in Section 3.1 l(b).




                                                           3




                                                                                                            D-CNL002012
                                                                                                      Appx. 00696
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                    "Founding Partner Group" means, all partners holding partnership interests m the
     Partnership immediately before the Effective Date.

                     "General Partner'' means any Person who (i) is referred to as such in the first paragraph
     of this Agreement, or has become a General Partner pursuant to the terms of this Agreement; and (ii) has
     not ceased to be a General Partner pursuant to the terms of this Agreement.

                     "Limited Partner'' means any Person who (i) is referred to as such in the first paragraph
     of this Agreement, or has become a Limited Partner pursuant to the terms of this Agreement, and (ii) has
     not ceased to be a Limited Partner pursuant to the terms of this Agreement.



                     "Losses" means, for each Fiscal Year, the losses and deductions of the Partnership
     determined in accordance with accounting principles consistently applied from year to year employed
     under the Partnership's method of accounting and as reported, separately or in the aggregate, as
     appropriate. on the Partnership's information tax return filed for federal income tax purposes, plus any
     expenditures described in Code Section 705(a)(2)(B).

                      ''Majori(v Interest'' means the owners of more than fifty percent ( 50%) of the Percentage
     Interests of Class A Limited Partners.

                    ''NA V Ratio Trigger Period" means a Class B NA V Ratio Trigger Period or a Class C
     NA V Ratio Trigger Period.

                       "Net Increase in Working Capital Accounts" means the excess of (i) Restricted Cash
     plus Management and Incentive Fees Receivable plus Other Assets plus Deferred Incentive Fees
     Receivable less Accounts Payable less Accrued and Other Liabilities as of the end of the period being
     measured over (ii) Restricted Cash plus Management and Incentive Fees Receivable plus Other Assets
     plus Deferred Incentive Fees Receivable less Accounts Payable less Accrued and Other Liabilities as of
     the beginning of the period being measured; provided, however, that amounts within each of the
     aforementioned categories shall be excluded from the calculation to the extent they are specifically
     identified as being derived from investing or financing activities. Each of the capitalized terms in this
     definition shall have the meaning given them in the books and records of the Partnership and appropriate
     adjustments may be made to the extent the Partnership adds new ledger accounts to its books and records
     that are current assets or current liabilities.

                    ''New Issues" means Securities that are considered to be "new issues," as defined in the
     Conduct Rules of the National Association of Securities Dealers, Inc.

                       "Nonrecourse Deduction" has the meaning set fo1th in Treasury Regulations Section
     I. 704-2(b )(I), as computed under Treasury Regulations Section 1. 704-2( c ).

                         "No11recour.\·e Liability'' has the meaning set forth in Treasury Regulations Section
     l. 704-2(b )(3 ).

                     "Operating Cash Flow" means Total Revenue less Total Operating Expenses plus
     Depreciation & Amortization less Net Increase in Working Capital Accounts year over year. Each of the
     capitalized terms in this definition shall have the meaning given them in the books and records of the
     Partnership.



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                                                                                                           D-CNL002013
                                                                                                     Appx. 00697
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                       "Parmer'' means a General Partner or a Limited Partner.

                       "Part11er No11recourse Debt" has the meaning set forth in Treasury Regulations Section
     l .704-2(b)(4).

                      "Partner Nonrecourse Deductions" has the meaning set forth in Treasury Regulations
     Section l .704-2(i)(2).

                    "Partner Nonrecourse Debt 11-finimum Gain'' has the meaning set forth m Treasury
     Regulations Section 1.704-2(i)(5).

                     "'Partners/zip'' means Highland Capital Management, L.P., the Delaware limited
     partnership established pursuant to this Agreement.

                     "Partnership Capitaf' means, as of any relevant date, the net book value of the
     Partnership's assets.

                     ''Part11ersltip Interest" means the interest acquired by a Partner in the Partnership
     including, without limitation, that Partner's right: (a) to an allocable share of the Profits, Losses,
     deductions, and credits of the Partnership; (b) to a distributive share of the assets of the Partnership; (c) if
     a Limited Partner, to vote on those matters described in this Agreement; and (d) if the General Partner, to
     manage and operate the Pa1inership.

                       "Partners/tip Minimum Gain" has the meaning set fo1ih in Treasury Regulations Section
     l. 704-2( d).

                     ·'Percentage Interest" means the percentage set forth opposite each Partner's name on
     Exhibit A as such Exhibit may be amended from time to time in accordance with this Agreement.

                      "Person" means an individual or a corporation, partnership, trust, estate, unincorporated
     organization, association, or other entity.

                       "Priority Distributions" has the meaning set f01ih in Section 3.9(b).

                     "Profits'' means, for each Fiscal Year, the income and gains of the Partnership
     determined in accordance with accounting principles consistently applied from year to year employed
     under the Partnership's method of accounting and as reported, separately or in the aggregate, as
     appropriate, on the Partnership's information tax return filed for federal income tax purposes, plus any
     income described in Code Section 705(a)( 1)(B).

                      "Profits Interest Partner" means any Person who is issued a Partnership Interest that is
     treated as a "profits interest" for federal income tax purposes.

                    "Purchase Notes" means those certain Secured Promissory Notes of even date herewith
     by and among Hunter Mountain Investment Trust, as maker, and The Dugaboy Investment Trust, The
     Mark K. Okada, The Mark and Pamela Okada Family Trust Exempt Trust# 1, and The Mark K. Okada,
     The Mark and Pamela Okada Family Trust - Exempt Trust #2, eaeh as Payees of the respective Secured
     Promissory Notes.




                                                           5




                                                                                                                D-CNL002014
                                                                                                          Appx. 00698
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                       ·'Record Date'' means the date established by the General Partner for determining the
     identity of Limited Partners entitled to vote or give consent to Partnership action or entitled to
     rights in respect of any other lawful action of Limited Partners.

                    "Second Amended Buy-Sell and Redemption Agreement'' means that certain Second
     Amended and Restated Buy-Sell and Redemption Agreement, dated December 21, 2015, to be effective
     as of December 21, 2015 by and between the Partnership and its Partners, as may be amended,
     supplemented, or restated from time to time.

                        ''Securities·' means the following: (i) securities of any kind (including, without limitation,
     ·'securities" as that term is defined in Section 2(a)( I) of the Securities Act; (ii) commodities of any kind
     (as that term is defined by the U.S. Securities Laws and the rules and regulations promulgated
     thereunder): (iii) any contracts for future or forward delivery of any security, commodity or currency; (iv)
     any contracts based on any securities or group of securities, commodities or currencies; (v) any options on
     any contracts referred to in clauses (iii) or (iv); or (vi) any evidences of indebtedness (including
     participations in or assignments of bank loans or trade credit claims). The items set forth in clauses (i)
     through (vi) herein include, but are not limited to, capital stock, common stock, preferred stock,
     convertible securities, reorganization certificates, subscriptions, warrants, rights, options, puts, calls,
     bonds, mutual fund interests. debentures, notes, certificates of deposit, letters of credit, bankers
     ai..:ceptances, trust receipts and other securities of any corporation or other entity, whether readily
     marketable or not, rights and options, whether granted or written by the Partnership or by others, treasury
     bills, bonds and notes, any securities or obligations issued or guaranteed by the United States or any
     foreign country or any state or possession of the United States or any foreign country or any political
     subdivision or agency or instrumentality of any of the foregoing, and derivatives of any of the foregoing.

                      "Securities Act" means the Securities Act of 1933, as amended, and any successor to
     such statute.

                      "Substitute Limited Partner" has the meaning set forth in Section 4.6(a).

                     "Transfer" or derivations thereof~ of a Partnership Interest means, as a noun, the transfer,
     sale, assignment. exchange, pledge, hypothecation or other disposition of a Partnership Interest, or any
     part thereoC directly or indirectly, and as a verb, voluntarily or involuntarily to transfer, sell, assign,
     exchange, pledge, hypothecate or otherwise dispose oC

                     "Treasury Regulations" means the Department of Treasury Regulations promulgated
     under the Code, as amended and in effect (including corresponding provisions of succeeding regulations).

             2.2.   Other Definitions. All terms used in this Agreement that are not defined in this Article 2
     have the meanings contained elsewhere in this Agreement.

                                                      ARTICLE 3

                                              FINANCIAL MATTERS

             3.1.     Capital Contributions.

                       (a)      Initial Capital Contributions. The initial Capital Contribution of each Partner
     shall be set forth in the books and records of the Partnership.

                      (b)     Additional Capital Contributions.


                                                            6




                                                                                                                 D-CNL002015
                                                                                                           Appx. 00699
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                             (i)      The General Partner, in its reasonable discretion and for a bona
     business purpose, may request in writing that the Founding Partner Group make additional Capital
     Contributions in proportion to their Percentage Interests (each, an ''Additional Capitlll Contribution").

                               (ii)     Any failure by a Partner to make an Additional Capital Contribution
     requested under                     on or before the date on which that Additional Capital Contribution was
     due shall result in the Partner being in default.

                      (c)                                               In the event a Partner is in default under
     =====:c..:~~ (a "Defaulting Partner''), the Defaulting Partner, in its sole and unfettered discretion, may
     elect to take either one of the option set forth below.

                                (i)     Default Loans. If the Defaulting Partner so elects, the General Partner
     shall make a loan to the Defaulting Partner in an amount equal to that Defaulting Partner's additional
     capital contribution (a "Default Loan"). A Default Loan shall be deemed advanced on the date actually
     advanced. Default Loans shall earn interest on the outstanding principal amount thereof at a rate equal to
     the Applicable Federal Mid-Term Rate (determined by the Internal Revenue Service for the month in
     which the loan is deemed made) from the date actually advanced until the same is repaid in full. The term
     of any Default Loan shall be six (6) months, unless otherwise extended by the General Pa1iner in its sole
     and unfettered discretion. If the General Partner makes a Default Loan, the Defaulting Partner shall not
     receive any distributions pursuant to                 or             or any proceeds from the Transfer of all
     or any part of its Patinership Interest while the Default Loan remains unpaid. Instead, the Defaulting
     Partner's share of distributions or such other proceeds shall (until all Default Loans and interest thereon
     shall have been repaid in full) first be paid to the General Partner. Such payments shall be applied first to
     the payment of interest on such Default Loans and then to the repayment of the principal amounts thereof,
     but shall be considered, for all other purposes of this Agreement, to have been distributed to the
     Defaulting Partner. The Defaulting Partner shall be liable for the reasonable fees and expenses incurred
     by the General Partner (including, without limitation, reasonable attorneys' fees and disbursements) in
     connection with any enforcement or foreclosure upon any Default Loan and such costs shall, to the extent
     enforceable under applicable law, be added to the principal amount of the applicable Default Loan. In
     addition. at any time during the term of such Default Loan, the Defaulting Partner shall have the right to
     repay, in full, the Default Loan (including interest and any other charges). If the General Partner makes a
     Default Loan. the Defaulting Partner shall be deemed to have pledged to the General Partner and granted
     to the General Pa1iner a continuing first priority security interest in, all of the Defaulting Patiner's
     Pa1inership Interest to secure the payment of the principal of, and interest on, such Default Loan in
     accordance with the provisions hereof, and for such purpose this Agreement shall constitute a security
     agreement. The Defaulting Partner shall promptly execute, acknowledge and deliver such financing
     statements, continuation statements or other documents and take such other actions as the General Partner
     shall request in writing in order to perfect or continue the perfection of such security interest; and, if the
     Defaulting Partner shall fail to do so within seven (7) days after the Defaulting Partner's receipt of a
     notice making demand therefor, the General Partner is hereby appointed the attorney-in-fact of, and is
     hereby authorized on behalf of, the Defaulting Partner, to execute, acknowledge and deliver all such
     documents and take all such other actions as may be required to perfect such security interest. Such
     appointment and authorization are coupled with an interest and shall be irrevocable. The General Patiner
     shall, prior to exercising any right or remedy (whether at law, in equity or pursuant to the terms hereof)
     available to it in connection with such security interest, provide to the Defaulting Partner a notice, in
     reasonable detail, of the right or remedy to be exercised and the intended timing of such exercise which
     shall not be less than five (5) days following the date of such notice.




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                                                                                                        Appx. 00700
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                             ( ii)                                      If the Defaulting Partner does not elect
     to obtain a Default Loan pursuant to Section 3.](c)(i), the General Partner shall reduce the Defaulting
     Partner's Percentage Interest in accordance with the following formula:

              The Defaulting Partner's new Percentage Interest shall equal the product of (I) the
              Defaulting Partner's current Percentage Interest multiplied by (2) the quotient of (a) the
              current Capital Account of the Defaulting Partner (with such Capital Account determined
              after taking into account a revaluation of the Capital Accounts immediately prior to such
              determination), divided by (b) the sum of (i) the current Capital Account of the
              Defaulting Partner (with such Capital Account determined after taking into account a
              revaluation of the Capital Accounts immediately prior to such determination), plus (ii)
              the amount of the additional capital contribution that such Defaulting Partner failed to
              make when due.

     To the extent any downward adjustment is made to the Percentage Interest of a Partner pursuant to this
     Section 3. ](c)(ii), any resulting benefit shall accrue to the Partners (other than the Defaulting Partner) in
     proportion to their respective Percentage Interests.

              3.2.    Allocations of Profits and Losses.

                     (a)      Allocations of Profits. Except as provided in===~-''                   and       Profits
     for any Fiscal Year will be allocated to the Partners as follows:

                                 (i)      First, to the Partners until cumulative Profits allocated under this Section
     3.2(a)(i) for all prior periods equal the cumulative Losses allocated to the Partners under Section
     3.2(b)(iii) for all prior periods in the inverse order in which such Losses were allocated; and

                                (ii)            to the Partners until cumulative Profits allocated under this Section
     3.2(a)(ii) for all prior periods equal the cumulative Losses allocated to the Partners under Section
     3.2(b)(ii) for all prior periods in the inverse order in which such Losses were allocated; and

                               (iii)   Then, to all Patiners in proportion to their respective Percentage
     Interests.

                     (b)      Allocations of Losses. Except as provided in Sections 3 .4, 3 .5, and 3 .6, Losses
     for any Fiscal Year will be will be allocated as follows:

                                  (i)      First, to the Partners until cumulative Losses allocated under this Section
     3 .2(b )(i) for all prior periods equal the cumulative Profits allocated to the Partners under Section
     3 .2(a)(iii) for all prior periods in the inverse order in which such Profits were allocated; and

                               (ii)           to the Partners in proportion to their respective positive Capital
     Account balances until the aggregate Capital Account balances of the Pa11ners ( excluding any negative
     Capital Account balances) equal zero; provided, however, losses shall first be allocated to reduce amounts
     that were last allocated to the Capital Accounts of the Partners; and

                              (iii)    Then, to all Partners in proportion to their respective Percentage
     Interests.




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                     (c)                                      If any allocation of Losses would cause a
     Limited Partner to have an Adjusted Capital Account Deficit, those Losses instead shall be allocated to
     the General Partner.

              3.3.    Allocations on Transfers. Taxable items of the Partnership attributable to a Partnership
     Interest that has been Transferred (including the simultaneous decrease in the Partnership Interest of
     existing Pai1ners resulting from the admission of a new Partner) shall be allocated in accordance with
     Section 4.3( d).

              3.4.    Special Allocations. If the requisite stated conditions or facts are present, the following
     special allocations shall be made in the following order:

                     (a)       Partnership Minimum Gain Chargcback. Notwithstanding any other provision of
     this           if there is a net decrease in Partnership Minimum Gain during any taxable year or other
     period for which allocations are made, prior to any other allocation under this Agreement, each Partner
     shall be specially allocated items of Partnership income and gain for that period (and, if necessary,
     subsequent periods) in proportion to, and to the extent oL an amount equal to that Partner's share of the
     net decrease in Partnership Minimum Gain during that year determined in accordance with Treasury
     Regulations Section 1.704-2(g)(2). The items to be allocated shall be determined in accordance with
     Treasury Regulations Section 1.704-2(g). This                  is intended to comply with the partnership
     minimum gain chargeback requirements of the Treasury Regulations and shall be subject to all exceptions
     provided therein.

                      (b)     Partner Nonrecourse Debt Minimum Gain Chargeback. Notwithstanding any
     other provision of this              (other than Section 3.4(a)), if there is a net decrease in Partner
     Nonrecourse Debt Minimum Gain with respect to a Partner Nonreeourse Debt during any taxable year or
     other period for which allocations are made, any Partner with a share of such Partner Nonrecourse Debt
     Minimum Gain as of the beginning of the year shall be specially allocated items of Partnership income
     and gain for that period (and, if necessary, subsequent periods in an amount equal to that Partner's share
     or the net decrease in the Pa11ner Nonrecourse Debt Minimum Gain during that year determined in
     accordance with Treasury Regulations Section l.704-2(g)(2). The items to be so allocated shall be
     determined in accordance with Treasury Regulations Section l .704-2(g). This Section 3.4(b) is intended
     to comply with the partner nonrecourse debt minimum gain chargeback requirements of the Treasury
     Regulations, shall be interpreted consistently with the Treasury Regulations and shall be subject to all
     exceptions provided therein.

                      (c)      Qualified Income Offset. If a Partner unexpectedly receives any adjustments,
     allocations or distributions described in Treasury Regulations Sections I. 704-1 (b )(2)(ii)( d)( 4 ), (d)(5) or
     (d)(6), then items of Partnership income and gain shall be specially allocated to each such Partner in an
     amount and manner sufficient to eliminate, to the extent required by the Treasury Regulations, the
     Adjusted Capital Account Deficit of the Partner as quickly as possible; provided, however, an allocation
     pursuant to this Section 3 .4( c) shall be made if and only to the extent that the Partner would have an
     Adjusted Capital Account Deficit after all other allocations provided for in this Article 3 have been
     tentatively made without considering this Section 3.4(c).

                       ( d)    Gross Income Allocation. If a Partner has a deficit Capital Account at the end of
     any Fiscal Year of the Partnership that exceeds the sum of ( i) the amount the Partner is obligated to
     restore, and (ii) the amount the Partner is deemed to be obligated to restore pursuant to the penultimate
     sentences of Treasury Regulations Sections I. 704-2(g)(l) and 1. 704-2(i)(5), then each such Partner shall
     be specially allocated items of income and gain of the Partnership in the amount of the excess as quickly
     as possible; provided, however, an allocation pursuant to this Section 3 .4(d) shall be made if and only to

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     the extent that the Partner would have a deficit Capital Account in excess of that sum after all other
     allocations provided for in this       have been tentatively made without considering               or


                     ( e)                             Nonrecourse Deductions for any taxable year or other
     period for which allocations are made shall he allocated among the Partners in accordance with their
     Percentage interests.

                     (f)                                        Notwithstanding anything to the contrary in
     this Agreement, any Partner Nonreeourse Deductions for any taxable year or other period for which
     allocations are made will be allocated to the Partner who bears the economic risk of loss with respect to
     the Partner Nonrecourse Debt to which the Partner Nonrecourse Deductions are attributable in accordance
     with Treasury Regulations Section l .704-2(i).

                      (g)                                  To the extent an adjustment to the adjusted tax basis
     of any asset of the Partnership under Code Section 734(b) or Code Section 7 43(b) is required, pursuant to
     Treasury Regulations Section l.704-l(b)(2)(iv)(m), to be taken into account in determining Capital
     Accounts, the amount of the adjustment to the Capital Aceounts shall be treated as an item of gain (if the
     adjustment increases the basis of the asset) or loss (if the adjustment decreases the basis of the asset) and
     that gain or loss shall be specially allocated to the Partners in a manner consistent with the manner in
     which their Capital Accounts are required to be adjusted pursuant to that Section of the Treasury
     Regulations.

                      (h)                                    Any allocable items of income, gain, expense,
     deduction or credit required to be made by Section 481 of the Code as the result of the sale, transfer,
     exchange or issuance of a Partnership Interest will be specially allocated to the Partner receiving said
     Partnership Interest whether such items are positive or negative in amount.

              3.5.    Curative Allocations. The ·'Basic Regulatory Allocations" consist of (i) the allocations
     pursuant to                 and (ii) the allocations pursuant to               Notwithstanding any other
     provision of this Agreement, the Basic Regulatory Allocations shall be taken into account in allocating
     items of income, gain, loss and deduction among the Partners so that, to the extent possible, the net
     amount of the allocations of other items and the Basic Regulatory Allocations to each Partner shall be
     equal to the net amount that would have been allocated to each such Partner if the Basic Regulatory
     Allocations had not occurred. For purposes of applying the foregoing sentence, allocations pursuant to
     this Section 3.5 shall be made with respect to allocations pursuant to Section 3.4 (g) and (h) only to the
     extent that it is reasonably determined that those allocations will otherwise be inconsistent with the
     economic agreement among the Partners. To the extent that a special allocation under Section 3.4 is
     determined not to comply with applicable Treasury Regulations, then the Partners intend that the items
     shall be allocated in accordance with the Pa11ners' varying Percentage Interests throughout each tax year
     during which such items are recognized for tax purposes.

              3.6.     Code Section 704(c) Allocations. In accordance with Code Section 704(c) and the
     Treasury Regulations thereunder, income, gain, loss and deduction with respect to property contributed to
     the capital of the Partnership shall, solely for tax purposes, be allocated among the Partners so as to take
     account of any variation at the time of the contribution between the tax basis of the property to the
     Partnership and the fair market value of that property. Except as otherwise provided herein, any elections
     or other decisions relating to those allocations shall be made by the General Partner in any manner that
     reasonably reflects the purpose and intent of this Agreement. Allocations of income, gain, loss and
     deduction pursuant to this Section 3 .6 are solely for purposes of federal, state and local taxes and shall not
     affect, or in any way be taken into account in computing, the Capital Account of any Partner or the share


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     of Profits,          other tax items or distributions of any Partner pursuant to any provision of this
     Agreement.

             3.7.     Capital Accounts.

                      (a)                                       The Partnership shall establish and maintain a
     separate capital account ('Capital Account') for each Pa1iner in accordance with the rules of Treasury
     Regulations Section l.704-l(b)(2)(iv), subject to and in accordance with the provisions set fotih in this


                              (i)     The Capital Account balanee of each Partner shall be credited (increased)
     by (A) the amount of cash contributed by that Partner to the capital of the Partnership, (B) the fair market
     value of propetiy contributed by that Partner to the capital of the Partnership (net of liabilities secured by
     that contributed property that the Partnership assumes or takes subject to under Code Section 752), and
     (C) that Partner's allocable share of Profits and any items in the nature of income or gain which are
     specially allocated pursuant to             and     · and

                              (ii)     The Capital Account balance of each Partner shall be debited (decreased)
     by (A) the amount of cash distributed to that Partner by the Partnership, (B) the fair market value of
     property distributed to that Partner by the Partnership (net of liabilities secured by that distributed
     property that such Partner assumes or takes subject to under Code Section 752), (C) that Partner's
     allocable share of expenditures of the Partnership described in Code Section 705(a)(2)(B), and (D) that
     Partner's allocable share of Losses and any items in the nature of expenses or losses which are specially
     allocated pursuant to Sections 3 .2,   and

     The provisions of this Section 3. 7 and the other provisions of this Agreement relating to the maintenance
     of Capital Accounts have been included in this Agreement to comply with Code Section 704(b) and the
     Treasury Regulations promulgated thereunder and will be interpreted and applied in a manner consistent
     with those provisions. The General Partner may modify the manner in which the Capital Accounts are
     maintained under this Section 3. 7 in order to comply with those provisions, as well as upon the
     occurrence of events that might otherwise cause this Agreement not to comply with those provisions.

                     (b)      Negative Capital Accounts. If any Partner has a deficit balance in its Capital
     Account, that Partner shall have no obligation to restore that negative balance or to make any Capital
     Contribution by reason thereof, and that negative balance shall not be considered an asset of the
     Partnership or of any Partner.

                     (c)              No interest shall be paid by the Patinership on Capital Contributions or
     on balances in Capital Accounts.

                     (d)     No Withdrawal. No Partner shall be entitled to withdraw any part of his/her/its
     Capital Contribution or his/her/its Capital Account or to receive any distribution from the Partnership,
     except as provided in Section 3.9 and Article 5.

                    ( e)     Loans From Partners.        Loans by a Partner to the Partnership shall not be
     considered Capital Contributions.

                    ( f)     Revaluations. The Capital Accounts of the Partners shall not be "booked-up" or
     "'booked-down" to their fair market values under Treasury Regulations Section 1. 704( c )-1 (b )(2)(iv )( f) or
     otherwise.



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                                                                                                         Appx. 00704
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              3.8.    Distributive Share for Tax Purpose. All items of income, deduction, gain,                  or
     credit that are recognized for federal income tax purposes will be allocated among the Partners in
     accordance v,ith the allocations or Profits and Losses hereunder as determined by the General Partner in
     its sole and unfettered discretion. Notwithstanding the foregoing, the General Partner may (i) as to each
     New Issue. specially allocate to the Partners who were allocated New Issue Profit from that New Issue
     any short-term capital        realized during the Fiscal Year upon the disposition of such New Issue during
     that Fiscal Year, and (ii) specially allocate items of gain ( or loss) to Partners who withdraw capital during
     any Fiscal Year in a manner designed to ensure that each withdrawing Partner is allocated gain (or loss) in
     an amount equal to the difference between that Partner's Capital Account balance (or portion thereof
     being withdrawn) at the time of the withdrawal and the tax basis for his/her/ its Partnership Interest at that
     time (or propo11ionate amount thereof); provided, however, that the General Partner may, without the
     consent of any other Partner, (a) alter the allocation of any item of taxable income, gain, loss, deduction
     or credit in any specific instance where the General Partner, in its sole and unfettered discretion,
     determines such alteration to be necessary or appropriate to avoid a materially inequitable result
     where the allocation would create an inappropriate tax liability); and/or (b) adopt whatever other method
     of allocating tax items as the General Partner detennines is necessary or appropriate in order to be
     consistent with the spirit and intent of the Treasury Regulations under Code Sections 704(b) and 704( c ).

             3. 9.    Distributions.

                       (a)                  The General Partner may make such pro rata or non-pro rata
     distributions as it may determine in its sole and unfettered discretion, without being limited to current or
     accumulated income or gains, but no such distribution shall be made out of funds required to make
     current payments on Partnership indebtedness; provided, however, that the General Partner may not make
     non-pro rata distributions under this Section 3.9(a) during an NAV Ratio Trigger Period without the
     consent of the Class B Limited Partner (in the case of a Class B NA V Ratio Trigger Period) and/or the
     Class C Limited Partner (in the case of a Class C NA V Ratio Trigger Period); provided, further this
     provision should not be interpreted to limit in any way the General Partner's ability to make non-pro rata
     tax distributions under Section 3.9(c) and Section 3.9(f). The Partnership has entered into one or more
     credit facilities with financial institutions that may limit the amount and timing of distributions to the
     Partners. Thus. the Partners acknowledge that distributions from the Partnership may be limited. Any
     distributions made to the Class B Limited Partner or the Class C Limited Partner pursuant to Section
     3 .9(b) shall reduce distributions otherwise allocable to such Partners under this Section 3 .9(a) until such
     aggregate reductions are equal to the aggregate distributions made to the Class B Partners and the Class C
     Partners under Section 3 .9(b ).

                      (b)     Priority Distributions. Prior to the distribution of any amounts to Pa11ners
     pursuant to Section 3.9(a), and notwithstanding any other provision in this Agreement to the contrary, the
     Par1nership shall make the following distributions ("Priority Distributions") pro-rata among the Class B
     Limited Partner and the Class C Limited Partner in accordance with their relative Percentage Interests:

                            (i)     No later than March 31st of each calendar year, commencing March 31,
     2017, an amount equal to $1,600,000.00;

                             (ii)     No later than March 31st of each year, commencing March 31, 2017, an
     amount equal to three percent (3%) of the Partnership's investment gain for the prior year, as reflected in
     the Partnership's books and records within ledger account number 90100 plus three percent (3%) of the
     gross realized investment gains for the prior year of Highland Select Equity Fund, as reflected in its books
     and records;




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                             (iii)     No later than March 31st of      year, commencing March 31, 2017, an
     amount equal to ten percent ( l 0%) or the Partnership's Operating Cash Flow for tht: prior year; and

                            (iv)    No later than December 24th of each year, commencing December
     2016, an amount equal to the aggregate annual principal and interest payments on the Purchase Notes for
     the then current year.

                       (c)                         The General Partner may, in its sole discretion, declare and
     make cash distributions pursuant hereto to the Partners to allow the federal and state income tax
     attributable to the Partnership's taxable income that is passed through the Partnership to the Partners to be
     paid by such Patiners (a "Tax Distribution"). The General Partner may, in its discretion, make Tax
     Distributions to the Founding Paiiner Group without also making Tax Distributions to other Pa11ners;
     provided. however, that if the General Partner makes Tax Distributions to the Founding Partner Group,
     Tax Distributions must also be made the Class B Limited Partner to the extent the Class B Limited
     Partlwr provides the Partnership with documentation showing it is subject to an entity-level federal
     income tax obligation. Notwithstanding anything else in this Agreement, the General Partner may declare
     and pay Tax Distributions even if such Tax Distributions cause the Partnership to be unable to make
     Priority Distributions under ==~~~CJ.·

                      ( d)                                                      Any amounts paid pursuant to
     ===~c..'..J...:O:..,. or 1J.Qu shall not be deemed to be distributions for purposes of this Agreement.
                      (e)      Withheld Amounts. Notwithstanding any other provision of this Section 3.9 to
     the contrary, each Partner hereby authorizes the Partnership to withhold and to pay over, or otherwise
     pay, any withholding or other taxes payable by the Partnership with respect to that Partner as a result of
     that Partner's participation in the Partnership. If and to the extent that the Partnership shall be required to
     withhold or pay any such taxes, that Partner shall be deemed for all purposes of this Agreement to have
     received a payment from the Partnership as of the time that withholding or tax is paid, which payment
     shall be deemed to be a distribution with respect to that Partner's Partnership Interest to the extent that the
     Partner (or any successor to that Partner's Pminership Interest) is then entitled to receive a distribution.
     To the extent that the aggregate of such payments to a Partner for any period exceeds the distributions to
     which that Partner is entitled for that period, the amount of such excess shall be considered a loan from
     the Partnership to that Partner. Such loan shall bear interest (which interest shall be treated as an item of
     income to the Partnership) at the "Applicable Federal Rate" (as defined in the Code), as determined
     hereunder from time to time, until discharged by that Partner by repayment, which may be made in the
     sole and unfettered discretion of the General Patiner out of distributions to which that Partner would
     otherwist: be subsequently entitled. Any withholdings authorized by this Section 3.9(d) shall be made at
     the maximum applicable statutory rate under the applicable tax law unless the General Partner shall have
     received an opinion of counsel or other evidence satisfactory to the General Partner to the effect that a
     lower rate is applicable, or that no withholding is applicable.

                     (f)      Special Tax Distributions. The Partnership shall, upon request of such Founding
     Partner, make distributions to the Founding Pm1ners (or loans, at the election of the General Partner) in an
     amount necessary for each of them to pay their respective federal income tax obligations incurred through
     the effective date of the Third Amended and Restated Agreement of Limited Partnership of Highland
     Capital Management, L.P., the predecessor to this Agreement.

                      (g)     Tolling of Prioritv Distributions. In the event of a "Honis Trigger Event,'' as
     defined in the Second Amended Buy-Sell and Redemption Agreement, the Partnership shall not make any
     distributions, including priority distributions under Section 3.9(b), to the Class B Limited Partner or the
     Class C Limited Partner until such time as a replacement trust administrator, manager and general partner,

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     as applicable, acceptable to the Partnership in its sole discretion, as indicated by an affirmative vote of
     consent by a Majority Interest, shall be appointed to the Class B Limited Partner/Class C Limited Partner
     and any of its direct or indirect owners that have governing documents directly affected by a Honis
             Event.

             3.10.    Compensation and Reimbursement of General Partner.

                     (a)     Compensation. The General Partner and any Affiliate of the General Partner
     shall        no compensation from the Partnership for services rendered pursuant to this Agreement or
     any other agreements unless approved by a Majority Interest; provided, however, that no compensation
     above five million dollars per year may be approved, even by a Majority Interest, during a NA V Ratio
             Period.

                      (b)                                     In addition to amounts paid under other Sections
     of this Agreement, the General Partner and its Affiliates shall be reimbursed for all expenses,
     disbursements, and advances incurred or made, and all fees, deposits, and other sums paid in connection
     with the organization and operation of the Pa1tnership, the qualification of the Partnership to do business,
     and all related matters.

             3.11.    Books, Records, Accounting, and Reports.

                      (a)     Records and Accounting. The General Partner shall keep or cause to be kept
     appropriate books and records with respect to the Partnership's business, which shall at all times be kept
     at the principal office of the Partnership or such other office as the General Partner may designate for
     such purpose. The books of the Partnership shall be maintained for financial repo1ting purposes on the
     accrual basis or on a cash basis, as the General Partner shall determine in its sole and unfettered
     discretion. in accordance with generally accepted accounting principles and applicable law. Upon
     reasonable request, the Class B Limited Partner or the Class C Limited Partner may inspect the books and
     records of the Partnership.

                     (b)    Fiscal Year. The fiscal year of the Partnership shall be the calendar year unless
     otherwise determined by the General Partner in its sole and unfettered discretion.

                      ( c)    Other Information. The General Paitner may release information concerning the
     operations of the Partnership to any financial institution or other Person that has loaned or may loan funds
     to the Partnership or the General Partner or any of its Affiliates, and may release such information to any
     other Person for reasons reasonably related to the business and operations of the Partnership or as
     required by law or regulation of any regulatory body.

                     ( d)     Distribution Reporting to Class B Limited Partner and Class C Limited Partner.
     Upon request, the Partnership shall provide the Class B Limited Partner and/or the Class C Limited
     Pa1tner information on any non-pro rata distributions made under Section 3.9 to Partners other than the
     Partner requesting the information.

             3.12.   Tax Matters.

                      (a)      Tax Returns. The General Partner shall arrange for the preparation and timely
     filing of all returns of Partnership income, gain, loss, deduction, credit and other items necessary for
     federal. state and local income tax purposes. The General Partner shall deliver to each Pa11ner as copy of
     his/her/its IRS Form K-1 as soon as practicable after the end of the Fiscal Y car, but in no event later than
     October I. The classification, realization, and recognition of income, gain, loss, deduction, credit and


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     other items shall be on the cash or accrual method of aeeounting for federal income tax purposes, as the
     General Partner shall determine in its sole and unfettered discretion. The General Partner in its sole and
     unfettered discretion may pay state and local income taxes attributable to operations of the Partnership
     and treat such taxes as an expense of the Partnership.

                      (b)                      Except as otherwise provided herein, the General Partner shall, in
     its sole and unfettered discretion, determine whether to make any available tax election.

                      (c)                             Subject to the provisions hereof, the General Partner is
     designated the Tax Matters Partner (as defined in Code Section 6231 ), and is authorized and required to
     represent the Partnership, at the Partnership's expense, in connection with all examinations of the
     Partnership's affairs by tax authorities, including resulting administrative and judicial proceedings, and to
     expend Partnership fonds fix professional services and costs associated therewith. Each Partner agrees to
     cooperate \\ith the General Partner in connection with such proceedings.

                      (d)                                No election shall be made by the Partnership or any
     Partner for the Partnership to be excluded from the application of any of the provisions of Subchapter K,
     Chapter l of Subtitle A of the Code or from any similar provisions of any state tax laws.

                                                     ARTICLE 4

                                 RIGHTS AND OBLIGATIONS OF PARTNERS

              4.1.    Rights and Obligations of the General Partner. In addition to the rights and
     obligations set forth elsewhere in this Agreement, the General Partner shall have the following rights and
     obligations:

                      (a)      Management. The General Partner shall conduct, direct, and exercise full control
     of over all activities of the Partnership. Except as otherwise expressly provided in this Agreement, all
     management powers over the business and affairs of the Partnership shall be exclusively vested in the
     General Partner, and Limited Partners shall have no right of control over the business and affairs of the
     Partnership. In addition to the powers now or hereafter granted to a general partner of a limited
     partnership under applicable law or that are granted to the General Partner under any provision of this
     Agreement, the General Partner shall have full power and authority to do all things deemed necessary or
     desirable by it to conduct the business of the Partnership, including, without limitation: (i) the
     determination of the activities in which the Partnership will participate; (ii) the performance of any and all
     acts necessary or appropriate to the operation of any business of the Partnership (including, without
     limitation. purchasing and selling any asset, any debt instruments, any equity interests, any commercial
     paper, any note receivables and any other obligations); (iii) the procuring and maintaining of such
     insurance as may be available in such amounts and covering such risks as are deemed appropriate by the
     General Partner; (iv) the acquisition, disposition, sale, mortgage, pledge, encumbrance, hyphothecation,
     of exchange of any or all of the assets of the Partnership; (v) the execution and delivery on behalf of, and
     in the name of the Partnership, deeds, deeds of trust, notes, leases, subleases, mortgages, bills of sale and
     any and all other contracts or instruments necessary or incidental to the conduct of the Partnership's
     business; (vi) the making of any expenditures, the borrowing of money, the guaranteeing of indebtedness
     and other liabilities, the issuance of evidences of indebtedness, and the incurrenee of any obligations it
     deems necessary or advisable for the conduct of the activities of the Partnership, including, without
     limitation, the payment of compensation and reimbursement to the General Partner and its Affiliates
     pursuant to Section 3. l O; (vii) the use of the assets of the Partnership (including, without limitation, cash
     on hand) for any Partnership purpose on any terms it sees fit, including, without limitation, the financing
     of operations of the Partnership, the lending of funds to other Persons, and the repayment of obligations

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     of the Partnership: (viii) the negotiation, execution. and perf<mnance       any contracts that it considers
     desirable, useful, or necessary to the conduct of the business or operations of the Partnership or the
     implementation of the General Partner's powers under this Agreement; (ix) the distribution of Paiinership
     cash or other            (x) the selection, hiring and dismissal of employees, attorneys, accountants,
     consultants, contractors, agents and representatives and the determination of their compensation and other
     teens of employment or hiring; (xi) the formation of any futiher limited or general partnerships, joint
     ventures, or other relationships that it deems desirable and the contribution to such partnerships, ventures,
     or relationships of assets and properties of the Partnership; and (xii) the control of any matters affecting
     the rights and obligations of the Partnership, including, without limitation, the conduct of any litigation,
     the incurring of legal expenses, and the settlement of claims and suits.

                      (b)                                          The General Partner caused the Cetiificate of
     Limited Partnership of the Partnership to be filed with the Secretary of State of Delaware as required by
     the Delaware Act and shall eause to be filed sueh other certificates or documents (including, without
     limitation, copies, amendments, or restatements of this Agreement) as may be determined by the General
     Partner to be reasonable and necessary or appropriate for the formation, qualification, or registration and
     operation of a limited partnership (or a partnership in whieh Limited Partners have limited liability) in the
     State of Delaware and in any other state where the Partnership may elect to do business.

                      (c)      Reliance by Third Parties.        Notwithstanding any other provision of this
     Agreement to the contrary, no lender or purchaser or other Person, including any purchaser of property
      from the Pa1inership or any other Person dealing with the Partnership, shall be required to verity any
     representation by the General Partner as to its authority to encumber, sell, or otherwise use any assess or
     properties of the Partnership, and any sueh lender, purchaser, or other Person shall be entitled to rely
     exclusively on such representations and shall be entitled to deal with the General Partner as if it were the
     sole party in interest therein, both legally and beneficially. Each Limited Partner hereby waives any and
     all defenses or other remedies that may be available against any sueh lender, purchaser, or other Person to
     contest. negate, or disaffirm any action of the General Partner in connection with any such sale or
     financing. In no event shall any Person dealing with the General Partner or the General Partner's
     representative with respect to any business or property of the Partnership be obligated to asce1iain that the
     terms of this Agreement have been complied with, and each sueh Person shall be entitled to rely on the
     assumptions that the Partnership has been duly formed and is validly in existence. In no event shall any
     such Person be obligated to inquire into the necessity or expedience of any act or action of the General
     Partner or the General Partner's representative, and every contract, agreement, deed, mortgage, security
     agreement, promissory note, or other instrument or document executed by the General Partner or the
     General Partner's representative with respect to any business or property of the Patinership shall be
     conclusive evidence in favor of any and every Person relying thereon or claiming thereunder that (i), at
     the time of the execution and delivery thereof, this Agreement was in full force and effect; (ii) sueh
     instrument or document was duly executed in accordance with the terms and provisions of this Agreement
     and is binding upon the Partnership; and (iii) the General Partner or the General Partner's representative
     was duly authorized and empowered to execute and deliver any and every such instrument or document
     for and on behalf of the Paiinership.

                      (d)     Paiinership Funds. The funds of the Pat1nership shall be deposited in such
     account or accounts as are designated by the General Partner. The General Patiner may, in its sole and
     unfettered discretion, deposit funds of the Partnership in a central disbursing account maintained by or in
     the name of the General Partner, the Partnership, or any other Person into whieh funds of the General
     Partner, the Partnership, on other Persons are also deposited; provided, however, at all times books of
     account are maintained that show the amount of funds of the Partnership on deposit in such account and
     interest accrued with respect to such funds as credited to the Partnership. The General Partner may use
     the funds of the Partnership as compensating balances for its benefit; provided, however, such funds do

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     not directly or indirectly secure, and are not otherwise at risk on account ot: any indebtedness or other
     obligation of the General Partner or any director, officer, employee, agent, representative, or Affiliate
     thereof: Nothing in this Section 4. J(cl) shall be deemed to prohibit or limit in any manner the right of the
     Partnership to lend funds to the General Partner or any Affiliate thereof pursuant to                     All
     withdrawals from or charges against such accounts shall be made by the General Partner or by its
     representatives. Funds of the Partnership may be invested as determined by the General Partner in
     accordance with the terms and provisions of this Agreement.

                      (e)

                               (i)      The General Partner or any Affiliate of the General Partner may lend to
     the Partnership funds needed by the Partnership for such periods of time as the General Partner may
     determine: provided, however, the General Partner or its Affiliate may not charge the Partnership interest
     at a rate greater than the rate (including points or other financing charges or fees) that would be charged
     the Partnership (without reference to the General Partner's financial abilities or guaranties) by unrelated
     lenders on comparable loans. The Partnership shall reimburse the General Partner or its Affiliate, as the
     case may be, for any costs incurred by the General Partner or that Affiliate in connection with the
     borrowing of funds obtained by the General Partner or that Affiliate and loaned to the Partnership. The
     Partnership may loan funds to the General Partner and any member of the Founding Partner Group at the
     General Partner's sole and exclusive discretion.

                              (ii)    The General Partner or any of its Affiliates may enter into an agreement
     with the Partnership to render services, including management services, for the Partnership. Any service
     rendered for the Partnership by the General Partner or any Affiliate thereof shall be on terms that are fair
     and reasonable to the Partnership.

                              (iii)   The Partnership may Transfer any assets to JOmt ventures or other
     partnerships in which it is or thereby becomes a participant upon terms and subject to such conditions
     consistent with applicable law as the General Partner deems appropriate; provided, however, that the
     Partnership may not transfer any asset to the General Partner or one of its Affiliates during any NA V
     Ratio Trigger Period for consideration less than such asset's fair market value.

                      (f)      Outside Activities' Conflicts of Interest. The General Partner or any Affiliate
     thereof and any director, officer, employee, agent, or representative of the General Partner or any Affiliate
     thereof shall be entitled to and may have business interests and engage in business activities in addition to
     those relating to the Patinership, including, without limitation, business interests and activities in direct
     competition with the Partnership. Neither the Partnership nor any of the Partners shall have any rights by
     virtue of this Agreement or the patinership relationship created hereby in any business ventures of the
     General Partner, any Affiliate thereof, or any director, officer, employee, agent, or representative of either
     the General Patiner or any Affiliate thereof.

                      (g)     Resolution of Conflicts of Interest. Unless otherwise expressly provided in this
     Agreement or any other agreement contemplated herein, whenever a conflict of interest exists or arises
     between the General Partner or any of its Affiliates, on the one hand, and the Partnership or any Limited
     Partner, on the other hand, any action taken by the General Paiiner, in the absence of bad faith by the
     General Partner, shall not constitute a breach of this Agreement or any other agreement contemplated
     herein or a breach of any standard of care or duty imposed herein or therein or under the Delaware Act or
     any other applicable law, rule, or regulation.

                     (h)     Indemnification. The Pa1inership shall indemnify and hold harmless the General
     Partner and any director, officer, employee, agent, or representative of the General Partner (collectively,


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     the "GP Party"),            all liabilities,     and damages incurred by any of them by reason of any act
     performed or omitted to be performed in the name of or on behalf of the Partnership, or in connection
     with the Partnership's business, including, without limitation, attorneys'       and any amounts expended
     in the settlement of any claims or liabilities,          or damages, to the fullest extent permitted by the
     Delaware Act; provided, however, the Partnership shall have no obligation to indemnify and hold
     harmless a GP Party for any action or inaction that constitutes gross negligence or willful or wanton
     misconduct The Partnership, in the sole and unfettered discretion of the General Partner, may indemnify
     and hold harmless any Limited Partner, employee, agent, or representative of the Partnership, any Person
     who is or was serving at the request of the Partnership acting through the General Partner as a director,
     oflicer, partner. trustee, employee, agent, or representative of another corporation, partnership, joint
     venture, trust, or other enterprise, and any other Person to the extent determined by the General Partner in
     its sole and unfettered discretion, but in no event shall such indemnification exceed the indemnification
     permitted by the Delaware Act. Notwithstanding anything to the contrary in this Section 4.1 (h) or
     elsewhere in this Agreement, no amendment to the Delaware Act after the date of this Agreement shall
     reduce or limit in any manner the indemnification provided for or permitted by this                  unless
     such reduction or limitation is mandated by such amendment for limited partnerships formed prior to the
     enactment of such amendment. In no event shall Limited Partners be subject to personal liability by
     reason of the indemnification provisions of this Agreement.

                     ( i)     Liability of General Partner.

                              (i)      Neither the General Paiiner nor its directors, officers, employees, agents,
     or representatives shall be liable to the Partnership or any Limited Partner for errors in judgment or for
     any acts or omissions that do not constitute gross negligence or willful or wanton misconduct.

                               (ii)   The General Partner may exercise any of the powers granted to it by this
     Agreement and perform any of the duties imposed upon it hereunder either directly or by or through its
     directors, officers, employees, agents, or representatives, and the General Partner shall not be responsible
     for any misconduct or negligence on the part of any agent or representative appointed by the General
     Partner.

                     U)       Reliance by General Partner.

                              (i)     The General Partner may rely and shall be protected in acting or
     refraining from acting upon any resolution, certificate, statement, instrument, opinion, report, notice,
     request, consent, order, bond, debenture, or other paper or document believed by it to be genuine and to
     have been signed or presented by the proper party or parties.

                              (ii)    The General Partner may consult with legal counsel, accountants,
     appraisers, management consultants, investment bankers, and other consultants and advisers selected by
     it, and any opinion of any such Person as to matters which the General Partner believes to be within such
     Person's professional or expe11 competence shall be full and complete authorization and protection in
     respect of any action taken or suffered or omitted by the General Partner hereunder in good faith and in
     accordance with such opinion.

                      (k)     The General Partner may, from time to time, designate one or more Persons to be
     officers of the Partnership. No officer need be a Partner. Any officers so designated shall have such
     authority and perform such duties as the General Patiner may, from time to time, delegate to them. The
     General Partner may assign titles to particular officers, including, without limitation, president, vice
     president, secretary, assistant secretary, treasurer and assistant treasurer. Each officer shall hold office
     until such Person's successor shall be duly designated and shall qualify or until such Person's death or


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     until such Person shall          or shall have been removed in the manner hereinafter provided. Any
     number of offiees may be held by the same Person. The salaries or other compensation, if any, of the
     officers and agents of the Partnership shall be fixed from time to time by the General Pattner. Any officer
     may be removed as sueh, either with or without cause, by the General Pmtner whenever in the General
     Partner's judgment the best interests of the Partnership will be served thereby. Any vacancy occurring in
     any office of the Partnership may be filled by the General Partner.

              4.2.    Rights and Obligations of Limited Partners. In addition to the rights and obligations
     of Limited Partners set forth elsewhere in this Agreement, Limited Partners shall have the following
     rights and obligations:

                   (a)                                 Limited Partners shall have no liability under this
     Agreement except as provided herein or under the Delaware Aet.

                      (b)                               No Limited Partner shall take part in the control
     (within the meaning of the Delaware Act) of the Partnership's business, transact any business in the
     Partnership's name, or have the power to sign documents for or otherwise bind the Partnership other than
     as specifically set forth in this Agreement.

                     (e)       Return of Capital. No Limited Partner shall be entitled to the withdrawal or
     return of its Capital Contribution except to the extent, if any, that distributions made pursuant to this
     Agreement or upon termination of the Partnership may be considered as sueh by law and then only to the
     extent provided for in this Agreement.

                   (d)    Seeond Amended Buv-Sell and Redemption Agreement. Each Limited Partner
     shall eomply with the terms and conditions of the Second Amended Buy-Sell and Redemption
     Agreement.

                      ( e)    Default on Priority Distributions. If the Paiinership fails to timely pay Priority
     Distributions pursuant to Section 3 .9(b ), and the Partnership does not subsequently make such Priority
     Distribution within ninety days of its due date. the Class B Limited Partner or the Class C Limited Partner
     may require the Partnership to liquidate publicly traded securities held by the Partnership or Highland
     Select Equity Master Fund, L.P., a Delaware limited partnership controlled by the Partnership; provided,
     however, that the General Partner may in its sole discretion elect instead to liquidate other non-publicly
     traded securities owned by the Pa1tnership in order to satisfy the Partnership's obligations under Section
     3.9(b) and this Section 4.2(e). In either case, Affiliates of the General Partner shall have the right of first
     offer to purchase any securities liquidated under this Section 4.2(e).

             4.3.     Transfer of Partnership Interests.

                       (a)     Transfer. No Partnership Interest shall be Transferred, in whole or in part, except
     in accordance with the terms and conditions set forth in this Section 4.3 and the Second Amended Buy-
     Sell and Redemption Agreement. Any Transfer or purported Transfer of any Partnership Interest not
     made in accordance with this                and the Second Amended Buy-Sell and Redemption Agreement
     shall be null and void. An alleged transferee shall have no right to require any information or account of
     the Pa1tnership's transactions or to inspect the Partnership's books. The Partnership shall be entitled to
     treat the alleged transferor of a Partnership Interest as the absolute owner thereof in all respects, and shall
     incur no liability to any alleged transferee for distributions to the Partner owning that Partnership Interest
     of record or for allocations of Profits, Losses, deductions or credits or for transmittal of reports and
     notices required to be given to holders of Partnership Interests.



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                      (b)                                      The General Partner may Transfer all, but not
     than alL of its Partnership Interest to any Person only with the approval of a Majority Interest; provided,
     however, that the General Partner may not Transfor its Partnership Interest during any NA V Ratio Trigger
      Period except to the extent such Transfers are for estate planning purposes or resulting from the death of
     the individual owner of the General Partner. Any Tran sfer by the General Partner of its Partnership
      Interest under this                 to an Af111iate of the General Partner or any other Person shall not
     constitute a withdrawal of the General Partner under                                 or any other provision
     of this Agreement. If any such Transfer is deemed to constitute a withdrawal under such provisions or
     otherwise and results in the dissolution of the Partnership under this Agreement or the laws of any
     jurisdiction to which the Partnership of this Agreement is subject, the Partners hereby unanimously
     consent to the reconstitution and continuation of the Partnership immediately following such dissolution,
     pursuant to~~~~~·

                     (c)                                      The Partnership Interest of a Limited Partner may
     not be Transferred without the consent of the General Partner (which consent may be withheld in the sole
     and unfettered discretion of the General Partner), and in accordance with the Second Amended Buy-Sell
     and Redemption Agreement.

                      ( d)     Distributions and Allocations in Respect of Transferred Partnership Interests. If
     any Partnership Interest is Transferred during any Fiscal Year in compliance with the provisions of
     A1iicle 4 and the Second Amended Buy-Sell and Redemption Agreement, Profits, Losses, and all other
     items attributable to the transferred interest for that period shall be divided and allocated between the
     transferor and the transferee by taking into aecount their varying interests during the period in aecordance
     with Code Section 706( d), using any conventions permitted by law and selected by the General Partner;
     provided that no allocations shall be made under this Section 4.3(d) that would affect any special
     allocations made under Section 3 .4. All distributions declared on or before the date of that Transfer shall
     be made to the transferor. Solely for purposes of making such allocations and distributions, the
     Partnership shall recognize that Transfer not later than the end of the calendar month during whieh it is
     given notice of that Transfer; provided, however, if the Partnership does not receive a notice stating the
     date that Partnership Interest was Transferred and such other information as the General Pa1iner may
     reasonably require within thirty (30) days after the end of the Fiscal Year during which the Transfer
     occurs, then all of such items shall be allocated, and all distributions shall be made, to the person who,
     according to the books and reeords or the Partnership, on the last day of the Fiscal Year during which the
     Transfer occurs, was the owner of the Partnership Interest. Neither the Partnership nor any Partner shall
     incur any liability for making alloeations and distributions in accordance with the provisions of this
     Section 4.3(d), whether or not any Partner or the Partnership has knowledge of any Transfer of ownership
     of any Pa1inership Interest.

                      ( e)    Forfeiture of Partnership Interests Pursuant to the Contribution Note. In the
     event any Class B Limited Partnership Interests are forfeited in favor of the Partnership as a result of any
     default on the Contribution Note, the Capital Aceounts and Pereentage Interests associated with such
     Class B Limited Partnership Interests shall be allocated pro rata among the Class A Partners. The Priority
     Distributions in Section 3. 9(b) made after the date of such forfeiture shall eaeh be redueed by an amount
     equal to the ratio of the Percentage Interest assoeiated with the Class B Limited Partnership Interest
     transferred pursuant to this Section 4.3(e) over the aggregate Percentage Interests of all Class B Limited
     Partnership Interests and Class C Limited Partnership Interests, calculated immediately prior to any
     forfeiture of such Class B Limited Partnership Interest.

                     (f)     Transfers of Partnership Interests Pursuant to the Purchase Notes.
     Notwithstanding any other provision in this Agreement, the Partnership shall respect, and the General
     Patiner hereby provides automatic consent for, any transfers (in whole or transfers of partial interests) of

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     the        C Limited Partnership Interests, or a portion thereof: if such transfer occurs as a result of a
     default on the Purchase Notes. Upon the transfer of any Class C Limited Partnership Interest to any
     member of the Founding Partner Group (or their assigns), such Class C Limited Partnership Interest shall
     automatically convert to a Class A Partnership Interest The Priority Distributions in                shall
     each be reduced by an amount equal to the ratio of the Percentage Interest associated with the transferred
     Class C Limited Partnership Interest over the               Percentage Interests of all Class B Limited
     Partnership Interests and Class C Limited Partnership Interests, calculated immediately prior to any
     transfer of such Class C Limited Partnership Interest.

             4.4.     Issuances of Partnership Interests to New and Existing Partners.

                      (a)                                                                   The General Partner
     may admit one or more additional Persons as Limited Pa11ners ("Additional Limited Partners") to the
     Partnership at such times and upon such terms as it deems appropriate in its sole and unfettered
     discretion; provided, however, that the General Partner may only admit additional Persons as Limited
     Pa11ners in relation to the issuance of equity incentives to key employees of the Partnership; provided,
     further that the General Partner may not issue such equity incentives to the extent they entitle the holders,
     in the aggregate, to a Percentage Interest in excess of twenty percent without the consent of the Class B
     Limited Partner and the Class C Limited Partner. All Class A Limited Partners, the Class B Limited
     Partner and the Class C Limited Par1ner shall be diluted proportionately by the issuance of such limited
     partnership interests. No Person may be admitted to the Partnership as a Limited Partner until he/she/it
     executes an Addendum to this Agreement in the form attached as Exhibit B (which may be modified by
     the General Partner in its sole and unfettered discretion) and an addendum to the Second Amended Buy-
     Sell and Redemption Agreement.

                     (b)     Issuance of an Additional Partnership Interest to an Existing Partner. The
     General Partner may issue an additional Partnership Interest to any existing Partner at such times and
     upon such terms as it deems appropriate in its sole and unfettered discretion. Upon the issuance of an
     additional Pa11nership Interest to an existing Partner, the Percentage Interests of the members of the
     Founding Pm1ner Group shall be diluted proportionately. Any additional Partnership Interest shall be
     subject to all the terms and conditions of this Agreement and the Second Amended Buy-Sell and
     Redemption Agreement.

             4.5.     Withdrawal of General Partner

                      (a)      Option. In the event of the withdrawal of the General Partner from the
     Partnership, the departing General Partner (the "Departing Partner") shall, at the option of its successor
     (if any) exercisable prior to the effective date of the departure of that Departing Partner, promptly receive
     from its successor in exchange for its Partnership Interest as the General Pminer, an amount in cash equal
     to its Capital Account balance, determined as of the effective date of its departure.

                      (b)     Conversion. If the successor to a Departing Partner does not exercise the option
     described in Section 4.5(a), the Partnership Interest of the Departing Pa11ner as the General Partner of the
     Partnership shall be converted into a Pa11nership Interest as a Limited Partner.

             4.6.     Admission of Substitute Limited Partners and Successor General Partner.

                      (a)     Admission of Substitute Limited Partners. A transferee (which may be the heir
     or legatee of a Limited Pa11ner) or assignee of a Limited Partner's Partnership Interest shall be entitled to
     receive only the distributive share of the Partnership's Profits, Losses, deductions, and credits attributable
     to that Pa11nership Interest. To become a substitute Limited Partner (a "Substitute Limited Partner"),


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     that             or          shall ( 1) obtain the consent of the General Pa11ner (which consent may be
     withheld in the sole and unfettered discretion of the General Partner), (ii) comply with all the
     requirements of this Agreement and the Second Amended Buy-Sell and Redemption Agreement with
     respect to the Transfer of the Partnership Interest at issue, and (iii) execute an Addendum to this
     Agreement in the form attached as                (which may be modified by the General Partner in its sole
     and unfettered discretion) and an addendum to the Second Amended Buy-Sell and Redemption
     Agreement. Upon admission of a Substitute Limited Partner, that Limited Partner shall be subject to all
     of the restrictions applicable to, shall assume all of the obligations of, and shall attain the status of a
     Limited Partner under and pursuant to this Agreement with respect to the Partnership Interest held by that
     Limited Partner.

                      (b)                                                  A successor General Partner selected
     pursuant to              or the transferee of or successor to all of the Pai1nership Interest of the General
     Partner pursuant to                 shall be admitted to the Partnership as the General Partner, effective as
     of the date of the withdrawal or removal of the predecessor General Partner or the date of Transfer of that
     predecessor's Partnership Interest.

                     ( c)    Action by General Partner. In connection with the admission of any substitute
     Limited Pa11ner or successor General Partner or any additional Limited Partner, the General Pat1ner shall
     have the authority to take all such actions as it deems necessary or advisable in connection therewith,
     including the amendment of              and the execution and filing with appropriate authorities of any
     necessary documentation.

                                                     ARTICLE 5

                                       DISSOLUTION AND WINDING UP

             5.1.     Dissolution. The Partnership shall be dissolved upon:

                      (a)       The withdrawal, bankruptcy, or dissolution of the General Partner, or any other
     event that results in its ceasing to be the General Partner (other than by reason of a Transfer pursuant to
     Section 4.3(b)):

                     (b)      An election to dissolve the Pa11nership by the General Partner that is approved by
     the affirmative vote of a Majority Interest; provided, however, the General Partner may dissolve the
     Partnership without the approval of the Limited Partners in order to comply with Section 14 of the Second
     Amended Buy-Sell and Redemption Agreement; or

                     (c)      Any other event that, under the Delaware Act, would cause its dissolution.

     For purposes of th is Section 5. 1, the bankruptcy of the General Partner shall be deemed to have occurred
     when the General Partner: (i) makes a general assignment for the benefit of creditors; (ii) files a voluntary
     bankruptcy petition; (iii) becomes the subject of an order for relief or is declared insolvent in any federal
     or state bankruptcy or insolvency proceeding: (iv) files a petition or answer seeking a reorganization,
     arrangement composition, readjustment. liquidation, dissolution, or similar relief under any law; (v) files
     an answer or other pleading admitting or failing to contest the material allegations of a petition filed
     against the General Partner in a proceeding of the type described in clauses (i) through (iv) of this
     paragraph; (vi) seeks, consents to, or acquiesces in the appointment of a trustee, receiver, or liquidator of
     the General Partner or of all or any substantial part of the General Partner's properties; or (vii) one
     hundred twenty ( 120) days expire after the date of the commencement of a proceeding against the General
     Partner seeking reorganization, arrangement, composition, readjustment, liquidation, dissolution, or


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                                                                                                       Appx. 00715
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     similar relief under any law if the proceeding has not been previously dismissed, or ninety (90) days
     expire after the date of the appointment, without the General Paiincr's consent or acquiescence, of a
     trustee, receiver. or liquidator of the General Partner or of all or any substantial part of the General
     Partner's properties if the appointment has not previously been vacated or stayed. or ninety (90) days
     expire after the date of expiration of a stay, if the appointment has not previously been vacated.

              5.2.      Continuation of the Partnership. Upon the occurrence of an event described in       ==C!c!
             the Partnership shall be deemed to be dissolved and reconstituted if a Majority Interest elect to
     continue the Patinership within ninety (90) days of that event. If no election to continue the Pa1inership is
     made within ninety (90) days of that event, the Partnership shall conduct only activities necessary to wind
     up its affairs. If an election to continue the Partnership is made upon the occurrence of an event described
     111                 then:

                     (a)       Within that ninety (90)-day period a successor General Partner shall be selected
     by a Majority Interest;

                      (b)    The Partnership shall be deemed to be reconstituted and shall continue until the
     end of the term for which it is formed unless earlier dissolved in accordance with this A1iiclc 5;

                     (c)       The interest of the former General Partner shall be converted to an interest as a
     Limited Pa11ner: and

                     (d)     All necessary steps shall be taken to amend or restate this Agreement and the
     Certificate of Limited Pa1incrship, and the successor General Partner may for this purpose amend this
     Agreement and the Certificate of Limited Partnership, as appropriate, without the consent of any Partner.

              5.3.     Liquidation. Upon dissolution of the Partnership, unless the Partnership is continued
      under               the General Partner or, in the event the General Partner has been dissolved, becomes
      bankrupt (as defined in                  or withdraws from the Partnership, a liquidator or liquidating
     committee selected by a Majority Interest, shall be the Liquidator. The Liquidator (if other than the
     General Partner) shall be entitled to receive such compensation for its services as may be approved by a
      Majority Interest. The Liquidator shall agree not to resign at any time without fifteen ( 15) days' prior
      written notice and (if other than the General Partner) may be removed at any time, with or without cause,
      by notice of removal approved by a Majority Interest. Upon dissolution, removal, or resignation of the
      Liquidator, a successor and substitute Liquidator (who shall have and succeed to all rights, powers, and
     duties of the original Liquidator) shall within thirty (30) days thereafter be selected by a Majority Interest.
     The right to appoint a successor or substitute Liquidator in the manner provided herein shall be recurring
     and continuing for so long as the functions and services of the Liquidator arc authorized to continue under
     the provisions hereof, and every reference herein to the Liquidator shall be deemed to refer also to any
     such successor or substitute Liquidator appointed in the manner provided herein. Except as expressly
     provided in this              the Liquidator appointed in the manner provided herein shall have and may
     exercise. without further authorization or consent of any of the parties hereto, all of the powers conferred
     upon the General Patiner under the terms of this Agreement (but subject to all of the applicable
     limitations, contractual and otherwise, upon the exercise of such powers) to the extent necessary or
     desirable in the good faith judgment of the Liquidator to carry out the duties and functions of the
     Liquidator hereunder for and during such period of time as shall be reasonably required in the good faith
     judgment of the Liquidator to complete the winding up and liquidation of the Partnership as provided
     herein. The Liquidator shall liquidate the assets of the Partnership and apply and distribute the proceeds
     of such liquidation in the following order of priority, unless otherwise required by mandatory provisions
     of applicable law:



                                                           23




                                                                                                               D-CNL002032
                                                                                                         Appx. 00716
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                      (a)    To the payment of the            of the terminating transactions including, without
     limitation, brokerage commission, legal fees, accounting      and closing costs;

                      (b)    To the payment of creditors of the Partnership, including Partners, in order of
     priority provided by law;

                        (c)     To the Partners and assignees to the extent oC and in proportion to, the positive
     balances in their respective Capital Accounts as provided in Treasury Regulations Section 1.704-
     1(b)(2)(ii)(b )(2); provided, however, the Liquidator may place in escrow a reserve of cash or other assets
     of the Partnership for contingent liabilities in an amount determined by the Liquidator to be appropriate
     for such purposes; and

                     (d)      To the Partners in propo1iion to their respective Percentage Interests.

               5.4.    Distribution in Kind. Notwithstanding the provisions of                    that require the
     liquidation of the assets of the Partnership, but subject to the order of priorities set forth therein, if on
     dissolution of the Partnership the Liquidator determines that an immediate sale of part or all of the
     Partnership's assets would be impractical or would cause undue loss to the Partners and assignees, the
     Liquidator may defer for a reasonable time the liquidation of any assets except those necessary to satisfy
     liabilities of the Partnership (other than those to Partners) and/or may distribute to the Partners and
     assignees, in lieu of cash, as tenants in common and in accordance with the provisions of===-"'-'-"'-'
     undivided interests in such Partnership assets as the Liquidator deems not suitable for liquidation. Any
     such distributions in kind shall be subject to such conditions relating to the disposition and management
     of such properties as the Liquidator deems reasonable and equitable and to any joint operating agreements
     or other agreements governing the operation of such prope1iies at such time. The Liquidator shall
     determine the fair market value of any property distributed in kind using such reasonable method of
     valuation as it may adopt.

              5.5.    Cancellation of Certificate of Limited Partnership. Upon the completion of the
     distribution of Partnership property as provided in                     and       the Partnership shall be
     terminated, and the Liquidator (or the General Partner and Limited Partners if necessary) shall cause the
     cancellation of the Certificate of Limited Partnership in the State of Delaware and of all qualifications and
     registrations of the Partnership as a foreign limited partnership in jurisdictions other than the State of
     Delaware and shall take such other actions as may be necessary to terminate the Partnership.

             5.6.    Return of Capital. The General Pa1iner shall not be personally liable for the return of
     the Capital Contributions of Limited Partners, or any portion thereof, it being expressly understood that
     any such return shall be made solely from Partnership assets.

             5.7.    Waiver of Partition.       Each Partner hereby waives any rights to partition of the
     Partnership property.

                                                    ARTICLE 6

                                            GENERAL PROVISIONS

             6.1.     Amendments to Agreement. The General Partner may amend this Agreement without
     the consent of any Partner if the General Partner reasonably determines that such amendment is necessary
     and appropriate; provided, however, any action taken by the General Partner shall be subject to its
     fiduciary duties to the Limited Patiners under the Delaware Act; provided further that any amendments



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                                                                                                        Appx. 00717
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     that adversely afl't:ct the    B Limited Partner or the Class C Limited Pai1ner may only be made with
     the consent of such Partner adversely affected.

              6.2.    Addresses and Notices. Any notice, demand, request, or report required or permitted to
     be given or made to a Partner under this Agreement shall be in writing and shall be deemed given or made
     ,\hen delivered in person or when sent by United States registered or ce11ified mail to the Partner at
     his/her/its address as shown on the records of the Pai1nership, regardless of any claim of any Person who
     may have an interest in any Partnership Interest by reason of an assignment or otherwise.

             6.3.    Titles and Captions. All article and section titles and captions in the Agreement are for
     convenience only, shall not be deemed part of this Agreement, and in no way shall define, limit, extend,
     or describe the scope or intent of any provisions hereoC Except as specifically provided otherwise,
     references to "A11icles," "Sections" and "Exhibits" are to "Articles," "Sections" and "Exhibits" of this
     Agreement. All Exhibits hereto are incorporated herein by reference.

             6.4.   Pronouns and Plurals. Whenever the context may require, any pronoun used in this
     Agreement shall include the corresponding masculine, feminine, or neuter forms, and the singular form of
     nouns, pronouns. and verbs shall include the plural and vice versa.

             6.5.      Further Action. The parties shall execute all documents, provide all information, and
     take or refrain from taking all actions as may be necessary or appropriate to achieve the purposes of this
     Agreement.

              6.6.    Binding Effect. This Agreement shall be binding upon and inure to the benefit of the
     pat1ies hereto and their heirs. executors, administrators, successors, legal representatives, and permitted
     assigns.

              6.7.    Integration. This Agreement constitutes the entire agreement among the parties hereto
     pertaining to the subject matter hereof and supersedes all prior agreements and understandings pertaining
     thereto.

             6.8.    Creditors. None of the prov1s1ons of this Agreement shall be for the benefit of or
     enforceable by any creditors of the Partnership.

             6.9.    Waiver. No failure by any party to insist upon the strict performance of any covenant,
     duty, agreement, or condition of this Agreement or to exercise any right or remedy consequent upon a
     breach thereof shall constitute waiver of any such breach or any other covenant, duty, agreement, or
     condition.

             6.10. Counterparts. This agreement may be executed in counterparts, all of which together
     shall constitute one agreement binding on all the parties hereto, notwithstanding that all such parties are
     not signatories to the original or the same counterpart.

              6.11. Applicable Law. This Agreement shall be construed in accordance with and governed
     by the laws of the State of Delaware, without regard to the principles of conflicts of law.

              6.12. Invalidity of Provisions. If any provision of this Agreement is declared or found to be
     illegal, unenforceable, or void, in whole or in part, then the parties shall be relieved of all obligations
     arising under that provision, but only to the extent that it is illegal, unenforceable, or void, it being the
     intent and agreement of the parties that this Agreement shall be deemed amended by modifying that
     provision to the extent necessary to make it legal and enforceable while preserving its intent or, if that is


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                                                                                                       Appx. 00718
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     not possible, by substituting therefor another provision that is legal and enforceable and achieves the same
     objectives.

               6.13. General Partner Discretion. Whenever the General Partner may use its sole discretion,
     the (ieneral Partner may consider any items it deems relevant, including its mvn interest and that of its
     affiliates.

               6.14. Mandatory Arbitration. In the event there is an unresolved legal dispute between the
      parties and/or any of their respective officers, directors, partners, employees, agents, affiliates or other
      representatives that involves legal rights or remedies arising from this Agreement, the parties agree to
      submit their dispute to binding arbitration under the authority of the Federal Arbitration Act; provided,
     ~~~~, that the Partnership or such applicable affiliate thereof may pursue a temporary restraining order
      and /or preliminary injunctive relief in connection with any confidentiality covenants or agreements
      binding on the other party, with related expedited discovery for the parties, in a court of law, and
      thereafter, require arbitration of all issues of final relief. The arbitration will be conducted by the
      American Arbitration Association, or another mutually agreeable arbitration service. A panel of three
     arbitrators will preside over the arbitration and will together deliberate, decide and issue the final award.
     The arbitrators shall be duly licensed to practice law in the state of Texas. The discovery process shall be
      limited to the following: Each side shall be permitted no more than (i) two party depositions of six hours
     each, each deposition to be taken pursuant to the Texas Rules of Civil Procedure; (ii) one non-paiiy
     deposition of six hours; (iii) twenty-five interrogatories; (iv) twenty-five requests for admissions; (v) ten
      request for production (in response, the producing pa11y shall not be obligated to produce in excess of
      5,000 total pages of documents, including electronic documents); and (vi) one request for disclosure
     pursuant to the Texas Rules of Civil Procedure. Any discovery not specifically provided for in this
     paragraph, whether to patiies or non-parties, shall not be permitted. The arbitrators shall be required to
     state in a written opinion all facts and conclusions of law relied upon to support any decision rendered.
     The arbitrators will not have the authority to render a decision that contains an outcome based on error of
     state or federal law or to fashion a cause of action or remedy not otherwise provided for under applicable
     state or federal law. Any dispute over whether the arbitrators have failed to comply with the foregoing
     ,,ill be resolved by summary judgment in a comi of law. In all other respects, the arbitration process will
      be conducted in accordance with the American Arbitration Association's dispute resolution rules or other
     mutually agreeable arbitration services rules. All proceedings shall be conducted in Dallas, Texas or
     another mutually agreeable site. Each party shall bear its own attorneys fees, costs and expenses,
     including any costs of experts, witnesses and /or travel, subject to a final arbitration award on who should
     bear costs and fees. The duty to arbitrate described above shall survive the termination of this
     Agreement. Except as otherwise provided above, the parties hereby waive trial in a court of law or by
     jury. All other rights, remedies, statutes of limitation and defenses applicable to claims asserted in a court
     of law will apply in the arbitration.




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                                                                                                             D-CNL002035
                                                                                                       Appx. 00719
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                                    Signature Page Follows.




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                 IN WITNESS WHEREOF. the           hereto have entered into this            date and
         year first written above.

                                                     GENERAL PART:'IER:




                                                     THE DUGABOY INVESTMENT TRUST




                                                      THE MARK AND PAMELA OK,\DA FAMILY
                                                      TRUST - EXEMPT TRt;ST #1


                                                         By:
                                                         -:-Jame: Lawrence Tonomura
                                                         Its:     Trustee


                                                         THE MARK AND PAMELA OKADA FA.MILY
                                                         TRUST - EXEMPT TRUST #2


                                                         By:
                                                         Name: Lawrence Tonomura
                                                         Its:  Trustee




          Signature Page to Fourth Amended @d Res1a1ed
          Agreement qt' Li111i,ed Parfllership




                                                                                                  D-CNL002037
                                                                                            Appx. 00721
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                IN WITNESS             the       hereto have entered into this        as of the date and
       year first written above.

                                                       GENERAL PARTNER:

                                                       STRAND ADVISORS, INC.,
                                                       a Delaware corporation

                                                       By:
                                                                James D. Dondero,
                                                                President


                                                       LIMITED PARTNERS:

                                                       THE DUGABOY INVESTMENT TRUST


                                                       By:
                                                       Name: Nancy M. Dondero
                                                       Its:  Trustee

                                                       THE MARK AND PAMELA OKADA FAMILY
                                                       TRUST - EXEMPT TRUST #1




                                                       THE MARK AND PAMELA OKADA FAMILY
                                                       TRUST EXEMPT TRUST #2


                                                       By:
                                                       Na
                                                       Its:


                                                       MARK K. OKADA



                                                       Mark K. Okada




       Signature Page to Fourth Amended and Restated
       Agreement of Limited Partnership




                                                                                                     D-CNL002038
                                                                                               Appx. 00722
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                                                                         . INVESTMl(NT TRUST
                                                                          .C Administrator


                                                        By




        Signawre Page ro Fourth Amended and !?estated
        Agreeme/11 of l.i111ited Partnership




                                                                                                   D-CNL002039
                                                                                             Appx. 00723
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                                             EXHIBIT A


                                                                        Percentage Interest
     CLASS A PARTNERS                                                 By Class   Effective %

       GENERAL PARTNER:

          Strand Advisors                                              0.5573%        0.2508%

       LIMITED PARTNERS:

          The Dugaboy Investment Trust                                74.4426%        0.1866%

          Mark K. Okada                                               19.4268%        0.0487%

          The Mark and Pamela Okada Family Trust- Exempt Trust #1      3.9013%        0.0098%

          The Mark and Pamela Okada Family Trust Exempt Trust #2       1.6720%        0.0042%

     Total Class A Percentage Interest                               100.0000%         0.500%

     CLASS B LIMITED PARTNERS

          Hunter Mountain Investment Trust                           100.0000%       55.0000%

     CLASS C LIMITED PARTNERS

          Hunter Mountain Investment Trust                           100.0000%        44.500%

     PROFIT AND LOSS AMONG CLASSES

          Class A Partners                                             0.5000%

          Class B Partners                                            55.0000%

          Class C Partners                                            44.5000%




                                                                                           D-CNL002040
                                                                                     Appx. 00724
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                                                     EXHIBIT B

                                   ADDENDUM
                                    TO THE
          FOURTH AMENDED AND RESTATED AGREEMENT OF LIMITED PARTNERSHIP
                                       OF
                       HIGHLAND CAPITAL MANAGEMENT, L.P.

             THIS ADDENDUM (this ·'Addendum") to that certain Fourth Amended and Restated
     Agreement of Limited Partnership of Highland Capital Management, L.P., dated December 24, 2015, to
     be effective as of December 24, 2015, as amended from time to time (the "Agreement"), is made and
     entered into as of the       day of            20_, by and between Strand Advisors, Inc., as the sole
     General Partner (the "General Partner") of Highland Capital Management, L.P. (the "Partnership") and
     - - - - - - ("             ") (except as otherwise provided herein, all capitalized terms used herein shall
     have the meanings set forth in the Agreement).

                                                     RECITALS:

             WHEREAS, the General Partner, in its sole and unfettered discretion, and without the consent of
     any Limited Pa1iner, has the authority under (i) Section 4.4 of the Agreement to admit Additional Limited
     Partners, (ii) Section 4.6 of the Agreement to admit Substitute Limited Partners and (iii) Section 6. J of the
     Agreement to amend the Agreement;

          WHEREAS, the General Partner desires to admit                    as a Class_ Limited Partner holding
     a_% Percentage Interest in the Partnership as of the date hereof;

            WHEREAS, - - - -desires to become a Class                Limited Pminer and be bound by the terms
     and conditions of the Agreement; and

              WHEREAS, the General Partner desires to amend the Agreement to add ______ as a
     party thereto.

                                                   AGREEMENT:

            RESOLVED, as a condition to receiving a Partnership Interest in the Partnership, _ _ _ _ __
     acknowledges and agrees that he/she/it (i) has received and read a copy of the Agreement, (ii) shall be
     bound by the terms and conditions of the Agreement; and (iii) shall promptly execute an addendum to the
     Second Amended Buy-Sell and Redemption Agreement; and be it

           FURTHER RESOLVED, the General Partner hereby amends the Agreement to add
                   as a Limited Partner, and the General Partner shall attach this Addendum to the
     Agreement and make it a part thereof; and be it

             FURTHER RESOLVED, this Addendum may be executed in any number of counterparts, all of
     which together shall constitute one Addendum binding on all the parties hereto, notwithstanding that all
     such parties are not signatories to the original or the same counterpart.




                                                                                                             D-CNL002041
                                                                                                       Appx. 00725
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            IN WITNESS WHEREOF, the undersigned have executed this Addendum as of the day and year
     above written.

                                                     GENERAL PARTNER:

                                                      STRAND ADVISORS, INC.

                                                     By:
                                                             Name: _ _ _ _ _ _ _ _ _ _ __
                                                             Title:


                                                     NEW LIMITED PARTNER:



     AGREED AND ACCEPTED:

     In consideration of the terms of this Addendum and the Agreement, in consideration of the Partnership's
     allowing the above signed Person to become a Limited Pa1tner of the Partnership, and for other good and
     valuable consideration receipt of which is hereby acknowledged, the undersigned shall be bound by the
     terms and conditions of the Agreement as though a party thereto.



      ___________]




                                                                                                       D-CNL002042
                                                                                                 Appx. 00726
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    B1040 (FORM 1040) (12/15)

            ADVERSARY PROCEEDING COVER SHEET                                                     ADVERSARY PROCEEDING NUMBER
                                                                                                 (Court Use Only)
                    (Instructions on Reverse)

  PLAINTIFFS                                                                      DEFENDANTS
 Highland Capital Management, L.P.                                                 James Dondero, Nancy Dondero, and
                                                                                   The Dugaboy Investment Trust

  ATTORNEYS (Firm Name, Address, and Telephone No.)                               ATTORNEYS (If Known)
 Hayward PLLC                                                                     Stinson LLP (for James Dondero and Nancy
 10501 N. Central Expressway, Suite 106                                           Dondero); Heller, Draper & Horn, L.L.C. (for
 Dallas, Texas 75231 Tel.: (972) 755-7100                                         The Dugaboy Investment Trust)
  PARTY (Check One Box Only)                         PARTY (Check One Box Only)
  □ Debtor    □ U.S. Trustee/Bankruptcy Admin        □ Debtor      □ U.S. Trustee/Bankruptcy Admin
  □ Creditor  □ Other                                □ Creditor    □ Other
  □ Trustee                                          □ Trustee
  CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
 Breach of Contract; Turnover Pursuant to 11 USC 542(b); Avoidance and Recovery of Actual
 Fraudulent Transfer under 11 USC 548(a)(1)(A) and 550; Avoidance and Recovery of Actual
 Fraudulent Transfer under 11 USC 544(b) and 550 and Tex. Bus. & C. Code 24.005(a)(1);
 Declaratory Relief; Breach of Fiduciary Duty; Aiding & Abetting Breach of Fiduciary Duty
                                                                      NATURE OF SUIT
          (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)


  □2 11-Recovery of money/property - §542 turnover of property                    □
      FRBP 7001(1) – Recovery of Money/Property                                   FRBP 7001(6) – Dischargeability (continued)

  □ 12-Recovery of money/property - §547 preference                               □
                                                                                     61-Dischargeability - §523(a)(5), domestic support

  □3 13-Recovery of money/property - §548 fraudulent transfer                     □
                                                                                     68-Dischargeability - §523(a)(6), willful and malicious injury

  □4 14-Recovery of money/property - other                                        □
                                                                                     63-Dischargeability - §523(a)(8), student loan
                                                                                     64-Dischargeability - §523(a)(15), divorce or separation obligation

                                                                                  □
                                                                                        (other than domestic support)

  □ 21-Validity, priority or extent of lien or other interest in property
      FRBP 7001(2) – Validity, Priority or Extent of Lien                            65-Dischargeability - other


                                                                                  □
                                                                                  FRBP 7001(7) – Injunctive Relief

  □
      FRBP 7001(3) – Approval of Sale of Property
                                                                                  □
                                                                                     71-Injunctive relief – imposition of stay
      31-Approval of sale of property of estate and of a co-owner - §363(h)          72-Injunctive relief – other


  □ 41-Objection / revocation of discharge - §727(c),(d),(e)
      FRBP 7001(4) – Objection/Revocation of Discharge
                                                                                  □ 81-Subordination of claim or interest
                                                                                  FRBP 7001(8) Subordination of Claim or Interest



  □ 51-Revocation of confirmation
      FRBP 7001(5) – Revocation of Confirmation
                                                                                  □5 91-Declaratory judgment
                                                                                  FRBP 7001(9) Declaratory Judgment



  □ 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
      FRBP 7001(6) – Dischargeability
                                                                                □
                                                                                FRBP 7001(10) Determination of Removed Action

  □ 62-Dischargeability - §523(a)(2), false pretenses, false representation,        01-Determination of removed claim or cause


  □ 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny □ SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
        actual fraud                                                            Other


                     (continued next column)                                    □1 02-Other (e.g. other actions that would have been brought in state court
                                                                                           if unrelated to bankruptcy case)
  □ Check if this case involves a substantive issue of state law                  □ Check if this is asserted to be a class action under FRCP 23
  □ Check if a jury trial is demanded in complaint    Demand $ Damages in an amount to be determined at trial
  Other Relief Sought Turnover of amounts due under note, avoidance of transfers to defendants,
                               declaratory relief, punitive and exemplary damages, costs, attorneys' fees




                                                                                                                                            D-CNL002043
                                                                                                                                      Appx. 00727
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   B1040 (FORM 1040) (12/15)

                BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
  NAME OF DEBTOR                               BANKRUPTCY CASE NO.
 Highland Capital Management, L.P.                                      19-34054-sgj11
  DISTRICT IN WHICH CASE IS PENDING                                     DIVISION OFFICE                   NAME OF JUDGE
 Northern District of Texas                                             Dallas                            Stacey G. C. Jernigan
                                       RELATED ADVERSARY PROCEEDING (IF ANY)
  PLAINTIFF                                      DEFENDANT                                                ADVERSARY
                                                                                                          PROCEEDING NO.

  DISTRICT IN WHICH ADVERSARY IS PENDING                                DIVISION OFFICE                   NAME OF JUDGE

  SIGNATURE OF ATTORNEY (OR PLAINTIFF)




  DATE                                                                  PRINT NAME OF ATTORNEY (OR PLAINTIFF)
 August 27, 2021                                                        Zachery Z. Annable



                                                           INSTRUCTIONS

             The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
   all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
   jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
   lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
   proceeding.

            A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
   Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
   Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
   completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
   information to process the adversary proceeding and prepare required statistical reports on court activity.

            The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
   or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
   explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
   attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

   Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

   Attorneys. Give the names and addresses of the attorneys, if known.

   Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

   Demand. Enter the dollar amount being demanded in the complaint.

   Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
   plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
   attorney, the plaintiff must sign.




                                                                                                                           D-CNL002044
                                                                                                                     Appx. 00728
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                              EXHIBIT 33




                                                                     Appx. 00729
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CONFIDENTIAL                                                               D-JDNL-033411
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CONFIDENTIAL                                                               D-JDNL-033412
                                                                        Appx. 00731
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CONFIDENTIAL                                                               D-JDNL-033413
                                                                        Appx. 00732
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CONFIDENTIAL                                                               D-JDNL-033414
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CONFIDENTIAL                                                               D-JDNL-033415
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CONFIDENTIAL                                                               D-JDNL-033416
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CONFIDENTIAL                                                               D-JDNL-033417
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CONFIDENTIAL                                                               D-JDNL-033418
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                              EXHIBIT 34




                                                                     Appx. 00741
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                      Highland Capital Management, L.P.
                      (A Delaware Limited Partnership)
                      Consolidated Financial Statements and
                      Supplemental Information
                      December 31, 2018




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         Highland Capital Management, L.P.
         (A Delaware Limited Partnership)
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                                                      Report of Independent Auditors

             To the General Partner of Highland Capital Management, L.P.

             We have audited the accompanying consolidated financial statements of Highland Capital Management, L.P. and its
             subsidiaries (collectively, the “Partnership”), which comprise the consolidated balance sheet as of December 31, 2018,
             and the related consolidated statements of income, of changes in partners’ capital and of cash flows for the year then
             ended.

             Management's Responsibility for the Consolidated Financial Statements

             Management is responsible for the preparation and fair presentation of the consolidated financial statements in
             accordance with accounting principles generally accepted in the United States of America; this includes the design,
             implementation, and maintenance of internal control relevant to the preparation and fair presentation of consolidated
             financial statements that are free from material misstatement, whether due to fraud or error.

             Auditors’ Responsibility

             Our responsibility is to express an opinion on the consolidated financial statements based on our audit. We conducted
             our audit in accordance with auditing standards generally accepted in the United States of America. Those standards
             require that we plan and perform the audit to obtain reasonable assurance about whether the consolidated financial
             statements are free from material misstatement.

             An audit involves performing procedures to obtain audit evidence about the amounts and disclosures in the
             consolidated financial statements. The procedures selected depend on our judgment, including the assessment of the
             risks of material misstatement of the consolidated financial statements, whether due to fraud or error. In making
             those risk assessments, we consider internal control relevant to the Partnership's preparation and fair presentation of
             the consolidated financial statements in order to design audit procedures that are appropriate in the circumstances,
             but not for the purpose of expressing an opinion on the effectiveness of the Partnership's internal control.
             Accordingly, we express no such opinion. An audit also includes evaluating the appropriateness of accounting policies
             used and the reasonableness of significant accounting estimates made by management, as well as evaluating the
             overall presentation of the consolidated financial statements. We believe that the audit evidence we have obtained is
             sufficient and appropriate to provide a basis for our audit opinion.

             Opinion

             In our opinion, the consolidated financial statements referred to above present fairly, in all material respects, the
             financial position of Highland Capital Management, L.P. and its subsidiaries as of December 31. 2018, and the results
             of their operations, changes in their partners’ capital and their cash flows for the year then ended, in accordance with
             accounting principles generally accepted in the United States of America.

             Other Matter

             Our audit was conducted for the purpose of forming an opinion on the consolidated financial statements taken as a
             whole. The Supplemental Consolidating Balance Sheet, the Supplemental Consolidating Statement of Income, the
             Supplemental Unconsolidated Balance Sheet and the Supplemental Unconsolidated Statement of Income are presented
             for purposes of additional analysis and are not a required part of the consolidated financial statements. The information
             is the responsibility of management and was derived from and relates directly to the underlying accounting and other
             records used to prepare the consolidated financial statements. The information has been subjected to the auditing
             procedures applied in the audit of the financial statements and certain additional procedures, including comparing and
             reconciling such information directly to the underlying accounting and other records used to prepare the consolidated
             financial statements or to the consolidated financial statements themselves and other additional procedures, in
             accordance with auditing standards generally accepted in the United States of America. In our opinion, the information
             is fairly stated, in all material respects, in relation to the consolidated financial statements taken as a whole.




             June 3, 2019




             PricewaterhouseCoopers LLP, 2121 N Pearl Street, Suite 2000, Dallas, Texas 75201
             T: (214) 999 1400, F: (214) 754 7991, www.pwc.com/us



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         Highland Capital Management, L.P.
         (A Delaware Limited Partnership)
         Consolidated Balance Sheet
         December 31, 2018



         (in thousands)


         Assets
         Cash and cash equivalents                                                              $        5,034
         Investments at fair value (cost $922,027)                                                     845,186
         Management and incentive fees receivable                                                        2,393
         Due from broker for securities sold, not yet settled                                              598
         Other assets                                                                                    9,255
         Notes and other amounts due from affiliates                                                   173,398
         Intangible assets                                                                               3,022
         Fixed assets and leasehold improvements, net of accumulated                                     4,581
            depreciation of $11,197
           Total assets                                                                         $    1,043,467

         Liabilities and partners' capital

         Liabilities
         Accounts payable                                                                       $        4,983
         Securities sold, not yet purchased (proceeds $26,135)                                          32,357
         Withdrawals payable                                                                            57,009
         Due to brokers                                                                                116,560
         Due to brokers for securities purchased, not yet settled                                        1,640
         Accrued and other liabilities                                                                  40,246
         Notes payable                                                                                  55,752
         Investment liabilities                                                                         46,092
           Total liabilities                                                                           354,639

         Non-controlling interest                                                                      316,867


         Partners' capital                                                                             371,961

           Total liabilities and partners' capital                                              $    1,043,467




                  The accompanying notes are an integral part of these consolidated financial statements.

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         Highland Capital Management, L.P.
         (A Delaware Limited Partnership)
         Consolidated Statement of Income
         Year Ended December 31, 2018

         (in thousands)

         Revenue:
          Management fees                                                                         $           36,600
          Interest and investment income                                                                      15,831
          Incentive fees                                                                                          70
          Shared services fees                                                                                 9,187
          Other income                                                                                         2,622

            Total revenue                                                                                     64,310

         Expenses:
          Compensation and benefits                                                                           34,475
          Professional fees                                                                                   17,679
          Interest expense                                                                                     5,670
          Marketing and advertising expense                                                                    2,413
          Depreciation and amortization                                                                        1,317
          Investment and research consulting                                                                   1,082
          Bad debt expense                                                                                     7,862
          Other operating expenses                                                                            10,027

            Total expenses                                                                                    80,525

         Other Income/(Expense):
          Other income                                                                                         9,826
          Impairment on intangible assets                                                                     (2,830)

            Total other income                                                                                 6,996

         Loss before investment and derivative activities                                                     (9,219)

         Realized and unrealized loss on investments and derivatives:
          Net realized loss on investments and derivatives                                                (31,517)
          Net change in unrealized loss on investments and derivatives                                    (93,755)
            Net realized and unrealized loss on investments and derivatives                              (125,272)

         Net loss                                                                                        (134,491)

         Net loss attributable to non-controlling interest                                                (61,313)

         Net loss attributable to Highland Capital Management, L.P.                               $       (73,178)




                    The accompanying notes are an integral part of these consolidated financial statements.

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         Highland Capital Management, L.P.
         (A Delaware Limited Partnership)
         Consolidated Statement of Changes in Partners' Capital
         Year Ended December 31, 2018

         (in thousands)


                                                                              General               Limited
                                                                              Partner               Partners           Total


         Partners' capital, December 31, 2017                             $         163         $      450,014     $     450,177

         Net loss attributable to Highland Capital Management, L.P.       $         (183)       $      (72,995)    $     (73,178)

         Partner distributions                                            $             (13)    $        (5,025)   $      (5,038)

         Partners' capital, December 31, 2018                             $             (33)    $      371,994     $     371,961




                   The accompanying notes are an integral part of these consolidated financial statements.

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         Highland Capital Management, L.P.
         (A Delaware Limited Partnership)
         Consolidated Statement of Cash Flows
         Year Ended December 31, 2018

         (in thousands)

         Cash flows from operating activities:
         Net loss                                                                                 $     (134,491)
         Adjustment to reconcile net loss to net cash
          provided from operating activities:
            Net realized loss on investments and derivative transactions                                    31,517
            Net change in unrealized loss on investments and derivative transactions                        93,755
            Amortization and depreciation                                                                    1,317
            Changes in assets and liabilities:
              Management and incentive fee receivable                                                         9,468
              Due from brokers                                                                                1,689
              Due from affiliate                                                                            (10,989)
              Other assets                                                                                    4,272
              Intangible assets                                                                               3,308
              Accounts payable                                                                                  546
              Accrued and other liabilities                                                                   1,214
              Due to brokers for securities purchased, not yet settled                                        1,886
              Due to brokers                                                                                 11,665
                  Net cash provided from operating activities                                               15,157
         Cash flows from investing activities:
            Purchases of fixed assets and leasehold improvements, net                                        (67)
            Purchases of investments                                                                    (195,263)
            Proceeds from dispositions of investments                                                    258,858
            Proceeds from securities sold, not yet purchased                                              46,550
            Issuance of notes receivable to affiliates                                                    (2,400)
            Proceeds from repayments of notes receivable from affiliates                                   3,395
            Purchases of investments to cover securities sold, not yet purchased                        (127,954)
                  Net cash used in investing activities                                                     (16,881)
         Cash flows from financing activities:
            Payments on notes payable & investment liabilities                                            (2,743)
            Proceeds from long-term debt                                                                  38,501
            Capital contributions from minority interest investors of consolidated entities               14,615
            Capital withdrawals by minority interest investors of consolidated entities                 (141,986)
            Partner distributions                                                                         (5,060)
                  Net cash used in financing activities                                                     (96,673)
         Net decrease in cash and cash equivalents                                                          (98,397)
         Cash and cash equivalents
            Beginning of year                                                                           103,479
            De-consolidating funds adjustment                                                               (48)

            End of year                                                                           $          5,034


         Supplemental disclosure of cash flow information:
            Interest paid during the year                                                         $       (5,629)
            Taxes paid during the year                                                                  (510,961)
            Investments acquired for non-cash consideration                                               26,018
            Investments disposed for non-cash consideration                                                  116


                  The accompanying notes are an integral part of these consolidated financial statements.

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         Highland Capital Management, L.P.
         Notes to Consolidated Financial Statements
         December 31, 2018



         1.   Description of Business

              Highland Capital Management, L.P. (the “Partnership”) was formed on July 7, 1997 as a limited
              partnership in the state of Delaware. The Partnership is a registered investment adviser under the
              Investment Advisers Act of 1940 that manages collateralized loan obligations (“CLOs”), hedge funds,
              private equity funds, and other leveraged loan transactions that are collateralized predominately
              by senior secured bank debt and high-yield bonds. The Partnership and its subsidiaries make
              direct investments in debt, equity, and other securities in the normal course of business. The
              Partnership’s general partner is Strand Advisors, Inc. (the “General Partner”). The Partnership is
              owned by an unaffiliated (other than through its direct ownership) trust as well as affiliated trusts and
              personal holdings of the senior management of the Partnership.

              As of December 31, 2018, the Partnership provided investment advisory services for eighteen CLOs,
              five separate accounts, one master limited partnership, and nine hedge funds or private equity
              structures, with total fee-earning assets under management of approximately $3.1 billion. The
              Partnership also provides investment services on behalf of affiliate advisors.

         2.   Summary of Significant Accounting Policies

              The following is a summary of the significant accounting policies followed by the Partnership in
              preparation of its consolidated financial statements.

              Basis of Accounting
              The Partnership’s consolidated financial statements have been prepared in accordance with U.S.
              generally accepted accounting principles in the United States of America (“U.S. GAAP”) as set forth
              in the Financial Accounting Standards Board’s Accounting Standards Codification and are stated in
              the United States Dollar.

              Use of Estimates
              The preparation of the consolidated financial statements in conformity with U.S. GAAP requires
              management to make estimates and assumptions that affect the amounts and disclosures in the
              consolidated financial statements. Actual results could differ from those estimates and those
              differences could be material.

              Principles of Consolidation
              The consolidated financial statements include the accounts of the Partnership and the Partnership’s
              consolidated subsidiaries (“Consolidated Entities”), which are comprised of (i) those entities in
              which it has controlling investment and has control over significant operating, financial and
              investing decisions, (ii) those entities in which it, as the general partner, has control over
              significant operating, financial and investing decisions, and (iii) variable interest entities (“VIEs”) in
              which it is the primary beneficiary as described below.

              The Partnership determines whether an entity has equity investors who lack the characteristics of a
              controlling financial interest or does not have sufficient equity at risk to finance its expected activities
              without additional subordinated financial support from other parties. If an entity has either of these
              characteristics, it is considered a VIE and must be consolidated by its primary beneficiary, which is
              the party that, along with its affiliates and de facto agents, absorbs a majority of the VIEs’ expected
              losses or receives a majority of the expected residual returns as a result of holding variable interests.




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         Highland Capital Management, L.P.
         (A Delaware Limited Partnership)
         Notes to Consolidated Financial Statements
         December 31, 2018



              The Partnership assesses consolidation requirements pursuant to ASU 2015-02: Consolidation,
              which was adopted using the modified retrospective method and resulted in an effective date of
              adoption of January 1, 2016.

              The Partnership and its affiliate’s involvement with unconsolidated VIEs is generally limited to that of
              an advisory services provider, and their investment, if any, represents an insignificant interest in the
              relevant investment entities’ assets under management. The Partnership’s affiliate’s exposure to risk
              in these entities is generally limited to any capital contribution it has made or is required to make and
              any earned but uncollected asset based and performance fees. The Partnership has not issued any
              investment performance guarantees to these VIEs or their investors, except that the Partnership has
              agreed to subject the full value of its equity interest in Highland Prometheus Fund to dollar-for-dollar
              reduction to the extent the third party investor in such fund does not achieve an annual target return.

              As of December 31, 2018, the net assets of the unconsolidated VIEs and the Partnership’s maximum
              risk of loss were as follows:

              (in thousands)


                                                                        Unconsolidated        Carrying Value and
                                                                        VIE Net Assets       Maximum Risk of Loss

               Sponsored investment funds                              $         206,329      $                12,178




              Consolidation of Variable Interest Entities
              The Partnership consolidates the following VIEs (along with majority owned funds: Highland
              Diversified Credit Fund, L.P., and Highland Select Equity Fund, L.P., collectively the "Consolidated
              Investment Funds"), as the Partnership (or its wholly owned subsidiaries) controls the general
              partner of the respective entities and is responsible for the daily operations of the following entities:

                  Highland Multi Strategy Credit Fund, L.P. (“Multi Strategy Master”), formerly Highland Credit
                   Opportunities CDO, L.P., a Delaware limited partnership that commenced operations on
                   December 15, 2005 and changed its name on August 26, 2014;

                  Highland Multi-Strategy Master Fund, L.P. (“Multi-Strategy Master”), a Bermuda limited
                   partnership that commenced operations on July 18, 2006;

                  Highland Multi-Strategy Fund, L.P. (“Multi-Strat Domestic Feeder”), a Delaware limited
                   partnership that commenced operations on July 6, 2006;

                  Highland Restoration Capital Partners Offshore, L.P. (“Restoration Offshore”), a Cayman limited
                   partnership that commenced operations on September 2, 2008;

                  Highland Restoration Capital Partners, L.P. (“Restoration Onshore”), a Delaware limited
                   partnership that commenced operations on September 2, 2008; and




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         Highland Capital Management, L.P.
         (A Delaware Limited Partnership)
         Notes to Consolidated Financial Statements
         December 31, 2018



              Consolidation of Majority Owned Entities
              The Partnership consolidates the following entities as it has a controlling majority interest:

                  100% interest in Highland Capital Special Allocation, LLC (“HCSA”), a Delaware limited liability
                   company that commenced operations on December 21, 2006;

                  100% interest in Highland Receivables Finance 1, LLC, a Delaware limited liability company
                   that commenced operations on December 29, 2006;

                  100% interest in Highland Multi-Strategy Onshore Master SubFund, LLC, a Delaware limited
                   liability company that commenced operations on July 19, 2006;

                  100% interest in Highland Multi-Strategy Onshore Master Subfund II, LLC, LLC, a Delaware
                   limited liability company that commenced operations on February 22, 2007;

                  100% interest in Highland Brasil, LLC, a Delaware limited liability company that commenced
                   operations on January 28, 2014;

                  100% interest in Highland Capital Management (Singapore) Pte, Ltd. (“HCM Singapore”), a
                   company organized in the Republic of Singapore that commenced operations on April 2, 2008;

                  100% interest in Highland Capital Management Korea, Ltd. (“HCM Korea”), a company
                   organized in the Republic of Korea that commenced operations on August 2, 2012;

                  100% interest in Highland Capital Management Latin America, L.P., (“HCM Latin America”), a
                   Cayman company that was formed on April 13, 2017;

                  100% interest in HE Capital, LLC, a Delaware limited liability company that was formed on
                   March 22, 2007;

                  100% interest in De Kooning, Ltd, a Cayman company that was formed on December 1, 2012;

                  100% interest in Hirst, Ltd., a Cayman company that was formed on December 1, 2012;

                  100% interest in Hockney, Ltd., a Cayman company that was formed on December 1, 2012;

                  100% interest in Oldenburg, Ltd., a Cayman company that was formed on December 1, 2012;

                  100% interest in Eames, Ltd, a Cayman company that was formed on December 12, 2012;

                  99.9% interest in Penant Management, L.P., a Delaware limited partnership that was formed on
                   December 12, 2012;

                  100% interest in Pollack, Ltd., a Cayman company that was formed on December 1, 2012;

                  100% interest in Warhol, Ltd., a Cayman company that was formed on December 1, 2012;




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         Highland Capital Management, L.P.
         (A Delaware Limited Partnership)
         Notes to Consolidated Financial Statements
         December 31, 2018

                  100% interest in HCREF-I Holding Corp., a Delaware company that was formed on December
                   13, 2012;

                  100% interest in HCREF-XI Holding Corp., a Delaware company that was formed on December
                   13, 2012;

                  100% interest in HCREF-XII Holding Corp., a Delaware company that was formed on December
                   13, 2012;

                  100% interest in Highland ERA Management, LLC, a Delaware limited liability company that
                   was formed on February 1, 2013;

                  100% interest in The Dondero Insurance Rabbi Trust., a trust that was formed on May 27, 2004;

                  100% interest in The Okada Insurance Rabbi Trust, a trust that was formed on May 27, 2004;

                  100% interest in Highland Employee Retention Assets (“HERA”), LLC, a Delaware limited
                   liability company that was formed on October 26, 2009;

                  100% interest in Highland Diversified Credit Fund, L.P. (“Highland Offshore Partners”), a
                   Delaware limited partnership which began operations on February 29, 2000 and was organized
                   for the sole purpose of investing substantially all of its assets in Highland Offshore Partners,
                   L.P.;

                  99.6% interest in Highland Select Equity Master Fund, LP, and Highland Select Equity Fund,
                   LP Delaware limited partnerships which began operations on January 1, 2002 and was
                   organized for the purpose of investing and trading in large and small cap stocks that trade for
                   less than intrinsic value;

                  100% interest in Highland Fund Holdings, LLC, a Delaware limited liability company that was
                   formed on May 24, 2016;

                  100% interest in Maple Avenue Holdings, LLC, a Texas limited liability company formed on
                   August 17, 2016;

                  100% interest in Highland HCF Advisor, Ltd., a Cayman company that was formed on October
                   27, 2017;

                  100% interest in Asury Holdings, LLC, a Delaware limited liability company formed on February
                   14, 2017 and;

                  100% interest in Highland CLO Management, Ltd., a Cayman company that was formed on
                   October 27, 2017.

              All inter-partnership and intercompany accounts and transactions involving the above listed
              Consolidated Entities have been eliminated in all of the aforementioned consolidating schedules.
              All the Consolidated Investment Funds are, for U.S. GAAP purposes, investment companies under
              the American Institute of Certified Public Accountants (AICPA) Audit and Accounting Guide -
              Investment Companies. The Partnership has retained the specialized accounting of these funds
              required under U.S. GAAP.



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         Highland Capital Management, L.P.
         (A Delaware Limited Partnership)
         Notes to Consolidated Financial Statements
         December 31, 2018

              The following table includes a rollforward of non-controlling interests from December 31, 2017, to
              December 31, 2018.

               (in thousands)

               Noncontrolling interest, December 31, 2017              $    424,844

               Net loss attributable to noncontrolling interest             (61,313)

               Noncontrolling partner contributions                          14,615

               Noncontrolling partner distributions                         (58,061)

               Noncontrolling interest of deconsolidated entities             (3,218)

               Noncontrolling interest, December 31, 2018              $    316,867



              Investment Transactions
              Investment transactions are recorded on a trade date basis. Investments in securities are valued
              at market or fair value at the date of the consolidated financial statements with the resulting net
              unrealized appreciation or depreciation reflected in the Consolidated Statement of Income. Realized
              gains and losses on the transactions are determined based on either the first-in, first-out or specific
              identification method.

              See Note 5 for the Partnership’s fair value process and hierarchy disclosures.

              Management and Incentive Fee Revenue
              The Partnership recognizes revenue as earned in connection with services provided under collateral
              and investment management agreements. Under these agreements, the Partnership earns
              management fees calculated as a percentage of assets under management or net asset value. The
              Partnership also has an opportunity to earn additional incentive fees and incentive allocations related
              to certain management agreements depending ultimately on the financial performance of the
              underlying assets the Partnership manages. During the year ended December 31, 2018, the
              Partnership and its Consolidated Entities recognized management fees and incentive fees of
              approximately $36.6 million and $0.1 million, respectively.

              Shared Services Revenue
              The Partnership recognizes revenue as earned in connection with services provided to related
              parties under various shared services agreements. Under these agreements, the Partnership earns
              fees for services including, but not limited to, back office support functions, marketing, and
              investment advisory services. During the year ended December 31, 2018, the Partnership and its
              Consolidated Entities recognized shared services revenue of approximately $9.2 million, which has
              been presented in Shared services fees in the Consolidated Statement of Income. See further
              discussion in Note 8.




                                                                  10



HIGHLY CONFIDENTIAL                                                                                            D-CNL000223
                                                                                                         Appx. 00753
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              Income and Expense Recognition
              Interest on currently paying debt instruments is accrued as earned and dividend income and
              dividends on securities sold, not yet purchased are recorded on the ex-dividend date, net of
              withholding taxes. In certain instances where the asset has defaulted or some amount of the interest
              payment is deemed uncollectable, interest is recognized when received. Discounts and premiums
              associated with purchases of investments are accreted and amortized to interest income, except for
              deep-discounted debt where ultimate collection of interest and principal may be in doubt. Such
              accretion/amortization is calculated on an effective-yield basis over the life of the investment.
              Amendment fees are recognized when agreed to by the underlying company and all settlement
              contingencies are met. Operating expenses, including interest on securities sold short, not yet
              purchased, are recorded on the accrual basis as incurred.

              Income Taxes
              The Partnership is not subject to federal income taxes, and therefore, no provision has been made
              for such taxes in the accompanying consolidated financial statements. Income taxes are the
              responsibility of the partners. Certain consolidated subsidiaries are subject to federal income taxes.

              Certain entities that are included in these consolidated financial statements are subject to federal
              and/or state income taxes. Deferred tax assets and liabilities are recognized for the future tax
              consequences attributable to differences between the financial statement carrying amounts of existing
              assets and liabilities and their respective tax bases. Deferred tax assets and liabilities are
              measured using enacted tax rates expected to apply to taxable income in the years in which those
              temporary differences are expected to be recovered or settled. The effect on deferred tax assets
              and liabilities of a change in tax rates is recognized in the period that includes the enactment date. See
              further discussion in Note 13.

              Cash and Cash Equivalents
              Cash and cash equivalents consist of cash held at U.S. and foreign banks, deposits with original
              maturities of less than 90 days, and money market funds. Cash equivalents are carried at cost,
              which approximates market value. At December 31, 2018, the Partnership and Consolidated
              Entities held cash balances at certain financial institutions in excess of the federally insured limit
              of $0.3 million. The Partnership and Consolidated Entities regularly monitor the credit quality of
              these institutions.

              Notes Receivable
              Notes receivable consists of secured promissory notes with maturities greater than one year. When
              available, the Partnership uses observable market data, including pricing on recent closed
              transactions to value notes. When appropriate, these notes may be valued using collateral values.
              Adjustments to the value may be performed in circumstances where attributes specific to the
              collateral exist suggesting impairment.

              Other Intangible Assets
              Goodwill and other intangible assets are recorded on the Consolidated Balance Sheet at current
              carrying values. The Partnership and its Consolidated Entities perform an impairment test on an
              annual basis. Any impairment in the value of other intangible assets is accounted for in the year
              when it occurs.

              Fixed Assets and Leasehold Improvements
              Fixed assets and leasehold improvements are carried at cost, less accumulated depreciation.
              Depreciation is provided using the straight-line method over the shorter of the estimated useful life
              of the assets or the lease term.


                                                              11



HIGHLY CONFIDENTIAL                                                                                               D-CNL000224
                                                                                                            Appx. 00754
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              The Partnership and its Consolidated Entities are depreciating fixed assets as follows:




              Securities Sold, Not Yet Purchased
              Certain of the Partnership’s Consolidated Investment Funds engage in “short sales” as part
              of their investment strategies. Short selling is the practice of selling securities that are borrowed
              from a third party. The Consolidated Investment Funds are required to return securities
              equivalent to those borrowed for the short sale at the lender’s demand.

              Pending the return of such securities, the Consolidated Investment Funds deposit with the lender as
              collateral the proceeds of the short sale plus additional cash. The amount of the required deposit,
              which earns interest, is adjusted periodically to reflect any change in the market price of the
              securities that the Consolidated Investment Funds are required to return to the lender. A gain
              (which cannot exceed the price at which the Consolidated Investment Funds sold the security short)
              or a loss (which theoretically could be unlimited in size) will be settled upon termination of a short
              sale.

              Due to/from Brokers
              Due to and from broker balances recorded on the Consolidated Balance Sheet include liquid assets
              maintained with brokers and counterparties for margin account balances and the amounts due for or
              due from the settlement of purchase and sales transactions. Certain due to and from broker balances
              have been reported on a net-by-counterparty basis where, in accordance with contractual rights and
              the Partnership’s opinion, there is a right of offset in the event of bankruptcy or default by a
              counterparty.

              Options Contracts
              The Partnership and the Consolidated Entities may purchase and write call and put options to gain
              market exposure or to hedge investments. A call option gives the purchaser of the option the right
              (but not the obligation) to buy, and obligates the seller to sell (when the option is exercised), the
              underlying position at the exercise price at any time or at a specified time during the option period.
              A put option gives the holder the right to sell and obligates the writer to buy the underlying position
              at the exercise price at any time or at a specified time during the option period. When the Partnership
              or the Consolidated Entities purchase (write) an option, an amount equal to the premium paid
              (received) by the entity is reflected as an asset (liability). The amount of the asset (liability) is
              subsequently marked-to-market to reflect the current market value of the option purchased (written).
              When a security is purchased (or sold) through an exercise of an option, the related premium paid
              (or received) is added to (or deducted from) the basis of the security acquired or deducted from (or
              added to) the proceeds of the security sold. When an option expires (or the Partnership or the
              Consolidated Entities enter into a closing transaction), the entity realizes a gain or loss on the option
              to the extent of the premiums received or paid (or gain or loss to the extent the cost of the closing
              transaction exceeds the premium received or paid). Exercise of a written option could result in the
              Partnership or the Consolidated Entities purchasing a security at a price different from the current
              market value.



                                                             12



HIGHLY CONFIDENTIAL                                                                                              D-CNL000225
                                                                                                           Appx. 00755
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              The Partnership and the Consolidated Entities are exposed to counterparty risk from the potential
              that a seller of an option contract does not sell or purchase the underlying asset as agreed under the
              terms of the option contract. The maximum risk of loss from counterparty risk to the Partnership and
              the Consolidated Entities is the greater of the fair value of its open option contracts or the premiums
              paid to purchase the open option contracts. The Partnership and the Consolidated Entities consider
              the credit risk of the intermediary counterparties to its option transactions in evaluating potential credit
              risk.

              Margin Transactions
              To obtain more investable cash, certain of the Consolidated Entities may use various forms of
              leverage including purchasing securities on margin. A margin transaction consists of purchasing an
              investment with money loaned by a broker and agreeing to repay the broker at a later date.
              Interest expense on the outstanding margin balance is based on market rates at the time of the
              borrowing.

              Withdrawals Payable
              Withdrawals are recognized as liabilities, net of incentive allocations, when the amount requested in
              the withdrawal notice becomes fixed and determinable. This generally may occur either at the time
              of receipt of the notice, or on the last day of a fiscal period, depending on the nature of the request.
              As a result, withdrawals paid after the end of the year, but based upon year-end capital balances are
              reflected as withdrawals payable at December 31, 2018. Withdrawal notices received for which the
              dollar amount is not fixed remains in capital until the amount is determined. At December 31,
              2018, the Consolidated Investment Funds had withdrawals payable of $57.0 million.

              Foreign Currency Transactions
              The Partnership's subsidiaries HCM Singapore and HCM Korea use Singapore dollars and Korean
              won, respectively, as their functional currency. All foreign currency asset and liability balances are
              presented in U.S. dollars in the consolidated financial statements, translated using the exchange rate
              as of December 31, 2018. Revenues and expenses are recorded in U.S. dollars using an average
              exchange rate for the relative period. Foreign currency transaction gains and losses resulting from
              transactions outside of the functional currency of an entity are included in Other income on the
              Consolidated Statement of Income.

              The Consolidated Entities do not isolate that portion of the results of operations resulting from
              changes in foreign exchange rates or investment or fluctuations from changes in market prices of
              securities held. Such fluctuations are included within the Net realized and unrealized gains or loss
              from investments on the Consolidated Statement of Income.

              Life Settlement Contracts
              One of the Consolidated Investment Funds, through a subsidiary, holds life settlement contracts and
              accounts for them using the fair value method. These contracts are recorded as a component of
              “Investments at fair value” on the Consolidated Balance Sheet. Realized and unrealized gains
              (losses) on the contracts are recorded in the Consolidated Income Statement. Cash flows relating to
              the purchase and sale of the contracts are recorded as a component of Purchase of investments and
              Proceeds from dispositions of investments on the Consolidated Statement of Cash Flows. At
              December 31, 2018, the Consolidated Investment Fund was invested in 13 policies, which had a
              total face value of approximately $145.3 million and a fair value of $35.7 million.




                                                               13



HIGHLY CONFIDENTIAL                                                                                                 D-CNL000226
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              Financing
              The Partnership and its Consolidated Entities may finance the acquisition of its investments in
              securities and loans through financing arrangements which are classified in Notes payable and
              Investment liabilities on the Consolidated Balance Sheet. The Partnership and its Consolidated
              Entities recognize interest expense on all borrowings on the accrual basis in the Consolidated
              Statement of Income.

              Financial Instruments
              The Partnership and its Consolidated Entities determine fair value of financial instruments as
              required by U.S. GAAP. The carrying amounts for cash and cash equivalents, receivables,
              accounts payable, withdrawals payable, debt and notes payable, due to brokers, investment
              liabilities and accrued liabilities approximate their fair values. For fair value of investment, see
              Note 5.

              Accounts Payable, Accrued and Other Liabilities
              Expenses are recorded on an accrual basis, as incurred. Current liabilities are included in Accounts
              payable. Long-term liabilities are included in Accrued and other liabilities.

              Partners’ Capital
              The Partnership agreement requires that income or loss of the Partnership be allocated to the
              partners in accordance with their respective partnership interests.




                                                           14



HIGHLY CONFIDENTIAL                                                                                          D-CNL000227
                                                                                                       Appx. 00757
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         3.   Fixed Assets and Leasehold Improvements

              Fixed assets and leasehold improvements are comprised of the following as of December 31, 2018:

               (in thousands)


               Leasehold improvements                                         $         7,193
               Buildings                                                                2,595
               Furniture and fixtures                                                   2,796
               Computer and equipment                                                   2,863
               Computer software                                                          331
               Accumulated depreciation                                               (11,197)

                                                                              $        4,581


              Depreciation expense in 2018 totaled approximately $1.3 million for the Partnership and its
              subsidiaries.



         4.   Investments

              Detailed below is a summary of the Partnership and its Consolidated Entities’ investments at
              December 31, 2018:

               (in thousands)                                          Amortized
                                                                       Cost/Cost       Fair Value

               Common equity securities                            $      423,306     $     535,374
               Closed-end mutual funds                                    100,788            94,845
               Floating rate syndicated bank loans                        142,586            72,622
               Real Estate Investment Trusts                               28,271            57,475
               Life settlement contracts                                   65,276            35,744
               Limited partnership interests                               24,892            30,521
               Rights & warrants                                           26,661             7,446
               LLC interests                                               10,629             2,775
               Preferred equity                                               258             8,282
               Asset-backed securities                                      7,350               102
               Participation interests                                      6,590               -
               Corporate bonds                                             85,421               -

               Total investments                                   $      922,027     $     845,186

                                                                       Proceeds        Fair Value

               Securities sold, not yet purchased                  $       (26,135)   $      (32,357)




                                                         15



HIGHLY CONFIDENTIAL                                                                                           D-CNL000228
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         5.   Fair Value of Financial Instruments

              Fair Value Measurement
              U.S. GAAP defines fair value as the price an entity would receive to sell an asset or pay to transfer
              a liability in an orderly transaction between market participants as of the measurement date. The
              standard requires fair value measurement techniques to reflect the assumptions market participants
              would use in pricing an asset or liability and, where possible, to maximize the use of observable
              inputs and minimize the use of unobservable inputs. It also establishes the following hierarchy that
              prioritizes the valuation inputs into three broad levels:

                  Level 1 – Valuation based on unadjusted quoted prices in active markets for identical assets
                   and liabilities that the Partnership and the Consolidated Entities have the ability to access as
                   of the measurement date. Valuations utilizing Level 1 inputs do not require any degree of
                   judgment.

                  Level 2 – Valuations based on (a) quoted prices for similar instruments in active markets; (b)
                   quoted prices for identical or similar instruments in markets that are not active that are reflective
                   of recent market transactions; or (c) models in which all significant inputs are observable, either
                   directly or indirectly.

                  Level 3 – Valuations based on indicative quotes that do not reflect recent market transactions
                   and models or other valuation techniques in which the inputs are unobservable and significant
                   to the fair value measurement, which includes situations where there is little, if any, market
                   activity for the asset or liability.

              The availability of observable inputs varies among financial instruments and is affected by
              numerous factors, including the type of instruments, the period of time in which the instrument has
              been established in the marketplace, market liquidity for an asset class and other characteristics
              particular to a transaction. When the inputs used in a valuation model are unobservable,
              management is required to exercise a greater degree of judgment to determine fair value than it
              would for observable inputs. For certain instruments, the inputs used to measure fair value may fall
              into different levels of the hierarchy discussed above. In those cases, the instruments are
              categorized for disclosure purposes based on the lowest level of inputs that are significant to their
              fair value measurements.

              The Partnership and Consolidated Entities use prices and inputs that are current as of the
              measurement dates. The Partnership also considers the counterparty’s non-performance risk
              when measuring the fair value of its investments.

              During periods of market dislocation, the ability to observe prices and inputs for certain
              instruments may change. These circumstances may result in the instruments being reclassified
              to different levels within the hierarchy over time. They also create an inherent risk in the estimation
              of fair value that could cause actual amounts to differ from management’s estimates. Whenever
              possible, the Partnership and its Consolidated Entities use actual market prices or relevant
              observable inputs to establish the fair value of its assets and liabilities. In cases where observable
              inputs are not available, the Partnership and Consolidated Entities develop methodologies that
              provide appropriate fair value estimates. These methodologies are reviewed on a continuous basis
              to account for changing market conditions.




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HIGHLY CONFIDENTIAL                                                                                               D-CNL000229
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              The Partnership has established policies, as described above, processes and procedures to ensure
              that valuation methodologies for investments and financial instruments that are categorized within all
              levels of the fair value hierarchy are fair and consistent. A Pricing Committee has been established
              to provide oversight of the valuation policies, processes and procedures, and is comprised of various
              personnel from the Partnership. The Pricing Committee meets monthly to review the proposed
              valuations for investments and financial instruments. The Pricing Committee is responsible for
              establishing the valuation policies and evaluating the overall fairness and consistent application of
              those policies.

              As of December 31, 2018, the Partnership and its Consolidated Entities’ investments consisted
              primarily of common equity securities, closed-end mutual funds, floating rate syndicated bank loans,
              real estate investment trusts, life settlement contracts, limited partnership interests, rights and
              warrants, LLC interests, asset-backed securities, and preferred equity. In addition, certain of the
              Consolidated Entities engage in short sale transactions. The majority of these financial instruments
              are not listed on national securities exchanges and management is required to use significant
              judgment to estimate their values.

              Public Equity Investments
              Publicly traded equities, including closed-end mutual funds and publicly traded REITs are valued at
              the closing price at the date of the financial statements. The fair value of equity investments that are
              not traded on national exchanges or through real-time quotation services are derived from
              methodologies that provide appropriate fair value estimates. Equity investments with quotes that are
              based on actual trades with a sufficient level of activity on or near the valuation date are classified
              as Level 2 assets.


              Private Equity Investments
              The Partnership and Consolidated Entities hold private equity investments which often resulted from
              the restructuring of other instruments which are classified as common equity securities. These
              assets are valued using market data obtained from a third-party pricing service and/or quotes from
              other parties dealing in the specific assets when available. In the event both a reliable market quote
              and third-party pricing service data are not available for such assets, the Partnership and
              Consolidated Entities will fair value the assets using various methodologies, as appropriate for
              individual investments, including comparable transaction multiples, comparable trading multiples,
              and/or discounted cash flow analysis. When utilizing comparable trading multiples, the Investment
              Manager determines comparable public companies (peers) based on industry, size, developmental
              stage, strategy, etc., and then calculates a trading multiple for each comparable company identified
              by using either a price to book ratio based on publically available information about the underlying
              comparable company or by dividing the enterprise value of the comparable company by its earnings
              before interest, taxes, depreciation and amortization (EBITDA) or similar metrics. In certain
              instances, the inputs used in the calculation of the trading multiples may vary based on the industry
              or development stage of the company. A multiple determined by the Investment Manager to be within
              a reasonable range as calculated amongst its peers is then applied to the underlying company’s
              price to book ratio or EBITDA (which may be normalized to adjust for certain nonrecurring events),
              to calculate the fair value of the underlying company. The fair value may be further adjusted for entity
              specific facts and circumstances. Private equity investments with quotes that are based on actual
              trades with a sufficient level of activity on or near the valuation date are classified as Level 2 assets.
              Private equity investments that are priced using quotes derived from implied values, bid/ask prices
              for trades that were never consummated, or a limited amount of actual trades are classified as Level
              3 assets because the inputs used by the brokers and pricing services to derive the values are not
              readily observable.



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HIGHLY CONFIDENTIAL                                                                                               D-CNL000230
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              The Consolidated Entities also invest in warrant securities of publicly–traded companies. The fair
              value of these investments is based on an option pricing model. The option model bases warrant
              value on a number of factors including underlying equity price as of the valuation date, strike price,
              exercise date, time to expiration and volatility. Warrant investments that have observable volatility
              are classified as Level 2 assets. Warrant investments where volatility inputs are not observable are
              valued using an estimated volatility input, and are classified as Level 3 assets.

              Debt Securities
              The Partnership and Consolidated Entities invest in various types of debt, including floating rate
              syndicated bank loans, which are almost exclusively valued using market data obtained from one or
              more third-party pricing services or brokers. In instances where a third-party pricing service does not
              provide pricing for a specific asset, the Partnership and Consolidated Entities first seek to obtain
              reliable market quotes from other parties dealing in the specific asset. Loans and bonds with quotes
              that are based on actual trades with a sufficient level of activity on or near the valuation date are
              classified as Level 2 assets. Loans and bonds that are priced using quotes derived from implied
              values, bid/ask prices for trades that were never consummated, or a limited amount of actual trades
              are classified as Level 3 assets because the inputs used by the brokers and pricing services to derive
              the values are not readily observable.

              Absent both a reliable market quote and third-party pricing service date, the Partnership and
              Consolidated Entities may use various models to establish an estimated exit price. These
              investments are classified as Level 3 assets. Models used for debt securities are primarily based on
              identifying comparable assets for which market data is available and pricing the target asset
              consistent with the yields of the comparable assets. As circumstances require, other industry
              accepted techniques may be used in modeling debt assets.

              Life Settlement Contracts
              Life Settlement contracts are valued using mortality tables and interest rate assumptions that
              are deemed by management to be appropriate for the demographic characteristics of the parties
              insured under the policies. Management generally utilizes an independent third party firm to
              perform these calculations and provide the relevant inputs. Management evaluates the results
              based on visible market activity and market research. Since these inputs are not readily
              observable, these contracts are classified as Level 3 assets.

              At December 31, 2018, the Consolidated Entities’ investments in life settlement contracts
              consisted of the following:

              (U.S. dollars in thousands, except number of policies)

               Remaining Life Expectancy
                       (in years)        Number of Policies Face Value Fair Value
                           1-2                   -           $     -    $      -
                           2-3                   3              33,785      16,940
                           3-4                   -                 -           -
                           4-5                   -                 -           -
                       Thereafter               10             111,500      18,804
                          Total                 13           $ 145,285 $    35,744




                                                            18



HIGHLY CONFIDENTIAL                                                                                            D-CNL000231
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              Asset-Backed Securities
              The Consolidated Entities invest in a variety of asset-backed securities. Asset-backed securities are
              generally valued based on complex cash flow models that analyze the cash flows generated by the
              investment’s underlying assets after adjusting for expected default rates, prepayment rates, collateral
              quality, market liquidity among other factors. These models are then adjusted based on spreads
              available in the market place from various research firms, dealers, and trading activity. The
              Consolidated Entities generally utilize an independent third parties to provide the relevant inputs.
              The Consolidated Entities evaluate the results based on visible market activity and market research.
              When appropriate, the Consolidated Entities may apply other techniques based on a specific asset’s
              characteristics. Asset-backed securities with quotes that are based on actual trades with a sufficient
              level of activity on or near the valuation date are classified as Level 2 assets. Asset-backed securities
              that are priced using quotes derived from implied values, bid/ask prices for trades that were never
              consummated, or a limited amount of actual trades are classified as Level 3 assets because the
              inputs used by the brokers and pricing services to derive the values are not readily observable.

              Limited Partnership and LLC Interests
              The Partnership and its Consolidated Entities hold limited partnership and LLC interests in various
              entities. These assets are valued as the net asset value of the limited partnership interests because
              the entities utilize fair value accounting for their own financial statements. These interests are
              classified as Level 3 assets.


              The Partnership categorizes investments recorded at fair value in accordance with the hierarchy
              established under U.S. GAAP. The following table provides a summary of the financial
              instruments recorded at fair value on a recurring basis by level within the hierarchy as of December
              31, 2018:

               (in thousands)
                                                                                                                Total Fair
                                                                                                                Value at
               Assets                                    Level 1           Level 2           Level 3             12/31/18
               Common equity securities                $   139,236       $   296,695       $    99,443        $     535,374
               Closed-end mutual funds                      94,845               -                   -               94,845
               Floating rate syndicated bank loans             -                  21            72,601               72,622
               Real Estate Investment Trusts                46,594            10,881                 -               57,475
               Life settlement contracts                       -                 -              35,744               35,744
               Limited partnership interests                   -                 -              30,521               30,521
               Rights & warrants                                20               123              7,303               7,446
               LLC interests                                   -                 -                2,775               2,775
               Preferred equity                              8,282               -                   -                8,282
               Asset-backed securities                         -                 -                  102                 102
               Total                                   $   288,977       $   307,720       $   248,489        $     845,186

               Liabilities
               Common stock & Options sold short       $     32,357      $        -                   -       $      32,357




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HIGHLY CONFIDENTIAL                                                                                              D-CNL000232
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                  The classification of a financial instrument within Level 3 is based on the significance of the
                  unobservable inputs to the overall fair value measurement. The following table provides a roll forward
                  of the investments classified within Level 3 for the year ended December 31, 2018:
           (in thousands)
                                                                                                                                 Net            Net
                                                  Fair Value at                                                                Realized     Unrealized         Fair Value at
                                                 Decem ber 31,                   Sales and                      Transfers       Gains /       Gains /         Decem ber 31,
                                                       2017        Purchases    Maturities     Restructures    Into Level 3   (Losses)       (Losses)               2018
           Common equity securities              $       141,201   $    1,058   $      (116)    $       -       $      -      $      -      $    (42,700)    $         99,443
           Floating rate syndicated bank loans            64,307       12,146        (1,952)            -              -          (2,799)            899               72,601
           Life settlement contracts                      28,959        7,353           -               -              -             -              (568)              35,744
           Limited partnership interests                  27,863        4,600        (4,766)            -              928           351           1,545               30,521
           Rights & w arrants                              8,013          -             -               -              -             -              (710)                7,303
           LLC interests                                   3,352          165        (1,312)            -              -             985            (415)                2,775
           Asset-backed securities                         6,477            1        (3,051)         (2,171)          (928)      (39,580)         39,354                   102
                                                 $       280,172   $   25,323   $ (11,197)      $    (2,171)    $      -      $ (41,043)    $     (2,595)    $        248,489




                  All net realized and unrealized gains and losses in the tables above are reflected in the
                  accompanying Consolidated Income Statement. Approximately $41.8 million of the net unrealized
                  losses presented in the table above relate to investments held as of December 31, 2018.

                 The following page includes a summary of significant unobservable inputs used in the fair valuations
                 of assets and liabilities categorized within Level 3 of the fair value hierarchy.




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HIGHLY CONFIDENTIAL                                                                                                                                               D-CNL000233
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                                                  Ending Balance
                            Category               at 12/31/2018           Valuation Technique           Unobservable Inputs                 Input Value(s)

            Common equity securities              $       99,443 Multiples Analysis              Multiple of EBITDA                            2.5x - 7.0x
                                                                                                 Cap Rate                                      8.0 - 10.0%
                                                                                                 Multiple of Revenue                          0.20x - 0.30x
                                                                                                 Liquidity Discount                               25%
                                                                   Discounted Cash Flow          Discount Rate                                10.5 - 40.0%
                                                                                                 Terminal Multiple                            1.25x - 6.50x
                                                                                                 Long-Term Grow th Rate                           2%
                                                                   Transaction Analysis          Multiple of EBITDA                           4.0x - 7.75x
                                                                                                 Cap Rate                                       8 - 10%
                                                                   Bid Indications               Enterprise Value ($mm)                      $720.0 - $765.0
                                                                   Impairment Analysis           Recoverable Value                                0%
                                                                   Appraisal                     N/A                                              N/A

            Floating rate syndicated bank loans           72,601 Multiples Analysis              Multiple of EBITDA                            2.0x - 5.0x
                                                                                                 Multiple of Revenue                          0.35x - 0.50x
                                                                   Escrow Recovery Analysis      Risk Discount                                    40%
                                                                   Appraisal                     N\A                                              N\A
                                                                   Bid Indications               Transaction Price                                10%
                                                                   Sales Proceeds Analysis       Discount Rate                                    6.0%
                                                                   Discounted Cash Flow          Discount Rate                               12.3% - 40.0%
                                                                                                 Terminal Multiple                               1.25x
                                                                                                 Spread Adjustment                            0.0% - 6.3%

            Life settlement contracts                     35,744 Discounted Cash Flow            Discount Rate                                15.0 - 16.0%

            Limited partnership interests                 30,521 Net Asset Value                 Various models including liquidation             N/A
                                                                                                 analysis, and third-party pricing vendor


            Rights & w arrants                             7,303 Discounted Cash Flow            Discount Rate                               11.0% - 17.0%
                                                                                                 Terminal Multiple                                6.5x
                                                                   Multiples Analysis            Multiple of EBITDA                            6.0x - 7.0x
                                                                   Transaction Analysis          Multiple of EBITDA                           7.25x - 7.75x
                                                                   Bid Indication of Value       Enterprise Value (in millions)              $720.0 - $765.0

            LLC interests                                  2,775 Discounted Cash Flow            Discount Rate                                    6%
                                                                   Adjusted Appraisal            Minority Discount                                25%
                                                                   Bid Indication                Total Purchase Price (in millions)             $130.00

            Asset-backed securities                          102 Adjusted NAV                    N/A                                              N/A


            Total                                 $      248,489




                In addition to the unobservable inputs utilized for various valuation methodologies, the Partnership
                often uses a combination of two or more valuation methodologies to determine fair value for a single
                holding. In such instances, the Partnership assesses the methodologies and ascribes weightings to
                each methodology. The selection of weightings is an inherently subjective process, dependent on
                professional judgement. These selections may have a material impact to the concluded fair value for
                such holdings.

                The significant unobservable inputs used in the fair value measurement of the Partnership’s assets
                could fluctuate significantly, resulting in a significantly higher or lower fair value measurement.




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         6.   Financial Instruments with Concentration of Credit and Other Risks

              Financial Instruments
              The Partnership and its Consolidated Entities’ investments include, among other things, equity
              securities, debt securities (both investment and non-investment grade) and bank loans. The
              Consolidated Entities may also invest in derivative instruments, including total return and credit
              default swaps. Investments in these derivative instruments throughout the year subject the
              Consolidated Entities to off-balance sheet market risk, where changes in the market or fair value of
              the financial instruments underlying the derivative instruments may be in excess of the amounts
              recognized in the Consolidated Balance Sheet.

              Market Risk
              Market risk represents the potential loss that may be incurred by the Partnership and its Consolidated
              Entities due to a change in the market value of its investments or the value of the investments
              underlying swap agreements. The Partnership and its Consolidated Entities’ exposure to market
              risk is affected by a number of macroeconomic factors, such as interest rates, availability of credit,
              inflation rates, economic uncertainty and changes in laws and regulations. These factors may affect
              the level and volatility of securities prices and the liquidity of the Partnership and its Consolidated
              Entities investments. Volatility or illiquidity could impair the Partnership and its Consolidated Entities
              performance or result in losses. The Partnership and its Consolidated Entities may maintain
              substantial trading positions that can be adversely affected by the level of volatility in the financial
              markets. The performance of life settlement contracts may be adversely impacted by the under
              estimation of mortality and other rates.

              Credit Risk
              Credit risk is the potential loss the Partnership and its Consolidated Entities may incur as a result of
              the failure of a counterparty or an issuer to make payments according to the terms of a contract.
              Because the Consolidated Entities enter into over-the-counter derivatives such as swaps, it is
              exposed to the credit risk of their counterparties. To limit the credit risk associated with such
              transactions, the Consolidated Entities execute transactions with financial institutions that the
              Investment Manager believes to be financially viable.

              Liquidity Risk
              The Consolidated Entities’ limited partner interests have not been registered under the Securities
              Act of 1933 or any other applicable securities law. There is no public market for the interests, and
              neither the Consolidated Entities nor their manager expects such a market to develop.

              Business Risk
              The Partnership provides advisory services to the Consolidated Entities. Consolidated Entities
              could be materially affected by the liquidity, credit and other events of the Partnership.




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              High Yield Bonds and Loans
              The Partnership and its Consolidated Entities’ investment portfolios consist of floating rate
              syndicated bank loans and fixed income securities that are not listed on a national securities
              exchange. These investments trade in a limited market and it may not be possible to immediately
              liquidate them if needed. In addition, certain of the Partnership and its Consolidated Entities’
              investments have resale or transfer restrictions that further reduce their liquidity. Because of the
              inherent uncertainty of these investments, the Investment Manager’s best estimates may differ
              significantly from values that would have been used had a broader market for the investments
              existed.

              When the Partnership and its Consolidated Entities purchase a senior secured syndicated bank
              loan, it enters into a contractual relationship directly with the corporate borrower, and as such, is
              exposed to certain degrees of risk, including interest rate risk, market risk and the potential non-
              payment of principal and interest, including default or bankruptcy of the corporate borrower or early
              payment by the corporate borrower. Typically, senior secured syndicated bank loans are secured
              by the assets of the corporate borrower and the Partnership and its Consolidated Entities have a
              policy of regularly reviewing the adequacy of each corporate borrower’s collateral.

              The Partnership and its Consolidated Entities may invest in high-yield bonds that have been
              assigned lower rating categories or are not rated by the various credit rating agencies. Bonds in the
              lower rating categories are generally considered to be speculative with respect to the issuer’s ability
              to repay principal and pay interest. They are also subject to greater risks than bonds with higher
              ratings in the case of deterioration of general economic conditions. Due to these risks, the yields
              and prices of lower-rated bonds are generally volatile, and the market for them is limited, which may
              affect the ability to liquidate them if needed.

              Debt Obligations
              The Partnership and its Consolidated Entities’ investment portfolio consists of collateralized loan
              obligations that are not listed on a national securities exchange. These investments trade in a limited
              market and it may not be possible to immediately liquidate them if needed. Because of the inherent
              uncertainty of these investments, the Partnership’s best estimates may differ significantly from values
              that would have been used had broader market for the investments existed.

              Distressed Investments
              A portion of the high yield corporate bonds and senior secured syndicated bank loans in which the
              Partnership and its Consolidated Entities invest have been issued by distressed companies in an
              unstable financial condition that have experienced poor operating performance and may be involved
              in bankruptcy or other reorganization and liquidation proceedings. These investments have
              substantial inherent risks. Many of these distressed companies are likely to have significantly
              leveraged capital structures, which make them highly sensitive to declines in revenue and to
              increases in expenses and interest rates. The leveraged capital structure also exposes the
              companies to adverse economic factors, including macroeconomic conditions, which may affect their
              ability to repay borrowed amounts on schedule.




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              Corporate Bonds, Preferred Securities, and Loans
              The Consolidated Entities may invest in corporate bonds, floating rate syndicated bank loans, and
              preferred securities which are rated in the lower rating categories by the various credit rating
              agencies (or in comparable non-rated securities). Securities in the lower rating categories are
              subject to greater risk of loss of principal and interest than higher-rated securities and are generally
              considered to be predominantly speculative with respect to the issuer's capacity to pay interest and
              repay principal. They are also subject to greater risks than securities with higher ratings in the case
              of deterioration of general economic conditions. Because of these greater risks associated with the
              lower-rated securities, the yields and prices of such securities may be more volatile than those for
              higher-rated securities. The market for lower-rated securities is thinner and less active than that for
              higher-rated securities, which could adversely affect the prices at which these securities may be sold
              by the Consolidated Entities.

              Limited Diversification
              The Investment Manager attempts to diversify the Consolidated Entities’ investments. However, the
              Consolidated Entities’ portfolios could become significantly concentrated in any one issuer, industry,
              sector strategy, country or geographic region, and such concentration of credit risk may increase the
              losses suffered by the Consolidated Entities. In addition, it is possible that the Investment Manager
              may select investments that are concentrated in certain classes of financial instruments. This limited
              diversity could expose the Consolidated Entities to losses that are disproportionate to market
              movements as a whole.

              At December 31, 2018, the Consolidated Entities’ investments were predominantly concentrated in
              the United States and Cayman Islands.

              Exit Difficulties
              The Partnership and its Consolidated Entities cannot assure investors that it will be able to exit its
              investments by sale or other disposition at attractive prices, if at all. The mergers and acquisitions
              and public securities markets are highly cyclical, which means that the Consolidated Entities’
              investments, even its best performing investments, may be illiquid for extended periods of time
              despite the Consolidated Entities’ efforts to identify attractive exit opportunities. Additionally, a
              significant portion of the Consolidated Entities’ assets at any time will likely consist of debt obligations
              and other securities that are thinly-traded, for which no market exists and/or are restricted as to their
              transferability under applicable law and/or documents governing particular transactions of the
              Consolidated Entities. In some cases, the Consolidated Entities may be unable to realize an
              investment prior to the date on which the Consolidated Entities are scheduled to terminate and/or
              have to sell or otherwise dispose of one or more investments on disadvantageous terms as a result
              of the Consolidated Entities’ termination, or distribute such investments in kind.

              Custody Risk
              The clearing operations for the Partnership and its Consolidated Entities are provided by major
              financial institutions. In addition, all of the Partnership and its Consolidated Entities’ cash and
              investments are held with banks or brokerage firms, which have worldwide custody facilities and are
              members of all major securities exchanges. The Partnership or its Consolidated Entities may lose
              all or a portion of the assets held by these banks or brokerage firms if they become insolvent or fail
              to perform pursuant to the terms of their obligations. While both the U.S. Bankruptcy Code and the
              Securities Investor Protection Act of 1970 seek to protect customer property in the event of a broker-
              dealer’s failure, insolvency or liquidation, the Partnership and its Consolidated Entities might be
              unable to recover the full value of their assets or incur losses due to their assets being unavailable
              for a period of time.



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              Leverage Risk
              The Consolidated Entities may borrow funds from brokers, banks and other lenders to finance its
              trading operations. The use of leverage can, in certain circumstances, magnify the losses to which
              the Consolidated Entities’ investment portfolio may be subject. The use of margin and short-term
              borrowings creates several risks for the Consolidated Entities. If the value of the Consolidated
              Entities’ securities fall below the margin level required by a counterparty, additional margin deposits
              would be required. If the Consolidated Entities are unable to satisfy a margin call, the counterparty
              could liquidate the Consolidated Entities’ positions in some or all of the financial instruments that are
              in the account at the prime broker and cause the Consolidated Entities to incur significant losses. In
              addition, to the extent the Consolidated Entities have posted excess collateral for margin
              transactions, there is a risk that the counterparty will fail to fulfill its obligation to return the full value
              of that collateral.

              The failure to satisfy a margin call, or the occurrence of other material defaults under margin or other
              financing agreements, may trigger cross-defaults under the Consolidated Entities’ agreements with
              other brokers, lenders, clearing firms or other counterparties, multiplying the adverse impact to the
              Consolidated Entities. In addition, because the use of leverage allows the Consolidated Entities to
              control positions worth significantly more than its investment in those positions, the amount that the
              Consolidated Entities may lose in the event of adverse price movements is high in relation to the
              amount of their investment.

              In the event of a sudden drop in the value of the Consolidated Entities’ assets, the Consolidated
              Entities may not be able to liquidate assets quickly enough to satisfy their margin or collateral
              requirements. As a result, the Consolidated Entities may become subject to claims of financial
              intermediaries, and such claims could exceed the value of its assets. The banks and dealers that
              provide financing to the Consolidated Entities have the ability to apply discretionary margin, haircut,
              and financing and collateral valuation policies. Changes by banks and dealers in any of the foregoing
              may result in large margin calls, loss of financing and forced liquidations of positions and
              disadvantageous prices.

              Foreign Currency Risk
              The Partnership and its Consolidated Entities may invest in securities or maintain cash denominated
              in currencies other than the U.S. dollar. The Partnership and its Consolidated Entities are exposed
              to risk that the exchange rate of the U.S. dollar relative to other currencies may change in a manner
              that has an adverse effect on the reported value of the Partnership and its Consolidated Entities’
              assets and liabilities denominated in currencies other than the U.S. dollar.

              Concentration of Investments
              At December 31, 2018, the Consolidated Entities’ investments and derivative contracts were
              predominantly concentrated in the United States and Cayman Islands and across several industries.

              Litigation Risk
              The Partnership and its Consolidated Entities are periodically subject to legal actions arising from
              the ordinary course of business. The ultimate outcome of these cases is inherently uncertain and
              could result in additional losses to the Partnership and/or its Consolidated Entities. Refer to Note 14
              for a discussion of open litigation.




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         7.   Intangible Assets

              On May 12, 2017, HCM Latin America, as manager, purchased all rights and obligations for
              management of a certain hedge fund. As of December 31, 2018, the current carrying value of
              these rights and obligations is $3.0 million, which consists of the original purchase price of $2.0
              million and a deferred purchase price of $1.0 million and is reflected in the Consolidated Balance
              Sheet.

              The Partnership and its Consolidated Entities perform an impairment test as required by U.S. GAAP
              on a yearly basis. The Partnership has determined that an impairment charge was necessary for
              the value obtained on December 19, 2017, for subadvisory and shared servicing rights from an
              affiliate. As of December 31, 2018, the asset was determined to be fully impaired and an
              impairment expense of $2.8 million is reflected in the Consolidated Statement of Income.

         8.   Related Party Transactions

              Investments Under Common Control
              Certain members of the Partnership’s management serve as members on the Boards of Directors
              for some of the companies with which it invests. Because these individuals participate in the
              management of these companies, investments held by the Partnership and its subsidiaries in these
              companies may, from time to time, not be freely tradable. As of December 31, 2018, the Partnership
              and its Consolidated Entities held the following investments in these companies:

               (in thousands)
                                                                                        Fair
               Issuer                                        Type of Investment        Value
               Metro-Goldwyn-Mayer, Inc.                     Common Stock              296,695
               Cornerstone Healthcare Group Holding, Inc.    Common Equity              59,539
               OmniMax International, Inc.                   Term Loan                  52,464
               JHT Holdings Inc.                             Common Stock               25,099
               OmniMax International, Inc.                   Common Equity               7,804
               Carey International, Inc.                     Term Loan                   5,401
               CCS Medical, Inc.                             Loan                        5,960
               Trussway Holdings, LLC                        Common Equity               4,582
               JHT Holdings Inc.                             Term Loan                   4,160
               OmniMax International, Inc.                   Warrants                      551




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              Certain investments are issued and managed by affiliates of the Partnership. These investments are
              subject to the same valuation policies and procedures as similar investments within the same level
              of the fair value hierarchy. As of December 31, 2018, the Partnership and the Consolidated Entities
              held the following investments that were issued and managed by affiliates of the Partnership:

               (in thousands)
                                                                                                                   Fair
               Issuer                                                      Type of Investment                     Value
               Harko, LLC                                                  LLC Units                            $    2,721
               Highland CLO Funding                                        Partnership Interest                        610
               Highland Energy MLP Fund                                    Mutual Fund Shares                        1,363
               Highland Floating Rate Opportunities Fund                   Closed-end mutual fund shares               832
               Highland Global Allocation Fund                             Mutual Fund Shares                        2,173
               Highland Long/Short Equity Fund                             Mutual Fund Shares                          267
               Highland Long/Short Healthcare Fund                         Mutual Fund Shares                        2,963
               Highland Master Loan Fund                                   Limited Partnership interest                106
               Highland Merger Arbitrage Fund                              Mutual Fund Shares                        1,321
               Highland Opportunistic Credit Fund                          Mutual Fund Shares                        5,477
               Highland Premier Growth Equity Fund                         Mutual Fund Shares                           64
               Highland Small Cap Equity Fund                              Mutual Fund Shares                          465
               NexPoint Strategic Opportunities Fund                       Mutual Fund Shares                       36,563
               NexPoint Multi Family Capital Trust                         REIT                                     10,881
               NexPoint Real Estate Strategies Fund                        Closed-end mutual fund shares             1,454
               NexPoint Residential Trust                                  REIT                                     85,223

              Expenses Reimbursable by Funds Managed
              In the normal course of business, the Partnership typically pays invoices it receives from vendors for
              various services provided to the investment funds the Partnership manages. A summary of these
              eligible reimbursable expenses are then submitted to the trustee/administrator for each respective
              fund, typically on a quarterly basis, and the Partnership receives payment as reimbursement for
              paying the invoices on behalf of the respective funds. As of December 31, 2018, approximately $6.4
              million in reimbursable expenses were due from various affiliated funds and entities for these eligible
              expenses, and is included in Other Assets in the accompanying Consolidated Balance Sheet.

               Accounts Held with Related Party
              During the year the Partnership and its Consolidated Entities maintained bank accounts at NexBank,
              SSB (“NexBank”), a related party by way of common control. As of December 31, 2018, balances in
              these accounts were approximately $0.5 million, a portion of which exceeds Federal deposit
              insurance limits.

              Investment in Affiliated Loans
              During the year, certain subsidiaries of the Partnership were invested in several bank loans in which
              NexBank was the agent bank. Interest earned on the loans during the year was approximately $10.4
              million and is included in interest and investment income in the Consolidated Statement of Income.
              At December 31, 2018, these subsidiaries were invested in NexBank agented loans with
              commitments and market values totaling approximately $83.3 million and $56.5 million, respectively.




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              Notes and Other Amounts Due from Affiliates
              During the year ended December 31, 2018, Highland Capital Management Fund Advisors, L.P.
              (“HCMFA”) did not issue any new promissory notes to the Partnership. The outstanding promissory
              notes accrue interest at a rate ranging from of 1.97 - 2.62%, the mid-term applicable federal rate as
              promulgated by the Internal Revenue Service. As of December 31, 2018 total interest and principal
              due on outstanding promissory notes was approximately $5.3 million and is payable on demand. The
              Partnership will not demand payment on amounts owed that exceed HCMFA’s excess cash
              availability prior to May 31, 2021. The fair value of the Partnership’s outstanding notes receivable
              approximates the carrying value of the notes receivable.

              During the year ended December 31, 2018, NexPoint Advisors, L.P. (“NPA”) did not issue any new
              promissory notes to the Partnership. The outstanding promissory note accrues interest at a rate of
              6.0%. As of December 31, 2018 total interest and principal due on the outstanding promissory note
              was approximately $28.6 million and is payable in annual installments throughout the term of the
              loan. The fair value of the Partnership’s outstanding notes receivable approximates the carrying
              value of the notes receivable.

              During the year ended December 31, 2018, HCRE Partners, LLC (“HCRE”) issued a promissory note
              to the Partnership in the amount of $0.8 million. The note accrues interest at a rate of 8.0%. As of
              December 31, 2018 total interest and principal due on outstanding promissory notes was
              approximately $9.4 million and is generally payable in annual installments throughout the term of the
              note. The fair value of the Partnership’s outstanding notes receivable approximates the carrying
              value of the notes receivable.

              During the year ended December 31, 2018, Highland Capital Management Services, Inc. (“HCMSI”)
              issued promissory notes to the Partnership in the aggregate amount of $0.4 million. All outstanding
              promissory notes accrue interest at a rate ranging from 2.75% – 3.05%, the long-term applicable
              federal rate as promulgated by the Internal Revenue Service. As of December 31, 2018 total interest
              and principal due on outstanding promissory notes was approximately $14.0 million and is generally
              payable in annual installments throughout the term of the notes. The fair value of the Partnership’s
              outstanding notes receivable approximates the carrying value of the notes receivable.

              During the year ended December 31, 2018, James Dondero (“Dondero”) issued promissory notes to
              the Partnership in the aggregate amount of $14.9 million. The outstanding promissory notes accrue
              interest at a rate ranging from 2.03% – 2.95%, the average long-term applicable federal rate as
              promulgated by the Internal Revenue Service. As of December 31, 2018 total interest and principal
              due on outstanding promissory notes was approximately $29.2 million and is generally payable in
              annual installments throughout the term of the note. The fair value of the Partnership’s outstanding
              notes receivable approximates the carrying value of the notes receivable.

              During the year ended December 31, 2018, Mark Okada (“Okada”) did not issue any new promissory
              notes to the Partnership. All outstanding promissory notes accrue interest at a rate of 2.25%, the
              average long-term applicable federal rate as promulgated by the Internal Revenue Service. As of
              December 31, 2018 total interest and principal due on outstanding promissory notes was
              approximately $1.3 million and is payable on demand. The fair value of the Partnership’s outstanding
              notes receivable approximates the carrying value of the notes receivable.




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              During the year ended December 31, 2018, The Dugaboy Investment Trust (“Dugaboy”) did not issue
              any new promissory notes to the Partnership. All outstanding promissory notes accrue interest at a
              rate of 3.26%, the average long-term applicable federal rate as promulgated by the Internal Revenue
              Service. As of December 31, 2018 total interest and principal due on outstanding promissory notes
              was approximately $20.1 million and is payable in annual installments throughout the term of the
              note. The fair value of the Partnership’s outstanding notes receivable approximates the carrying
              value of the notes receivable.

              On December 21, 2015, the Partnership entered into a contribution agreement (the “Contribution
              Agreement”) with an affiliated trust. Pursuant to the Contribution Agreement, a note (the “Note
              Receivable”) in the amount of $63.0 million was due to the Partnership. The Note Receivable will
              mature on December 21, 2030. The Note Receivable accrues interest at a rate of 2.61% per annum.
              Accrued interest is paid-in-kind, with principal receipts occurring pursuant to a note amortization
              schedule, with such annual receipts commencing December 21, 2019. During the year, the trust pre-
              paid $2.1 million. As of December 31, 2018 total interest and principal due on the Note Receivable
              was approximately $60.2 million.

              Services Performed by or on Behalf of an Affiliate
              In March 2007, Highland Capital of New York, Inc. a New York corporation (“Highland New York”),
              was formed and has performed marketing services for the Partnership and its affiliates in connection
              with the Partnership’s investment management and advising business, including, but not limited to,
              assisting Highland Capital in the marketing and sales of interests in investment pools for which
              Highland Capital serves as the investment manager. The Partnership is charged a marketing
              services fee for the services that Highland New York performs on the Partnership’s behalf.
              Separately, the Partnership pays for, and seeks reimbursement for, various operating expenses on
              behalf of Highland New York. For the year ended December 31, 2018, total marketing fee expense
              charged to the Partnership by Highland New York was approximately $0.9 million. Because the
              Partnership funded Highland New York’s operations, including amounts above the marketing fee, as
              of December 31, 2018, net amounts owed to the Partnership by Highland New York was
              approximately $4.9 million.

              Effective December 15, 2011, the Partnership commenced performing services on behalf of HCMFA,
              a Delaware limited partnership and registered investment advisor. Services include, but are not
              limited to compliance, accounting, human resources, IT and other back office support functions. The
              Partnership charges a fee for the services performed. For the year ended December 31, 2018, the
              total fee charged by the Partnership to HCMFA was approximately $2.7 million and as of December
              31, 2018, amount owed to the Partnership by HCMFA was approximately $0.2 million.

              Effective July 29, 2010, the Partnership commenced performing services on behalf of Falcon E&P
              Opportunities GP, LLC. (“Falcon”), a Delaware limited liability company and registered investment
              advisor. Services include, but are not limited to compliance, accounting, human resources, IT and
              other back office support functions. The Partnership charges a fee for the services performed. For
              the year ended December 31, 2018, the total fee charged by the Partnership to Falcon was
              approximately $0.2 million and as of December 31, 2018, no amounts were owed to the Partnership
              by Falcon for services rendered.




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              Effective March 17, 2017, pursuant to the Third Amended and Restated Sub-Advisory Agreement
              and the Fourth Amended and Restated Shared Services Agreement, the Partnership continued
              performing services on behalf of Acis Capital Management, L.P. (“Acis”), a Delaware limited
              partnership and registered investment advisor. Subadvisory services include investment advisory
              services and shared services include, but are not limited to compliance, accounting, human
              resources, IT and other back office support functions. The Partnership charges a fee for the services
              performed. For the year ended December 31, 2018, the total fees charged by the Partnership to Acis
              for shared services and subadvisory fees were approximately $2.6 million and $3.4 million,
              respectively. As of December 31, 2018, amount owed to the Partnership by Acis was approximately
              $6.0 million. Although such fees were earned in 2018, all related revenues and receivables recorded
              by the Partnership have been fully reserved against based on estimated collectability.

              Effective January 1, 2018, pursuant to the Third Amended and Restated Shared Services
              Agreement, the Partnership commenced performing services on behalf of NPA. Services include,
              but are not limited to compliance, accounting, human resources, IT and other back office support
              functions. The Partnership charges a fee for the services performed. For the year ended December
              31, 2018, the total fee charged by the Partnership to NexPoint was approximately $2.0 million and
              as of December 31, 2018, no amounts were owed to the Partnership by NexPoint for services
              rendered.

              Effective September 1, 2017, pursuant to the Third Amended and Restated Shared Services
              Agreement dated September 26, 2017, the Partnership commenced performing services on behalf
              of NexBank Capital, Inc. (“NexBank Capital”), financial services company. Services include, but are
              not limited to compliance, accounting, human resources, IT and other back office support functions.
              The Partnership charges a fee for the services performed. For the year ended December 31, 2018,
              the total fee charged by the Partnership to NexBank Capital was approximately $0.2 million and as
              of December 31, 2018, $0.1 million was owed to the Partnership by NexBank Capital for services
              rendered.

              Effective September 1, 2017, pursuant to the Third Amended and Restated Investment Advisory
              Agreement dated September 26, 2017, the Partnership commenced performing services on behalf
              of NexBank SSB, (“NexBank”), a Texas savings bank. Services include investment advisory
              services. The Partnership charges a fee for the services performed. For the year ended December
              31, 2018, the total fee charged by the Partnership to NexBank was approximately $3.6 million and
              as of December 31, 2018, amounts owed by NexBank to the Partnership for services rendered were
              approximately $0.9 million.

              Effective April 1, 2015, the Partnership commenced performing services on behalf of NexPoint Real
              Estate Advisors, L.P. (“NREA”). Services include, but are not limited to compliance, accounting,
              human resources, IT and other back office support functions. NREA is charged a fee for the services
              provided. For the year ended December 31, 2018, the total fee charged to NREA by the Partnership
              was approximately $1.0 million and as of December 31, 2018, no amounts were owed by NREA to
              the Partnership for services rendered.

              Effective January 1, 2018, the Partnership entered in to a Payroll Reimbursement Agreement (the
              “Agreement”) with HCMFA. Under the Agreement, HCMFA reimburses the Partnership for the cost
              of any dual employees of the Partnership and HCMFA and who provide advice to registered
              investment companies advised by HCMFA. For the year ended December 31, 2018, the total fees
              charged by the Partnership to HCMFA was approximately $6.2 million and as of December 31, 2018,
              no amounts were owed by HCMFA to the Partnership for services rendered.



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              Effective January 1, 2018, the Partnership entered in to a Payroll Reimbursement Agreement (the
              “Agreement”) with NPA. Under the Agreement, NPA reimburses the Partnership for the cost of any
              dual employees of the Partnership and NPA and who provide advice to registered investment
              companies advised by NPA. For the year ended December 31, 2018, the total fees charged by the
              Partnership to NPA was approximately $4.3 million and as of December 31, 2018, no amounts were
              owed by NPA to the Partnership for services rendered.

              Investment liability
              On December 28, 2016, the Partnership entered into a purchase and sale agreement with The Get
              Good Nonexempt Trust (“Get Good”). In consideration for a note receivable from an affiliate, the
              Partnership sold or participated certain investments that it already held, with the participated
              investments carrying an aggregate market value of $21.3 million as of the date of the transaction.
              The fair value of the Agreement will fluctuate with the fair value of the securities, throughout the term
              of the Agreement. As of December 31, 2018, the fair value of the participated investments was $12.1
              million.

              On December 5, 2016, Select entered in to Stock Purchase Agreements with two counterparties for
              shares of Trussway Industries (“Trussway”), in exchange for promissory notes in the aggregate
              amount of $15.4 million. The promissory notes accrue interest at a rate of 2.07%, the long-term
              Applicable Federal Rate, compounded annually. Select must pay one-twenty-fifth of the initial note
              amounts, plus any additional principal attributable to the sale of Trussway, along with accumulated
              interest on an annual basis. The promissory notes will mature on December 5, 2041. As of December
              31, 2018 the remaining principal payable on the promissory notes was $14.8 million. The fair value
              of Select’s outstanding notes payable approximates the carrying value of the notes payable.

              During 2014 and 2015, Select received multiple master securities loan agreements (the “Securities
              Agreements”) for securities borrowed from an affiliate. The Securities Agreements accrue interest at
              a rate ranging from 0.38 - 0.48%, the short term Applicable Federal Rate. The fair value of the
              securities loans will fluctuate with the fair value of the borrowed securities, throughout the term of the
              Securities Agreements. As of December 31, 2018, the fair value of the loans was $19.2 million. The
              fair value of Select’s securities loans approximates the carrying value of the securities loans.

         9.   Notes Payable

              Promissory Notes and Loan Agreements
              On August 17, 2015, the Partnership entered in to a promissory note with Frontier State Bank
              (“Frontier”) in the amount of $9.5 million. Pursuant to the First Amended and Restated Loan
              Agreement, dated March 29, 2018, Frontier made an additional loan to the Partnership in the amount
              of $1.0 million. The promissory note accrues interest at the 3 month LIBOR rate plus 4.75%, adjusted
              each date of change, per annum. Accrued interest shall be paid quarterly. The promissory note is
              collateralized by shares of voting common stock of MGM Holdings, Inc and will mature on August
              17, 2021. As of December 31, 2018 the remaining principal payable on the promissory note was $7.2
              million. The fair value of the Partnership’s outstanding notes payable approximates the carrying value
              of the notes payable.

              On August 25, 2015, Highland Select Equity Fund, L.P. (“Select”) entered in to a promissory note
              with Dugaboy in the amount of $1.0 million. The promissory note accrues interest at a rate of 2.82%,
              the long-term Applicable Federal Rate, compounded annually. The accrued interest and principal of
              the promissory note is due and payable on demand. As of December 31, 2018 the remaining principal
              payable on the promissory note was $1.0 million. The fair value of Select’s outstanding notes
              payable approximates the carrying value of the notes payable.


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               On October 7, 2016, the Partnership entered in to a promissory note with Acis in the amount of $12.7
               million. The Partnership is required to make certain payments of the initial note amount, plus
               accumulated interest on May 31 of each year, until maturity. The promissory note is set to mature on
               May 31, 2020. The promissory note accrues interest at a rate of 3.00% per annum. Pursuant to an
               Assignment and Transfer Agreement dated November 3, 2017, between Acis and an affiliate of the
               Partnership, Acis transferred the promissory note to the affiliate. As of December 31, 2018 the
               remaining principal payable on the promissory note was $9.5 million.

               On August 29, 2016, Maple Avenue Holdings, LLC (“Maple”) entered in to a promissory note with
               Great Southern Bank in the amount of $3.9 million. Maple must pay principal and accrued interest
               installments on a monthly basis until maturity. The promissory note will mature on August 29, 2019.
               The promissory note accrues interest at a rate of 3.26% per annum. As of December 31, 2018 the
               remaining principal payable on the promissory note was $3.4 million. The fair value of Maple’s
               outstanding notes payable approximates the carrying value of the notes payable.

               On May 1, 2018, Multi Strategy Master executed a loan agreement (the “Loan Agreement”) with
               NexBank SSB, an affiliate of the Partnership. The original principal borrowed under the Loan
               Agreement was $36.5 million. The loan bears interest at the 1-month LIBOR rate plus 3.25%. The
               maturity date is May 1, 2021. For the year ended December 31, 2018, the Multi Strategy Master
               incurred and paid approximately $1.3 million of interest expense, and made aggregate principal
               payments of approximately $1.9 million. Shares of Metro-Goldwyn Mayer, Inc. are pledged as
               collateral on the loan. The loan was used to purchase an outstanding redemption of $38.7 million at
               a discount resulting in a reallocation of partners’ capital on the Statement of Changes in Partners’
               Capital. As of December 31, 2018 the remaining principal payable on the loan was $34.6 million. The
               fair value of Multi Strategy Master’s outstanding loan approximates the carrying value of the loan.

         10.   Due to Broker

               As of December 31, 2018 the due to broker balance of approximately $116.6 million is payable to
               financing counterparties for margin transactions.


         11.   Commitments and Contingencies

               Contracts in the Normal Course of Business
               In the normal course of business the Partnership and its subsidiaries may enter into contracts which
               provide general indemnifications and contain a variety of presentations and warranties that may
               expose the Partnership and its subsidiaries to some risk of loss. The Partnership regularly co-
               invests in vehicles it advises. The amounts committed are within the Partnerships capacity to fund
               when capital is called. In addition to the other financial commitments discussed in the consolidated
               financial statements, the amount of future losses arising from such undertakings, while not
               quantifiable, is not expected to be significant. Also refer to Note 8 for commitments of certain
               subsidiaries in affiliated loans.

               Loans as Co-Borrower
               The Partnership is a named co-borrower in a Bridge Loan Agreement (“Loan”) dated September 26,
               2018 with Key Bank for $556.3 million. The Loan accrues interest at the 3 month LIBOR rate plus
               3.75%, per annum. Accrued interest shall be paid monthly by a borrower other than the Partnership
               (“Lead Borrower”). The Loan will mature on September 26, 2019. The carrying value of the Loan is
               reflected on the financial statements of the Lead Borrower.



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               Legal Proceedings
               The Partnership is a party to various legal proceedings arising in the ordinary course of business.
               While any proceeding or litigation has an element of uncertainty, management believes that the final
               outcome will not have a materially adverse effect on the Partnership’s Consolidated Balance Sheet,
               Consolidated statement of Income, or its liquidity. See Note 14.

               Operating Leases
               The Partnership has an operating lease and associated commitments related to its main office space.
               Future minimum lease payments under operating lease commitments with initial or non-cancelable
               terms in excess of one year, at inception, are as follows:

               (in thousands)

               Years Ending December 31,
               2019                                                                             1,550
               2020                                                                             1,566
               2021                                                                             1,567
               2022                                                                               522
                    Total                                                              $        5,205




               Total rental expense of the Partnership and its Consolidated Entities for operating leases was
               approximately $1.5 million for the year ended December 31, 2018.

         12.   Post Retirement Benefits

               In December 2006, the Partnership created a defined benefit plan to which all employees and certain
               affiliated persons could participate if they met the eligibility requirements. The Partnership uses a
               December 31 measurement date for its defined benefit plan.

               Effective December 31, 2008, the Partnership amended the plan by freezing it to new participants
               and additional benefit accruals. A new amendment became effective on January 1, 2011 in which a
               named participant was admitted to the plan and is eligible to earn benefit accrual. 2018 expense
               reflects a service cost charge for the value of the new participant’s benefit earned during 2018.

               The Partnership’s benefit plan obligation and plan assets for the year ended December 31, 2018 are
               reconciled in the tables below.




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               (in thousands)

               Change in projected benefit obligation                                      2018

               Benefit obligation at beginning of year                                 $       2,578
               Service cost                                                                        6
               Interest cost                                                                      80
               Plan participants' contributions                                                  -
               Amendments                                                                        -
               Actuarial loss/(gain)                                                             386
               Acquisition/(divestiture)                                                         -
               Benefits paid                                                                    (121)

               Benefit obligation at end of year                                       $       2,929

               Change in plan assets                                                       2018

               Fair value of plan assets at beginning of year                          $       2,924
               Actual return on plan assets                                                      449
               Acquisition/(divestiture)                                                         -
               Employer contribution                                                             -
               Plan participants' contributions                                                  -
               Benefits paid                                                                    (121)
               Other increase/(decrease)                                                         -

               Fair value of plan assets at year end                                   $       3,252

               Reconciliation of Funded Status                                             2018

               Accumulated benefit obligation at end of year                           $       2,929
               Projected benefit obligation at end of year                                     2,929
               Fair value of assets at end of year                                             3,252

               Funded status at end of year                                            $          323

              The Partnership did not contribute to the plan during 2018.

              Assumptions

              Weighted-average assumptions used to determine benefit obligations at December 31, 2018:

                Discount rate                                                                 3.19%
                Rate of compensation increase                                                    N/A




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               Weighted-average assumptions used to determine net periodic benefit cost at December 31, 2018:

                Discount rate                                                                             3.19%
                Expected long-term return on plan assets                                                  3.19%
                Rate of compensation increase                                                                N/A

               As of December 31, 2018, there were no plan assets categorized as Level 3.

         13.   Income Taxes

               The Partnership
               For U.S. income tax purposes, the Partnership is treated as a pass-through-entity, which means it is
               not subject to income taxes under current Internal Revenue Service or state and local guidelines.
               Each partner is individually liable for income taxes, if any, on their share of the Partnership’s net
               taxable income.

               The Partnership files tax returns as prescribed by the tax laws of the jurisdictions in which it operates.
               In the normal course of business, the Partnership is subject to examination by federal and foreign
               jurisdictions, where applicable. As of December 31, 2018, the tax years that remain subject to
               examination by the major tax jurisdictions under the statute of limitations is from the year 2015
               forward (with limited exceptions).

               Authoritative guidance on accounting for and disclosure of uncertainty in tax positions requires the
               General Partner to determine whether a tax position of the Partnership is more likely than not to be
               sustained upon examination, including resolution of any related appeals or litigation processes,
               based on the technical merits of the position. For tax positions meeting the more likely than not
               threshold, the tax amount recognized in the financial statements is the largest benefit that as a
               greater than fifty percent likelihood of being realized upon ultimate settlement with the relative taxing
               authority. The General Partner does not expect a significant change in uncertain tax positions during
               the twelve months subsequent to December 31, 2018.

               Multi Strategy Master
               For U.S. income tax purposes, Multi Strategy Master is treated as a pass-through entity, which
               means it is not subject to federal income taxes under current Internal Revenue Service guidelines.
               However, each investor may be individually liable for income taxes, if any, on its share of the
               partnership’s net taxable income.

               Multi Strategy Master trades in senior secured syndicated bank loans for its own account and, as
               such, non-U.S. Investment Vehicle investors are generally not subject to U.S. tax on such earnings
               (other than certain withholding taxes indicated below). The Partnership intends to conduct Multi
               Strategy Master business in such a manner that it does not constitute a U.S. trade or business, nor
               does it create a taxable presence in any of the jurisdictions in which the Partnership has offices.

               Dividends as well as certain interest and other income received by Multi Strategy Master from
               sources within the United States may be subject to, and reflected net of, United States withholding
               tax at a rate of 30% for non-U.S. Investment Vehicles. Interest, dividend and other income realized
               by Multi Strategy Master from non-U.S. sources and capital gains realized on the sale of securities
               of non-U.S. issuers may be subject to withholding and other taxes levied by the jurisdiction in which
               the income is sourced. As of December 31, 2018, a minimal withholding tax liability of $0.9 million is
               classified within accrued and other liabilities on the Consolidated Balance Sheet.


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              Multi Strategy Master applies authoritative guidance which requires management to determine
              whether a tax position Multi Strategy Master is more likely than not to be sustained upon examination,
              including resolution of any related appeals or litigation processes, based on the technical merits of
              the position. For tax positions meeting the more likely than not threshold, the tax amount recognized
              in the consolidated financial statements is the largest benefit that has a greater than fifty percent
              likelihood of being realized upon ultimate settlement with the relative taxing authority. Management
              does not expect a significant change in uncertain tax positions during the twelve months subsequent
              to December 31, 2018.

              Multi Strategy Master files tax returns as prescribed by the tax laws of the jurisdictions in which it
              operates. In the normal course of business, Multi Strategy Master is subject to examination by
              federal and foreign jurisdictions, where applicable. As of December 31, 2018, the tax years that
              remain subject to examination by the major tax jurisdictions under the statute of limitations is from
              the year 2015 forward (with limited exceptions).

              Restoration Onshore
              Restoration Onshore is treated as a pass-through entity for tax purposes, which means it is not
              subject to U.S. income taxes under current Internal Revenue Service or state and local guidelines.
              Each Partner is individually liable for income taxes, if any, on its share of the Restoration Onshore’s
              net taxable income. Interest, dividends and other income realized by Restoration Onshore from non-
              U.S. sources and capital gains realized on the sale of securities of non-U.S. issuers may be subject
              to withholding and other taxes levied by the jurisdiction in which the income is sourced.

              Restoration Onshore applies the authoritative guidance on accounting for and disclosure of
              uncertainty in tax positions, which requires the General Partner to determine whether a tax position
              of Restoration Onshore is more likely than not to be sustained upon examination, including resolution
              of any related appeals or litigation processes, based on the technical merits of the position. For tax
              positions meeting the more likely than not threshold, the tax amount recognized in the financial
              statements is the largest benefit that has a greater than fifty percent likelihood of being realized upon
              ultimate settlement with the relevant taxing authority.

              The General Partner has determined that there was no effect on the financial statements from the
              Partnership's application of this authoritative guidance. The General Partner does not expect a
              significant change in uncertain tax positions during the twelve months subsequent to December 31,
              2018. Restoration Onshore files tax returns as prescribed by the tax laws of the jurisdictions in which
              it operates. In the normal course of business, the Partnership is subject to examination by federal,
              state, local and foreign jurisdictions, where applicable. As of December 31, 2018, the tax years that
              remain subject to examination by the major tax jurisdictions under the statute of limitations is from
              the year 2015 forward (with limited exceptions).

              Restoration Offshore
              Restoration Offshore is a Cayman Islands exempted company. Under the current laws of the
              Cayman Islands, there is no income, estate, transfer, sales or other tax payable by Restoration
              Offshore. Restoration Offshore has elected to be treated as a corporation for U.S. tax purposes and
              files a protective 1120-F.

              The General Partner intends to conduct the business of Restoration Offshore in such a way that
              Restoration Offshore’s activities do not constitute a U.S. trade or business and any income or
              realized gains earned by Restoration Offshore do not become "effectively connected” with a trade or
              business carried on in the United States for U.S. federal income tax purposes.



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              Dividends as well as certain interest and other income received by the master partnership of
              Restoration Offshore from sources within the United States may be subject to, and reflected net of,
              United States withholding tax at a rate of 30% for non-U.S. Investment Vehicles. Interest, dividend
              and other income realized by the master partnership of Restoration Offshore from non-U.S. sources
              and capital gains realized on the sale of securities of non-U.S. issuers may be subject to withholding
              and other taxes levied by the jurisdiction in which the income is sourced.

              Restoration Offshore applies the authoritative guidance on accounting for and disclosure of
              uncertainty in tax positions, which requires the General Partner to determine whether a tax position
              of Restoration Offshore is more likely than not to be sustained upon examination, including resolution
              of any related appeals or litigation processes, based on the technical merits of the position. For tax
              positions meeting the more likely than not threshold, the tax amount recognized in the financial
              statements is the largest benefit that has a greater than fifty percent likelihood of being realized upon
              ultimate settlement with the relevant taxing authority. The General Partner has determined that there
              was no effect on the financial statements from the Partnership’s application of this authoritative
              guidance. The General Partner does not expect a significant change in uncertain tax positions during
              the twelve months subsequent to December 31, 2018. As of December 31, 2018, the tax years that
              remain subject to examination by major tax jurisdictions under the statute of limitations is from the
              year 2015 forward (with limited exceptions).

              The remaining entities consolidated by the Partnership had no uncertain tax positions which required
              accrual under U.S. GAAP.




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HIGHLY CONFIDENTIAL                                                                                              D-CNL000250
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         14.   Legal Proceedings

               The Partnership and certain affiliated investment vehicles are defendants in a complaint filed on
               February 24, 2009 New York state court by UBS Securities LLC and UBS AG, London Branch
               relating to a CLO warehouse facility with respect to which UBS is attempting to extend liability beyond
               the two entities that bore sole risk of loss under the governing documents. On February 19, 2010,
               the court dismissed all claims against the Partnership. UBS since has filed additional claims against
               the Partnership and certain additional investment vehicles. On July 21, 2011, the First Appellate
               Division again dismissed two of UBS’s four claims against the Partnership, severely limiting the
               remaining two claims. Additional claims were dismissed in a further appellate ruling issued on
               October 31, 2017. Certain claims were tried in July 2018 against two Highland-affiliated defendants,
               but the trial court has neither ruled on those claims nor indicated when it will set UBS’s remaining
               claims for trial. The second trial, if it occurs, will try all claims against the Partnership and certain
               affiliated investment vehicles.

               From time to time the Partnership is party to disputes with disgruntled former employees. One such
               matter involves a former employee that improperly recorded internal conversations in violation of the
               Partnership’s internal policies and procedures and potentially certain criminal and regulatory
               provisions. The former employee obtained a $7.9 million judgment against Highland affiliate Acis
               Capital Management, L.P. (“Acis”). The employee currently is attempting to collect this judgment
               through various proceedings in Texas state and federal court, including claims against Highland for
               receipt of assets from Acis.

               In another matter, a Court ruled that a former employee breached his fiduciary duty to the
               Partnership, owed damages to the Partnership, and ordered the former employee to cease using or
               disclosing the Partnership’s confidential information. Additionally, an award was entered in favor of
               the employee against a separate incentive compensation entity for an interest that was already
               escrowed in his name prior to trial and in which he was already vested. The dispute over the amount
               of his vested interest is on-going. Additionally, the Partnership from time to time must take action to
               enforce the permanent injunction against the former employee’s continuing improper disclosures of
               the Partnership’s confidential information.

               The Partnership is engaged in litigation and arbitration with a group of investors relating to the post-
               financial crisis wind down and distribution of the remaining assets in the Crusader hedge fund
               vehicle.

               The Partnership currently is and has been previously subject to various legal proceedings, many of
               which have been due to the nature of operating in the distressed loan business in the U.S. The legal
               process is often the route of last resort to recover amounts due from delinquent borrowers. We
               currently do not anticipate these proceedings will have a material negative impact to the Partnership.


         15.   Subsequent Events

               On March 18, 2019, SSP Holdings, LLC issued a promissory note to the Partnership in the amount
               of $2.0 million. The note accrues interest at a rate of 18%.

               On March 26, 2019, Trussway Holdings, LLC issued a promissory note to the Partnership in the
               amount of $1.0 million. The note accrues interest at a rate of 10%.




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              On March 28, 2019, the Partnership distributed equity to its partners in the aggregate amount of $3.7
              million.

              On March 28, 2019, the Partnership received a $3.7 million pay down on the outstanding Contribution
              Agreement.

              Over the course of 2019, through the report date, HCMFA issued promissory notes to the Partnership
              in the aggregate amount of $7.4 million. The notes accrue interest at a rate of 2.39%.

              The Partnership has performed an evaluation of subsequent events through June 3, 2019, which is
              the date the consolidated financial statements were available to be issued, and has determined that
              there are no other material subsequent events that would require disclosure in the Partnership’s
              consolidated financial statements.




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                                Highland Capital Management, L.P.

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                            As of And Year Ended December 31, 2018

                                       Supplemental Information




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         Highland Capital Management, L.P.
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         Supplemental Consolidating Balance Sheet
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                                                                         Highland
                                                                          Capital       All Other
                                                                       Management,    Consolidated                         Total
         (in thousands)                                                    L.P.          Entities    Eliminations       Consolidated

         Assets
         Cash and cash equivalents                                     $      2,567 $        2,467 $             - $           5,034
         Investments at fair value (cost $922,027)                          161,939        683,247               -           845,186
         Equity method investees                                            121,936              -        (121,936)                -
         Management and incentive fees receivable                             2,242            158              (7)            2,393
         Due from brokers                                                         -            598               -               598
         Other assets                                                         8,421          5,660          (4,826)            9,255
         Notes and other amounts due from affiliates                        176,963              -          (3,565)          173,398
         Intangible assets                                                        -          3,022               -             3,022
         Fixed assets and leasehold improvements, net of accumulated          4,538             43               -             4,581
           depreciation of $11,197
           Total assets                                                $    478,606 $      695,195 $      (130,334) $       1,043,467

         Liabilities and partners' capital

         Liabilities
         Accounts payable                                              $      4,838   $        145 $             - $           4,983
         Securities sold, not yet purchased (proceeds $26,135)                    -         32,357               -            32,357
         Withdrawals payable                                                      -         57,009               -            57,009
         Due to affiliates                                                    4,542              -          (4,542)                -
         Due to brokers                                                      31,194         86,108            (742)          116,560
         Due to brokers for securities purchased, not yet settled             1,640            -                 -             1,640
         Accrued and other liabilities                                       35,574          4,276             396            40,246
         Notes payable                                                       16,722         42,540          (3,510)           55,752
         Investment liabilities                                              12,135         33,957               -            46,092
           Total liabilities                                                106,645        256,392          (8,398)          354,639

         Non-controlling interest                                                 -        316,867                  -        316,867

         Commitments and contingencies

         Partners' capital                                                  371,961        121,936        (121,936)          371,961

           Total liabilities and partners' capital                     $    478,606 $      695,195 $      (130,334) $       1,043,467




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